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          EXHIBIT 22




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                                                                            Page 1
                     UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                             EASTERN DIVISION


     WESTERN RIVERSIDE COUNCIL OF
     GOVERNMENTS, a California
     Joint Powers Authority; CITY
     OF BEAUMONT, a public entity
     in the State of California,
                    Plaintiffs,
                    vs.                       Case No.
                                              5:20-cv-02164 GW
     NATIONAL UNION FIRE                      (KKx)
     INSURANCE COMPANY OF
     PITTSBURGH, PA, and DOES 1
     through 50, inclusive,

                 Defendants.
     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~



                 VIDEOTAPED DEPOSITION OF ROGER BERG


                        THURSDAY, MARCH 31, 2022
                                  9:03 A.M.


                        5 PARK PLAZA, SUITE 1100
                           IRVINE, CALIFORNIA



               Reported by Megan M. Grossman-Sinclair
                            CSR No. 12586




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 1                    APPEARANCES OF COUNSEL                  1               INDEX OF EXAMINATION
 2
 3
                                                              2         WITNESS: ROGER BERG
 4             For Plaintiff:                                 3
 5                BEST BEST & KRIEGER LLP                     4         EXAMINATION                                   PAGE
                  JEFFREY V. DUNN, ESQ.                       5         By Ms. Vanderweele                          8, 252
 6                18101 Von Karman Avenue
                  Suite 1000
                                                              6         By Mr. Dunn                                213
 7                Irvine, California 92612                    7
                  T: (949) 263-2600                           8
 8                Jeffrey.dunn@bbklaw.com                     9
 9
10             For Defendants:                               10                    INSTRUCTIONS NOT TO ANSWER
11                GORDON REES SCULLY MANSUKHANI              11                       PAGE LINE
                  MEAGAN P. VANDERWEELE, ESQ.                12                        (None)
12                ANGELA LEWOSZ, ESQ.                        13
                  One North Franklin
13                Suite 800                                  14
                  Chicago, IL 60606                          15                       INFORMATION REQUESTED
14                T: (312) 565-1400                          16                         PAGE LINE
                  mvanderweele@grsm.com
15                alewosz@grsm.com
                                                             17                          (None)
16                                                           18
17             Also Present:                                 19
18                SERGIO ESPARZA                             20
19
20                                                           21
21                                                           22
22                                                           23
23                                                           24
24
25                                                           25                              ***

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 3     Exhibit 1 Agreement for Planning,     39               3   Exhibit 15 Amendment to the Capital      164
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 4            Public Works Services                                      Improvement Plan
                                   55                         4          Comprehensive Public
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18                                                           18          Logic Consulting
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19            Improvement Plan                                           from John F. Cannon
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20            Facilities Financing Program                   20
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21                                                           21          Privatization Planning,
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22            Improvement Plan                               22          Public Works Services
              Comprehensive Public                           23   Exhibit 23 Roger Berg Bio Information     9
23            Facilities Financing Program
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24                                                                       Manager to Mayor and Council
25                                                           25          Members


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 1         INDEX TO EXHIBITS (Continued)                       1          IRVINE, CALIFORNIA;
 2   MARKED                          PAGE                      2       THURSDAY, MARCH 31, 2022; 9:03 A.M.
 3   Exhibit 25 Progress Project Report   90
            Capital Improvement Plan                           3
 4                                                             4             VIDEOGRAPHER: Good morning. We
     Exhibit 26 Progress Project Report      97                5   are on the record. This begins video No. 1 in the
 5          Capital Improvement Plan                           6   deposition of Roger Berg in the matter of Western
 6   Exhibit 27 Urban Logic Consultants, Inc. 50
            Engineering Services Hourly
                                                               7   Riverside Council of Governments vs. National
 7          Rate Comparison                                    8   Union Fire Insurance in the United States District
 8   Exhibit 28 Letter to David Sheppard from 111              9   Court for the State of California. Today's date
            Roger Berg, Mayor                                 10   is March 31st, 2022, and the time is 9:03 a.m.
 9                                                            11             This deposition is being taken at
     Exhibit 29 Page 9 of Hemming Morse        192
10          Report                                            12   5 Park Plaza in Irvine, California. I am Sergio
11   Exhibit 30 Letter to The Honorable   231                 13   Esparza, the videographer of Magna Legal Services.
            Becky L. Dugan from Roger                         14   The court reporter is Megan Grossman of Magna
12          Berg, June 15, 2019.                              15   Legal Services. Will counsel and all parties
13
14                                                            16   present state their appearances and whom they
15                                                            17   represent?
16                                                            18             MS. VANDERWEELE: Meagan
17                                                            19   VanderWeele on behalf of the defendant National
18
19
                                                              20   Union.
20                                                            21             MS. LEWOSZ: Angela Lewosz on
21                                                            22   behalf of the defendant National Union.
22                                                            23             MR. DUNN: Jeffrey Dunn on behalf
23
24
                                                              24   of plaintiff Western Riverside Council of
25                ***                                         25   Governments.

                                                     Page 8                                                 Page 9
 1           THE COURT REPORTER: Okay. I will                  1   life except for the time I was in the military.
 2    now swear you in. Please raise your right hand.          2          Q. Okay. Lifetime resident of
 3                                                             3   Beaumont; correct?
 4                 ROGER BERG,                                 4          A. Yes.
 5            having been first duly sworn,                    5          Q. You were kind enough before the
 6              testifies as follows:                          6   deposition to provide us with a document that I
 7                                                             7   have marked as Exhibit 23. If you could turn to
 8                   EXAMINATION                               8   that in your binder, please.
 9    BY MS. VANDERWEELE:                                      9          (Exhibit No. 23 was marked for
10           Q. Good morning, sir. Could you                  10          identification and is attached
11    please state your full name and spell your last         11          hereto.)
12    name for the record?                                    12   BY MS. VANDERWEELE:
13           A. Roger Norman Berg, B-e-r-g.                   13          Q. For the record, Exhibit 23 is a
14               MS. VANDERWEELE: Let the record              14   document entitled Roger Berg Bio Information. Do
15    reflect this is the deposition of Roger Berg taken      15   you recognize this document?
16    pursuant to subpoena and notice and set to today's      16          A. Yes, I do.
17    time by agreement of the parties and the witness.       17          Q. Is this a document that you
18    BY MS. VANDERWEELE:                                     18   prepared?
19           Q. Sir, what is your date of birth?              19          A. Yes, I did.
20           A. December 7th, 1954.                           20          Q. Does Exhibit 23 accurately reflect
21           Q. And where do you currently live?              21   and describe your education, employment history
22           A. I live in Beaumont, California.               22   and public work experience?
23           Q. And how long have you lived in                23          A. Yes, it does.
24    Beaumont?                                               24          Q. Does Exhibit 23 also accurately
25           A. I have lived in Beaumont all my               25   reflect and describe your experience and

                                                                                        3 (Pages 6 to 9)




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                                             Page 10                                                   Page 11
 1   qualifications in construction management?            1   engineering squadron. So we did base building
 2          A. Yes, it does.                               2   maintenance, new construction, quite a variety of
 3          Q. I want to go through this briefly.          3   things to maintain the base. Air -- airfields,
 4   It looks like you graduated from Beaumont High        4   roads, pavements.
 5   School in 1973?                                       5          Q. And in your role, did you provide
 6          A. Yes.                                        6   construction management and engineering services?
 7          Q. And then you obtained an                    7          A. I did provide it with respect to
 8   associate's degree in business administration from    8   other -- other people under me, yes.
 9   Mt. San Jacinto?                                      9          Q. It looks like from 1977 to 1993 you
10          A. Yes.                                       10   have in here that you worked as a civil engineer
11          Q. Was that a two-year degree?                11   technician at the Norton Air Force Base. Is that
12          A. Yes.                                       12   what you had kind of just described to me?
13          Q. And it looks to me that after you          13          A. I hired on as a civilian employee.
14   obtained your associate's degree, you joined the     14          Q. Okay.
15   U.S. Air Force and Air Force Reserve?                15          A. And so, yes, I did.
16          A. Yes.                                       16          Q. And just describe for us briefly
17          Q. And that was from 1975 to 1982?            17   your duties and responsibilities as a civil
18          A. Yes.                                       18   engineer technician at Norton Air Force Base?
19          Q. And what was the highest rank that         19          A. I did project inspections. I
20   you obtained?                                        20   did -- worked in the design section on some of the
21          A. E-6 Technical Sergeant.                    21   projects assisting the engineers there with the
22          Q. And can you just describe for us           22   drafting of plans. I did environmental management
23   generally what your responsibilities and duties      23   work there. And I did some cost engineering work
24   were in that role?                                   24   for cost forecasting for work.
25          A. I worked in the base civil                 25          Q. In 1985 it looks like you obtained

                                             Page 12                                                   Page 13
 1   a bachelor of science in business administration      1          Q. And the same would be true for
 2   and management from Chapman University?               2   contracting officer representative?
 3          A. Yes.                                        3          A. Yes.
 4          Q. And was that a two- or four-year            4          Q. Construction contract scheduling.
 5   program?                                              5          A. Yes.
 6          A. That's a four-year degree.                  6          Q. And it looks like you have also
 7          Q. Okay. And you have also listed              7   undergone additional course work in civil
 8   here additional course work and continuing            8   engineering.
 9   education credits that you have obtained. And it      9          A. Yes.
10   looks like those are all in the area of              10          Q. When you worked for the U.S. Army
11   construction management?                             11   Corps of Engineers from 1993 to 2006 -- I guess
12          A. Yes.                                       12   let me back up a little bit. You served it looks
13          Q. Are there any additional course            13   like almost two decades?
14   work or continuing education credits that you have   14          A. Yes.
15   obtained in the area of construction management      15          Q. Working for the U.S. Army Corps of
16   that's not listed here?                              16   Engineers. Correct?
17          A. I don't believe so.                        17          A. Yes. Yes.
18          Q. You have undergone additional              18          Q. Okay. And during that time period
19   course work in construction cost estimating and      19   you were doing construction management and
20   forecasting?                                         20   contract administration. Do I understand that
21          A. Yes.                                       21   correctly?
22          Q. You have also obtained additional          22          A. That's correct.
23   course work and education credits in contract        23          Q. Okay. Can you tell us a little bit
24   administration?                                      24   about what your duties and responsibilities were
25          A. Yes.                                       25   when you worked for the U.S. Army Corps of

                                                                                4 (Pages 10 to 13)




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                                            Page 14                                                    Page 15
 1   Engineers?                                            1         Q. I want to now turn to your public
 2          A. Okay. I worked on the Seven Oaks            2   work experience. You have served the City of
 3   Dam and Prado Dam projects. We did construction       3   Beaumont for decades; correct?
 4   management around the clock. We did -- also I         4         A. Yes.
 5   worked in the contract administration doing           5         Q. In various capacities?
 6   construction mods, negotiating construction mods.     6         A. Yes.
 7             After leaving there I worked on             7         Q. I tried to go in chronological
 8   projects here actually in Orange County doing the     8   order here so correct me if I'm wrong. And I
 9   same thing on the Santa Ana River. And then the       9   guess I should have said this at the outset. I am
10   last 16 and a half years I worked at the Loma VA     10   going to be throwing out dates not only related to
11   Hospital for construction projects there which       11   your experience but when we go through contracts
12   dealt with new construction, parking lot, roads,     12   and things like that, if I say anything that does
13   sewers, water lines, everything. And I did the --    13   not sound right to you or is incorrect, would you
14   managed the projects there.                          14   please let me know?
15             There is $121 billion worth of             15         A. Yes.
16   construction. I did the -- negotiated the            16         Q. And if I ask you a question that
17   design/build contracts and I approved all the        17   you do not understand, would you please let me
18   progress payments and such.                          18   know?
19          Q. Fair to say you have extensive             19         A. Yes.
20   experience in construction management?               20         Q. My job is to make sure that I ask
21          A. Yes.                                       21   you a question you can answer. All right?
22          Q. And would that be extensive                22         A. Okay.
23   experience in construction management for            23         Q. And if you need me to rephrase a
24   Public Works projects?                               24   question so that you are able to answer it, just
25          A. Yes.                                       25   let me know.

                                            Page 16                                                    Page 17
 1          A. Yes.                                        1   Commission?
 2          Q. And that's I guess another thing,           2          A. Planning Commission is an advisory
 3   is the court reporter can only take down --           3   agency council. They would approve projects.
 4          A. Right.                                      4   They would recommend -- make recommendations for
 5          Q. -- one person at a time. So we              5   them, the City Council. Work on the general plan
 6   have got to try not to talk over each other. You      6   which is build-out for the city and such and
 7   have been doing great so far. Also if you give a      7   things like that.
 8   non-verbal response like "uh-huh" or "uh-uh," it's    8          Q. And when you served on the Planning
 9   very common, we all do it, I will just ask you,       9   Commission, I take it your expertise in
10   Mr. Berg, was that a yes or a no. I am not trying    10   construction management came in handy?
11   to be rude, I just want to make sure that Megan,     11          A. Yes.
12   our court reporter, can take down everything we      12          Q. The Planning Commission would make
13   say. Okay?                                           13   recommendations to City Council for like
14          A. Yes.                                       14   construction projects and things like that --
15          Q. Excellent. Thank you. So back to           15          A. Construction projects, subdivisions
16   your public work experience. Based on my review      16   and things and you need to look at the overall
17   of Exhibit 23, it looks like you served as a         17   traffic flow and, you know, facilities needed to
18   member of the Planning Commission from June 1981     18   the structure and such, yes.
19   to February 1985 and then was elected again for      19          Q. And given your role on the Planning
20   another nine months in February of '85; is that      20   Commission, did that give you an opportunity to
21   correct?                                             21   learn about the city's general plan and kind of
22          A. Well, I was on the Planning                22   their vision for development and growth in the
23   Commission. In February of '85 I was elected to      23   City of Beaumont?
24   the City Council and I served nine months.           24          A. Yes. I worked on four different
25          Q. Okay. And what is the Planning             25   general plan amendments every ten years the time I


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                                             Page 18                                                  Page 19
 1   was on there.                                         1   we used to just reelect the same person as mayor
 2          Q. And you were elected to the                 2   most of the time but then I -- per resolution I
 3   Beaumont City Council beginning in 1993?              3   asked the City Council to have the mayor be
 4          A. Yes.                                        4   reappointed each year for a maximum of two years
 5          Q. And you served in that position             5   and then someone else gets a shot at it.
 6   from 1993 through 2014?                               6          Q. And so you were appointed in 2000
 7          A. Yes.                                        7   and served for two years?
 8          Q. And that's an elected position?             8          A. Yes.
 9          A. Yes.                                        9          Q. And then was reappointed again and
10          Q. And what are the term limits?              10   served 2012 to 2013?
11          A. The term -- there is no term               11          A. Yes.
12   limits. You are reelected every four years.          12          Q. Exhibit 23, your bio, also
13   There was one year we added on a year to bring our   13   indicates that you served as a city representative
14   elections in line with the county.                   14   for Western Riverside Council of Governments;
15          Q. And during that time period when           15   correct?
16   you served on City Council, I have seen documents    16          A. Yes.
17   that indicate that you also served as the mayor;     17          Q. And that was from 2000 to 2004 and
18   correct?                                             18   again in 2010?
19          A. Yes.                                       19          A. As far as I can tell.
20          Q. And that was from 2000 to 2002 and         20          Q. Okay.
21   then again in 2012 to 2013?                          21          A. Yeah. Yes.
22          A. Yes.                                       22          Q. And I know I am asking you about
23          Q. All right. And how did you come to         23   things that happened a very long time ago, so if I
24   serve as the mayor during that tenure?               24   ask you something and you simply don't recall,
25          A. We -- prior to me becoming mayor,          25   just let me know that. Okay?

                                             Page 20                                                  Page 21
 1           A. Okay.                                      1   committee that we were looking into TUMF prior to
 2           Q. When you served as a city                  2   me becoming a member of WRCOG. We -- the idea was
 3   representative for Western Riverside Council of       3   that they would have a uniform fee that would
 4   Governments, tell me what your duties and             4   allow money to be collected and facilities to be
 5   responsibilities were in that position.               5   built that one of them would be the CTAP
 6           A. Okay. I was a, I guess they call           6   corridors, another one would be facilities that
 7   it a director, a city rep. And we would work on       7   could benefit as a zone, and then 48 percent of
 8   projects that were a benefit to the region as a       8   the money would be kind of like a give-back to the
 9   whole, one of them being that we worked on the        9   area zoned. And our zone was the pass area.
10   TUMF. We worked also on waste recycling. Gosh,       10              There was exemptions in there. In
11   there was another -- various things that they put    11   discussing the TUMF, they came up with exemptions
12   in. It was an agency that kind of was involved in    12   for people that already had road and bridge
13   getting other -- other -- say other duties as the    13   benefit districts. There was exemptions for
14   members decided might be beneficial to the unit as   14   religious facilities and government facilities.
15   a whole.                                             15          Q. You also served as the city
16           Q. You mentioned TUMF, that's TUMF;          16   representative for the Riverside Transportation
17   correct?                                             17   Commission and the Riverside -- Western Riverside
18           A. Yes.                                      18   Conservation Authority; correct?
19           Q. And that's Transportation Uniform         19          A. Yes.
20   Mitigation Fee?                                      20          Q. You are a licensed general building
21           A. Yes.                                      21   contractor in the State of California?
22           Q. What is the TUMF program?                 22          A. Yes.
23           A. The TUMF program, initially there         23          Q. And that's been continuous since
24   were discussions with it earlier in the late '90s.   24   1983?
25   In fact, before I became mayor I was on a            25          A. Yes. I mean right now my license


                                                                                6 (Pages 18 to 21)




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                                             Page 22                                                  Page 23
 1   is inactive.                                          1          A. Yes, it would.
 2          Q. You have since retired; correct?            2          Q. Did your duties and
 3          A. I have retired, yes.                        3   responsibilities as a member of City Council also
 4          Q. Congratulations on that. You                4   include approving funding for those Public Works
 5   retired in 2016?                                      5   projects in the City of Beaumont?
 6          A. Yes.                                        6          A. Yes.
 7          Q. Do you have any other professional          7          Q. Did your duties and
 8   licenses, certifications, or credentials that we      8   responsibilities as a member of the City Council
 9   have not talked about today?                          9   include approving invoices and payment to
10          A. No.                                        10   individuals and entities that contracted with the
11          Q. I want to now focus on your time on        11   city?
12   the Beaumont City Council. Can you describe for      12          A. Yes.
13   me generally what your duties and responsibilities   13          Q. Was the City Council responsible
14   were as a member of the Beaumont City Council?       14   for ultimately approving all invoices from
15          A. Okay. The City Council approves            15   contractors that were paid by the City?
16   projects. They approve the city budget, they         16          A. Yes.
17   approve hiring the city manager and the city         17          Q. And would the final authority for
18   attorney. They set goals and desires for the         18   payment of those invoices come from City Council?
19   city. And they serve as approval of planned          19          A. Yes.
20   commission projects too that they -- that they       20          Q. And would it -- strike that.
21   work on.                                             21             Would invoices from contractors for
22          Q. Would your duties and                      22   the city undergo review by other departments?
23   responsibilities as a member of the City Council     23          A. Yes, they would.
24   include approving Public Work projects for the       24          Q. And would that include the finance
25   city?                                                25   department?

                                             Page 24                                                  Page 25
 1          A. Yes.                                        1   contractors?
 2          Q. Did the city manager have any               2          A. Yes.
 3   involvement in reviewing invoices?                    3          Q. How many members would serve on the
 4          A. Yes.                                        4   Beaumont City Council while you were a member of
 5          Q. Would there be times when the City          5   that council?
 6   Council in reviewing and approving invoices, did      6          A. Different people?
 7   the City Council have an opportunity to question      7          Q. Sorry. That was a very poorly
 8   invoices that they thought were not reasonable or     8   phrased question. I am going to strike that.
 9   appropriate?                                          9             It looks like there was a
10          A. Yes, we did. At the time when              10   consistent number of members on the City Council
11   those warrants were there we could pull them and     11   from year to year.
12   ask for clarification and documentation for them.    12          A. Yes.
13          Q. What is the warrant that you just          13          Q. And how many members generally
14   referenced?                                          14   served on the City Council for a given year?
15          A. The warrants are a list of payments        15          A. Five.
16   that need to be made or have been made and you are   16          Q. And how often did the City Council
17   going to approve them for all vendors and payments   17   meet for their like official City Council
18   to city funds.                                       18   meetings?
19          Q. And would the City Council review          19          A. Twice a month.
20   these warrant lists for payment to city              20          Q. And can you explain to me how it is
21   contractors prior to approving any payment?          21   the City Council meetings were run, just
22          A. I would, yes.                              22   generally?
23          Q. And would the City Council during          23          A. Okay. We would get the agenda
24   City Council meetings, would they be asked to        24   packet usually electronically either Thursday our
25   review and approve invoicing and payment to          25   Friday so you would have a chance to review it


                                                                                7 (Pages 22 to 25)




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                                             Page 26                                                   Page 27
 1   over the weekend. City Council meetings were on       1          A. Yes.
 2   Tuesday night I believe. So we would start the        2          Q. And did the City Council have to
 3   meeting and we would go through the agenda on each    3   approve those minutes?
 4   item.                                                 4          A. Yes.
 5         Q. And so you would receive the                 5          Q. When the City Council approved the
 6   agenda, it would be prepared and circulated to        6   minutes, was that City Council saying that the
 7   City Council, you would have the opportunity to       7   minutes accurately reflect what occurred?
 8   review them before each meeting?                      8          A. Yes.
 9         A. Yes. And you could ask questions             9          Q. I have reviewed some minutes from
10   ahead of time. I normally did. If I had              10   various meetings and it looks like there is a
11   something, I would e-mail or give them a call and    11   public comment period during each meeting.
12   say, what's this about.                              12          A. Yes.
13         Q. And then during each minute were            13          Q. And what -- I guess what is the
14   minutes prepared?                                    14   public comment period?
15         A. Yes.                                        15          A. Public comment is an opportunity
16         Q. Or memorialized -- strike that.             16   for people to come and address the City Council
17            Did the meetings for each City              17   with concerns they have that are not on the
18   Council meeting memorialize what occurred and what   18   agenda.
19   was discussed?                                       19          Q. And it also looks -- I don't know
20         A. Yes.                                        20   if it was in every session but there would be
21         Q. Would the minutes also memorialize          21   closed sessions during City Council meetings;
22   resolutions that were passed by the City Council?    22   correct?
23         A. Yes.                                        23          A. Yes.
24         Q. Were minutes provided to City               24          Q. And what occurred during the closed
25   Council members following each meeting?              25   sessions during a City Council meeting?

                                             Page 28                                                   Page 29
 1          A. Closed sessions would deal with             1             There was ERMAC?
 2   pending and ongoing litigation, negotiations with     2          A. ERMAC came in when -- we used to do
 3   labor, and discussions with the City Attorney         3   them years ago. There is one person that did them
 4   about items that may be real estate purchases and     4   and they just handled it internally in the city,
 5   things like that.                                     5   but as we grew we needed to expand and get better
 6          Q. And if there was an item that was           6   people to help us.
 7   discussed during a closed session that was voted      7          Q. Well, I guess I haven't been able
 8   on and approved by the Council, would that            8   to find anything that actually described an actual
 9   ultimately be mentioned in the -- like open --        9   department within the city called risk management.
10   or strike that.                                      10          A. I don't think there really was.
11              If the City Council voted on              11          Q. Okay. Because it's my -- and
12   something during a closed session, how would that    12   correct me if I'm wrong -- did City Council
13   be reflected in the minutes?                         13   ultimately have final authority over matters
14          A. If it was disclosable at that time,        14   concerning the city's insurance?
15   it would be disclosed right then. If it was a        15          A. Yes.
16   vote for something that required approval by         16          Q. Did the City Council have final
17   another agency, it would have to wait until          17   authority over the city's decision to pursue
18   they -- they approved it, then we could make a       18   insurance claims under the various insurance
19   joint announcement.                                  19   policies that were issued to the city?
20          Q. Okay. During your tenure on City           20          A. Yes.
21   Council, did the City of Beaumont have a separate    21          Q. And is -- strike that.
22   risk management department?                          22             During your tenure on City Council
23          A. Yes.                                       23   how was the decision to pursue an insurance claim
24          Q. When did the city -- it's my               24   generally handled by the Council?
25   understanding that there wasn't -- strike that.      25          A. They would come with a

                                                                                8 (Pages 26 to 29)




                                                                                              EXHIBIT 22
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                                                Page 30                                                   Page 31
 1     recommendation from the risk manager who was           1         A. Yes.
 2     later, you know, that's -- or versus -- and we         2         Q. What is Urban Logic Consultants?
 3     would looked at it -- I'm sorry -- risk manager,       3         A. They were a firm that we hired
 4     and then we would take a -- recommendations to the     4   shortly before I came on the City Council and we
 5     City Attorney and vote on it.                          5   gave subsequent more work to do our competency
 6            Q. And it's my -- partially my fault            6   planning, city engineering services, and economic
 7     because of how we are sitting, I think I am making     7   development.
 8     Megan's job really difficult. If you could just        8         Q. While you served on City Council
 9     do your best to try to not look directly at me. I      9   did the City of Beaumont contract with Urban Logic
10     know that's difficult because we've got the           10   Consultants during your entire tenure on the
11     videographer going on as well.                        11   Council?
12            A. Okay.                                       12         A. Yes.
13            Q. And that's my fault because of how          13         Q. So it's my understanding that when
14     I decided to position everyone.                       14   you were elected to City Council, would that have
15            A. I will look straight ahead. Okay?           15   been in November of 1993?
16            Q. Thank you. I appreciate that.               16         A. Yes.
17               Sorry, Megan.                               17         Q. And at that time you also had
18               So I just want to make sure I am            18   already been working for the city as a contracted
19     understanding this correctly. It was the City         19   consultant?
20     Council who ultimately had final authority over       20         A. Yes.
21     whether the city was going to pursue an insurance     21         Q. Okay. I want to talk about the
22     claim under its policies; correct?                    22   history that led to the City Council's decision to
23            A. Yes.                                        23   ultimately approve the city's contracts with Urban
24            Q. Are you familiar with Urban Logic           24   Logic. And it's my understanding that prior to
25     Consultants?                                          25   1993 the city's developmental services were

                                                Page 32                                                   Page 33
 1      provided by a combination of both in-house staff      1   plant. It was a -- the existing one was built in
 2      and outside firms. Is that -- is that correct?        2   the 1920s. It was a stage 2. They needed to
 3             A. That's correct.                             3   upgrade to a tertiary treatment system.
 4             Q. Okay. So the city had full-time             4             Prior back in the '80s the city had
 5      planning staff but they were also hiring outside      5   come up with a plan to build a new plant
 6      staff to provide -- kind of serve as the city's       6   downstream. They spent money on plans and
 7      developmental team?                                   7   specifications and when they put it out to bid,
 8             A. Yes.                                        8   they found out they didn't have all the right of
 9             Q. Okay. I've read it in various               9   ways and properties and the plan wouldn't meet the
10      places that one of the reasons why the city          10   requirements. So a lot of money was spent and
11      ultimately decided to issue a request for proposal   11   nothing ever came from it.
12      which ultimately led to the Urban Logic contract     12          Q. Would it be fair to say that the
13      is that there were issues with the design, the       13   city recognized that in order to foster continued
14      permitting, and the financing and construction of    14   development and growth in the city, they needed to
15      a new wastewater reclamation facility. Do I          15   hire a firm that had the expertise to do what the
16      understand that correctly?                           16   city needed them to do?
17             A. That is correct.                           17          A. That would be true.
18             Q. Okay. And can you tell me what it          18          Q. And it's my understanding that in
19      is that, you know, ultimately led to the city        19   order -- strike that.
20      deciding to hire an outside firm to kind of fill     20             It's my understanding that there
21      in the role of the developmental services team for   21   was a request for proposal that was issued by the
22      the city?                                            22   City asking for proposals to kind of fill the role
23             A. The city was under a cease and             23   of the developmental services team. Is that
24      desist order from the Regional Water Quality         24   correct? Do I understand that correctly?
25      Control Board to upgrade the sewage treatment        25          A. Yes.

                                                                                   9 (Pages 30 to 33)




                                                                                                 EXHIBIT 22
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 1             Q. And I believe several firms                 1         Q. And then Urban Logic Services
 2      responded to that request for proposal, one of        2   assumed operation of that facility for how long?
 3      them being Urban Logic?                               3         A. I am not exactly -- it was probably
 4             A. Yes.                                        4   maybe five years and they sold it to Aquarian
 5             Q. And Urban Logic was ultimately              5   Services.
 6      awarded the contract?                                 6         Q. While you served on City Council,
 7             A. Yes.                                        7   who were the owners of Urban Logic?
 8             Q. Was Urban Logic retained to develop         8         A. That would be Dee Moorjani, Ernie
 9      a program to finance and develop infrastructure to    9   Egger and Dave Dillon.
10      facilitate community development?                    10         Q. And Dee Moorjani is Deepak
11             A. Yes.                                       11   Moorjani?
12             Q. Urban Logic was also awarded --            12         A. Deepak Moorjani, yes.
13      strike that.                                         13         Q. Was Urban Logic a qualified
14                 There is a -- was Urban Logic             14   professional services contractor approved by City
15      Consultants the contractor for the wastewater        15   Council during your tenure?
16      reclamation facility?                                16         A. Yes.
17             A. They were the designer of record.          17         Q. And then Urban Logic was contracted
18             Q. Okay. After successful completion          18   with the city to provide planning, economic
19      of that wastewater treatment plant, did Urban        19   development, construction management services?
20      Logic assume operation of that plant?                20         A. Yes.
21             A. They assumed operation under Urban         21         Q. Urban Logic also provided
22      Logic services at the request of the City Council    22   engineering services?
23      because they had the expertise to run the plant.     23         A. Yes.
24      They actually hired the existing city employees      24         Q. Did Urban Logic also provide design
25      and to train them on how to work it.                 25   services?

                                               Page 36                                                   Page 37
 1             A. Yes.                                        1   city's planning director?
 2             Q. And that was all during your tenure         2          A. Yes.
 3      on City Council?                                      3          Q. And those were all official
 4             A. Yes.                                        4   positions within the city?
 5             Q. What other services did Urban Logic         5          A. Yes.
 6      provide to the city while you served on the City      6          Q. And while you were on City Council,
 7      Council?                                              7   did you understand that Mr. Moorjani, Mr. Dillon,
 8             A. They provided GIS coordination,             8   and Mr. Egger simultaneously owned Urban Logic
 9      global information system, you know, the system       9   while serving as city officials for the City of
10      mapping all the city's infrastructure.               10   Beaumont?
11             Q. Did Urban Logic also provide               11          A. Yes.
12      surveying services for the city?                     12          Q. During the time that Mr. Moorjani,
13             A. Yes.                                       13   Mr. Dillon, and Mr. Egger were serving as city
14             Q. It's my understanding that                 14   officials for the city, Urban Logic was also doing
15      Mr. Moorjani, Mr. Dillon, and Mr. Egger also         15   business with the city; correct?
16      served as city officials while you were on the       16          A. Yes.
17      City Council; is that correct?                       17          Q. And providing all those services
18             A. Yes.                                       18   that we have just talked about?
19             Q. Mr. Moorjani was the Public Works          19          A. Yes.
20      director?                                            20          Q. And we will get into the contracts,
21             A. Yes.                                       21   but Urban Logic pursuant to the contracts that
22             Q. Mr. Dillon, did he serve as the            22   were entered into with the city was the contractor
23      city's economic director?                            23   for the city on all of its Public Works projects;
24             A. Yes.                                       24   correct?
25             Q. And Mr. Egger, did he serve as the         25          A. Yes.

                                                                                 10 (Pages 34 to 37)




                                                                                                 EXHIBIT 22
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 1            Q. And that was providing the                  1          Q. And would that be true for every
 2     plan check/inspection, and construction management    2   contract for every year?
 3     services?                                             3          A. Yes.
 4            A. Yes.                                        4          Q. I want to now turn to Exhibit 1.
 5            Q. Urban Logic was also, in addition           5          (Exhibit No. 1 was marked for
 6     to those services I just mentioned, providing         6          identification and is attached
 7     engineering, design, and other highly technical       7          hereto.)
 8     services. Is that fair to say?                        8   BY MS. VANDERWEELE:
 9            A. Yes.                                        9          Q. Have you seen this document before,
10            Q. I understand the contract, the             10   sir?
11     first contract that was entered into between the     11          A. Yes.
12     city and Urban Logic regarding the Public Works      12          Q. And for the record, this is an
13     planning and economic development services. That     13   Agreement For Planning, Economic Development and
14     was entered into just before you joined the City     14   Public Works Services. It's Bates stamped
15     Council.                                             15   BEAUAIG695 through 725. This is a contract that
16            A. Yes.                                       16   was entered into between the City of Beaumont and
17            Q. Would you have reviewed that               17   Urban Logic Consultants; correct?
18     contract as part of your duties and                  18          A. Yes.
19     responsibilities on City Council?                    19          Q. And this is among the documents --
20            A. Yes.                                       20   strike that.
21            Q. Were those -- strike that.                 21             Is this contract one of the
22               Were contracts entered into between        22   contracts you would have reviewed annually when
23     the city and contractors reviewed on an annual       23   you were on City Council?
24     basis?                                               24          A. Yes.
25            A. Yes.                                       25          Q. And so pursuant to this agreement

                                               Page 40                                                  Page 41
 1      the city retained Urban Logic as a consultant to     1              "On behalf of the city ULC
 2      provide the planning, economic development, and      2           under the direction of the
 3      Public Works services; correct?                      3           public --"
 4             A. Yes.                                       4               Strike that. Let me start over:
 5             Q. And if you could briefly just look         5               Section V-A titled Plan Checking
 6      through section 1, 2 and 4 and just let me know      6    states:
 7      when you are done.                                   7              "On behalf of the city ULC,
 8             A. (Witness complies.)                        8           under the direction of the
 9                Okay.                                      9           director of Public Works, shall
10             Q. So sections 1, 2, and 4 of this           10           review the plans prepared by
11      agreement describe the planning, economic           11           civil engineers and other
12      development and Public Works services that Urban    12           appropriate professionals on
13      Logic was retained to provide on behalf of the      13           behalf of the city or private
14      city; correct?                                      14           development interests for
15             A. Yes.                                      15           compliance with the ordinances of
16             Q. And then if we go to section 5,           16           the city."
17      which is titled Plan Checking and Construction      17               Did I read that correctly?
18      Inspection, pursuant to section 5 of this           18           A. Yes.
19      agreement, am I correct that Urban Logic was        19           Q. And pursuant to this section Urban
20      retained to provide all necessary plan checking     20    Logic was being retained by the city to provide
21      and inspection services for Public Works projects   21    this plan checking for all Public Works projects
22      in the City of Beaumont?                            22    undertaken by the city; true?
23             A. Yes.                                      23           A. Yes.
24             Q. In section V-A, Plan Checking, it         24           Q. Okay. And then Section V- --
25      reads:                                              25    strike that.

                                                                                11 (Pages 38 to 41)




                                                                                               EXHIBIT 22
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                                                Page 42                                                  Page 43
 1                Section V-B, Construction                   1   want to turn your attention to is section VII,
 2      Inspection. Do you see that?                          2   Additional Services at the bottom of Page 7 and
 3            A. Yes.                                         3   goes to Page 8. Do you see that?
 4            Q. This section reads:                          4          A. Yes.
 5               "On behalf of the city ULC                   5          Q. So this section provides that:
 6            under the supervision of the                    6             "The city may authorize Urban
 7            director of Public Works shall                  7          Logic Consultants to perform
 8            provide inspection services                     8          additional services on an
 9            during all phases of construction               9          as-needed basis."
10            to enforce compliance with codes               10              Correct?
11            and conditions of approval,                    11          A. Yes.
12            provisions of the city                         12          Q. I should have said this at the
13            ordinances, Uniform Building Code              13   outset, at times during this deposition and in
14            1991, and other requirements set               14   these contracts, I will be referring to ULC or
15            forth on the plans for which                   15   Urban Logic. You understand that both Urban Logic
16            permits were issued for                        16   and ULC is referring to Urban Logic Consultants?
17            construction."                                 17          A. Yes.
18                Did I read that correctly?                 18          Q. And if I refer to ULC or Urban
19            A. Yes.                                        19   Logic, you understand that I will be referring to
20            Q. So pursuant to section V-B Urban            20   Urban Logic Consultants; correct?
21      Logic was being retained by the City to provide      21          A. Yes.
22      inspection for all Public Works projects during      22          Q. At the top of Page 8 there is
23      and after completion of those projects; correct?     23   sub-paragraphs A through K of section VII which
24            A. Yes.                                        24   identify additional services that the city may
25            Q. The next section of this contract I         25   authorize Urban Logic to perform; correct?

                                                Page 44                                                  Page 45
 1              A. Yes.                                       1          A. Yes.
 2              Q. And this is not a comprehensive            2          Q. If we go now to section IX,
 3      list; true?                                           3   Compensation to Consultant, do you see that
 4              A. That's correct.                            4   section?
 5              Q. There could be other additional            5          A. Yes.
 6      services that are not specifically identified here    6          Q. Am I correct that this section of
 7      that the city had authority to authorize Urban        7   Exhibit 1 discusses the fees that would be
 8      Logic to perform?                                     8   provided to Urban Logic for its services?
 9              A. Yes.                                       9          A. Yes.
10              Q. And I want to go through a few of         10          Q. In sub-paragraph 1 it states that:
11      these. Pursuant to section VII, the city had the     11             "The services set forth in
12      authority to authorize Urban Logic to perform        12          Sections I, II and IV
13      major ordinance or general plan revisions;           13          compensation shall be a monthly
14      correct?                                             14          lump sum of $15,000 to be
15              A. Yes.                                      15          renegotiated annually."
16              Q. Pursuant to section VII the City          16              Correct?
17      had authority to authorize Urban Logic to prepare    17          A. Yes.
18      environmental impact reports and other major         18          Q. So am I correct that Urban Logic
19      planning documents; correct?                         19   was being paid $15,000 to be renegotiated annually
20              A. Yes.                                      20   for the Public Works planning and economic
21              Q. Section VII also authorized -- or         21   development services that they were providing to
22      strike that.                                         22   the city?
23                 Section VII also provided that the        23          A. Yes.
24      city could authorize Urban Logic to perform bid      24          Q. Sub-paragraph 2 of section IX
25      document preparation; correct?                       25   discusses payment for services that were set forth

                                                                                 12 (Pages 42 to 45)




                                                                                                 EXHIBIT 22
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 1     in section V. And, again, section V is the Plan       1          Q. And to the extent that Urban Logic
 2     Checking and Construction Inspection services;        2   was providing plan checking and construction
 3     correct?                                              3   inspection services on projects that were not city
 4            A. Yes.                                        4   projects, those projects would not be subject to
 5            Q. All right. And so the planned               5   this agreement; correct?
 6     checking and construction inspection services         6          A. That's correct.
 7     pursuant to this agreement, it says:                  7          Q. This agreement is between the City
 8               "Compensation shall be on a                 8   of Beaumont and Urban Logic Consultants; correct?
 9            time and materials basis not                   9          A. Yes.
10            exceeding four and one half                   10          Q. There are no other parties to this
11            percent of the confirmed                      11   agreement; correct?
12            construction costs of the public              12          A. No -- yes.
13            improvements to be constructed."              13          Q. Sorry. I am asking questions in a
14                Correct?                                  14   double negative. Turning to section IX again,
15            A. Yes.                                       15   sub-paragraph 4, talks about compensation for
16            Q. And that would be for all Public           16   additional services. Do you see that?
17     Works projects; correct?                             17          A. Yes.
18            A. The ones being done by the City,           18          Q. All right. And for additional
19     yes.                                                 19   services set forth in section VII, it says:
20            Q. Okay. To the extent that Urban             20             "Compensation shall be in
21     Logic was providing plan checking and construction   21          accordance with the hourly rate
22     inspection for private development, that would not   22          schedule attached to this
23     be encompassed by this agreement. Do I understand    23          agreement as Exhibit A or based
24     that correctly?                                      24          upon a negotiated fixed fee
25            A. That would be correct.                     25          rate."

                                               Page 48                                                   Page 49
 1                 Correct?                                  1           A. Yes.
 2             A. Yes.                                       2           Q. And any time that there would be a
 3             Q. And if we turn to -- if you flip           3   change in Urban Logic's rate, would that have to
 4      the next page, you have got Exhibit A, and let me    4   be approved by the City Council?
 5      know when you are there.                             5           A. Yes.
 6             A. Okay.                                      6           Q. The rates that are listed here,
 7             Q. So Exhibit A is the hourly rate            7   given your experience in construction management
 8      schedule that is referenced in sub-paragraph 4 of    8   and your expertise, would you -- do you believe
 9      section IX; correct?                                 9   that this hourly rate schedule is reasonable and
10             A. Yes.                                      10   appropriate?
11             Q. And so this is the hourly rate            11              MR. DUNN: Objection; lacks
12      schedule that was included in this contract that    12   foundation.
13      set forth the hourly rate that Urban Logic would    13   BY MS. VANDERWEELE:
14      charge for these additional services that were      14           Q. You can still answer.
15      performed on behalf of the city; correct?           15           A. Yeah, it's appropriate for the year
16             A. Yes.                                      16   there. Costs go up each year. Prices go up.
17             Q. These additional services set forth       17   During the time a lot of this construction was
18      in section VII were not subject to the four and a   18   going, it was very competitive. So prices went
19      half percent fee cap that is otherwise set forth    19   up, it's hard to get people to do the work, and
20      in this agreement; correct?                         20   there were some new professional services that
21             A. Yes.                                      21   needed to be in there such as people that worked
22             Q. Now, this hourly rate schedule            22   with GIS. Some of them didn't go anymore, we had
23      would -- so this is from a 1993 contract. I have    23   secretaries, we had laptops, they had to be --
24      looked at some ULC invoices. I understand that      24   they did a lot of work themselves so yes, they
25      this rate did change over time?                     25   went up.


                                                                                13 (Pages 46 to 49)




                                                                                                EXHIBIT 22
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 1            Q. And counsel made an objection about         1   before?
 2     foundation so I want to address that. You have        2          A. Yes, I did.
 3     decades of experience in construction management;     3          Q. And can you just describe for me
 4     correct?                                              4   what this document is showing?
 5            A. Yes.                                        5          A. This is a hourly rate comparison
 6            Q. Have you worked with firms like             6   that the City Council asked the staff to provide
 7     Urban Logic on various projects over the course of    7   showing from other people what they charge for the
 8     your career?                                          8   different crews and people that are involved here.
 9            A. Yes.                                        9          Q. And if we see there is principal --
10            Q. And you, I take it, when you would         10   it says Classification, Principal ULC195. My
11     work with other engineering firms, I take it you     11   understanding that at the time that this
12     would understand what their rates were?              12   comparison sheet was prepared Urban Logic was
13            A. Yes.                                       13   charging $195 for services provided by a
14            Q. And, actually, why don't we -- I           14   principal.
15     will mark this as Exhibit 27.                        15          A. Yes.
16            (Exhibit No. 27 was marked for                16             MR. DUNN: Objection; lacks
17            identification and is attached                17   foundation, move to strike.
18            hereto.)                                      18   BY MS. VANDERWEELE:
19     BY MS. VANDERWEELE:                                  19          Q. And if we look at the hourly rate
20            Q. I have just handed you a document          20   schedule in Exhibit A, the hourly rate here was a
21     that I am going to mark as Exhibit 27. It's          21   hundred dollars.
22     titled Urban Logic Consultants Inc. Engineering      22             MR. DUNN: Objection; vague as to
23     Services Hourly Rate Comparison. Do you see that?    23   time.
24            A. Yes.                                       24             THE WITNESS: Yes.
25            Q. And have you seen this document            25

                                               Page 52                                                   Page 53
 1      BY MS. VANDERWEELE:                                  1           A. I believe this one was 2009/2010.
 2             Q. And so in 1993 when this Exhibit 1         2           Q. And why is it that you believe this
 3      contract was entered into, the principals were       3   was a document prepared sometime in 2009 or 2010?
 4      charging $100 an hour.                               4           A. There were objections from people
 5             A. Yes.                                       5   about us hiring ULC continually to do the work.
 6                MR. DUNN: Objection; lacks                 6   And so we said okay, fine, we are going to do a
 7      foundation, move to strike.                          7   cost comparison to see what other peoples can do
 8      BY MS. VANDERWEELE:                                  8   it for. One of the firms, Weldan (verbatim), who
 9             Q. That's written in the document;            9   works in some of the neighboring cities. RBF, I
10      true?                                               10   have dealt with them in my prior work knowing what
11             A. Yes.                                      11   their rates were, so we asked for a comparison
12                MR. DUNN: Objection; the document         12   from people.
13      speaks for itself.                                  13           Q. And who in the city prepared this
14      BY MS. VANDERWEELE:                                 14   document?
15             Q. And then according to this                15           A. This was done by city staff. I'm
16      Exhibit 27, you said that this is a document that   16   not sure who they were. But we asked them to go
17      was prepared by city staff?                         17   out and get this information for this.
18                MR. DUNN: Objection; vague as to          18           Q. And is this a document that you
19      time.                                               19   would have reviewed when you served on City
20                THE WITNESS: Yes, it was.                 20   Council?
21      BY MS. VANDERWEELE:                                 21           A. Yes.
22             Q. And can you tell me what time --          22           Q. And it looks -- well, I guess why
23      strike that.                                        23   don't you tell me. Looking at this rate
24                Do you know when this document was        24   comparison sheet, do you believe that Urban Logic
25      prepared?                                           25   rates for the services identified in this document


                                                                                14 (Pages 50 to 53)




                                                                                                EXHIBIT 22
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                                                Page 54                                                   Page 55
 1      are fair and reasonable?                              1          Q. And those professional services
 2             A. Yes.                                        2   that I have just described were not subject to a
 3             Q. And going back to Exhibit 1 -- I            3   four and a half percent fee cap; correct?
 4      may have asked you this already and I apologize.      4          A. Yes.
 5      I just want to make sure I have got a clear answer    5          Q. You can now turn to Exhibit 2 for
 6      here. The additional services set forth in            6   me, please.
 7      section VII, those services are billed on an          7          (Exhibit No. 2 was marked for
 8      hourly rate and are not subject to a four and a       8          identification and is attached
 9      half fee cap; correct?                                9          hereto.)
10             A. That's correct.                            10   BY MS. VANDERWEELE:
11             Q. Urban Logic was I think you told me        11          Q. For the record, this is Agreement
12      earlier providing -- was to provide engineering      12   Amending the Agreement For Planning, Economic
13      services for various projects for the city?          13   Development and Public Works Services. It's Bates
14             A. Yes.                                       14   stamped BEAUAIG674 through 676.
15             Q. They also were providing the design        15             Sir, have you seen this document
16      and surveying; correct?                              16   before?
17             A. Yes.                                       17          A. Correct.
18             Q. Did Urban Logic also serve as the          18          Q. And is this a document -- strike
19      actual contractor for various projects in the        19   that.
20      city?                                                20             Is this a contract that you would
21             A. No.                                        21   have reviewed while you served as a member of the
22             Q. The engineering, the design, the           22   City Council for the City of Beaumont?
23      surveying, would it be fair to characterize those    23          A. Yes.
24      as kind of more highly technical services?           24          Q. And you would have reviewed this on
25             A. They were professional services.           25   an annual basis?

                                                Page 56                                                   Page 57
 1            A. Yes.                                         1           including the following services
 2            Q. So this is an agreement that is              2           related to the planning, control,
 3      amending the agreement that we just looked at in      3           scheduling, estimating, and value
 4      Exhibit 1; correct?                                   4           engineering of Public Works
 5            A. Yes.                                         5           projects."
 6            Q. And this was entered into April 11,          6               And then it lists it looks like 21
 7      1994. Do you see that?                                7   examples of construction management services;
 8            A. Yes.                                         8   correct?
 9            Q. And if we turn to Page 2 of this             9           A. Yes.
10      document, it looks like this agreement is amending   10           Q. And I take it this is not an
11      section V of the contract in Exhibit 1 to include    11   exhaustive list; correct?
12      Public Works construction management; correct?       12           A. That's correct.
13            A. Yes.                                        13           Q. Okay. And here it's -- in
14            Q. So now in addition to the plan              14   sub-paragraph A of section V.1, we have got a list
15      checking and inspection services, Urban Logic was    15   of construction management services that the city
16      being retained by the City to provide Public Works   16   was retaining Urban Logic to provide for Public
17      construction management?                             17   Works projects; correct?
18            A. Yes.                                        18           A. Yes.
19            Q. And pursuant to section V.1 in this         19           Q. If we turn to Page 3 of Exhibit 2,
20      exhibit it states that:                              20   this is section IX titled Compensation to
21                "ULC shall provide                         21   Consultant. Are you with me?
22            construction management for each               22           A. Oh, yes.
23            Public Works project before,                   23           Q. Okay. And pursuant to this section
24            during and after completion of                 24   it states that:
25            various stages of construction                 25              "The services set forth in

                                                                                 15 (Pages 54 to 57)




                                                                                                 EXHIBIT 22
                                                                                                 PAGE 1453
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                                       #:6037
                                               Page 58                                                   Page 59
 1             section V.1, that compensation                1          A. Separately.
 2             shall be on a time and material               2          Q. Okay. Pursuant to this agreement,
 3             basis not exceeding four and                  3   to Exhibit 1 and 2 -- or strike that. Let me back
 4             one-half percent of the bid price             4   up.
 5             awarded by the city for each                  5              This fee cap does not apply to the
 6             project."                                     6   other professional services that we have talked
 7                 Do you see that?                          7   about today; correct?
 8             A. Yes.                                       8          A. That's correct.
 9             Q. And so the services set forth -- or        9          Q. Can you just describe for me, as I
10      strike that.                                        10   am sure you probably can tell I am not a
11                 The Public Works construction            11   construction expert, what is plan checking?
12      management services are subject to a four and a     12          A. Plan checking would be -- these
13      half percent fee cap.                               13   would be projects, plans and specifications
14             A. Yes.                                      14   submitted to the city for a developer or someone
15             Q. And throughout the deposition when        15   at the city may have hired to do the work, to do
16      I refer to a fee cap or a four and a half percent   16   the plans and specifications. And they would be
17      cap, I am referring to this four and a half         17   checking those. Most of the four and a half
18      percent fee cap that's set forth in Exhibit 1 and   18   percent was for private construction, for streets,
19      2. Do you understand that?                          19   improvements and such that was going to be
20             A. Yes.                                      20   dedicated to the city at a later date.
21             Q. Okay. So am I correct that the            21   Subdivisions. Quite a few things come in there.
22      plan check/inspection, and now pursuant to          22          Q. What is construction inspection?
23      Exhibit 2, the Public Works construction            23          A. Construction inspection would be
24      management services, those were all subject to a    24   inspection of public projects which would be curbs
25      four and a half percent fee cap?                    25   and gutters, for us it would be our city water

                                               Page 60                                                   Page 61
 1     lines, our streets, soil, soil compaction, paving     1          A. Yes.
 2     materials.                                            2          Q. Okay. Private development projects
 3            Q. And construction management, what           3   that Urban Logic provided services on, those were
 4     types of services -- I know the contract lists 21     4   not subject to a four and a half percent fee cap.
 5     different items, but given your experience and        5   Do I understand that correctly?
 6     expertise in construction management, can you just    6          A. Yes.
 7     describe for me what is construction management?      7          Q. And for the additional services
 8            A. Okay. Construction management,              8   that Urban Logic performed for Public Works
 9     because the city used many different types of         9   projects that were not subject to the four and a
10     funding. Sometimes they used some federal funding    10   half percent fee cap, again, engineering,
11     which specifically required to have prevailing       11   surveying, contractor services, that was all
12     wage. And so there would be labor reports for        12   billed on an hourly rate?
13     that. They would do the progress payments for the    13          A. Yes.
14     contractor. They would do the -- any                 14          Q. We talked generally earlier at the
15     modifications that needed to be done to the          15   beginning of the deposition about the City Council
16     contract. If it was a quantity contract, they had    16   reviewing contractor invoices. Would that --
17     to increase in quantities, or there was a change     17   strike that.
18     order needed because of different site conditions,   18             You told me earlier that the City
19     they would prepare that. And then they would do      19   Council reviewed all of the invoices for
20     progress reports on how long it was going on and     20   contractors that contracted with the city;
21     then they would do a final acceptance.               21   correct?
22            Q. Would it be fair to say that the           22          A. Yes.
23     services that fell within this four and a half       23          Q. And would that include invoices
24     percent fee cap, that was more day-to-day services   24   submitted by Urban Logic?
25     for construction projects?                           25          A. Yes.

                                                                                16 (Pages 58 to 61)




                                                                                                EXHIBIT 22
                                                                                                PAGE 1454
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                                       #:6038
                                                Page 62                                                   Page 63
 1             Q. Was the City Council ultimately             1          A. Yes.
 2      responsible for reviewing and approving all of the    2          Q. The subject is Budget Workshop -
 3      payments that went to Urban Logic for the work        3   Urban Logic Consultants Inc. Contract Review;
 4      that they did?                                        4   correct?
 5             A. Yes.                                        5          A. Yes.
 6             Q. If you can turn to Exhibit 24,              6          Q. What is a budget workshop?
 7      please.                                               7          A. Budget workshop is we set this up
 8             (Exhibit No. 24 was marked for                 8   at the start of January prior to the budget having
 9             identification and is attached                 9   to be approved to be by G15, we would do this at
10             hereto.)                                      10   the council meeting each time to approve the
11      BY MS. VANDERWEELE:                                  11   budget, basically going over what items we had in
12             Q. And for the record, Exhibit 24 is a        12   the budget, what were the costs going to be that
13      Staff Report dated March 15, 2011, Bates stamped     13   year, do we have enough money planned out for it
14      BEAUAIG819 through 823.                              14   and such.
15                Sir, have you seen this document           15          Q. Now, this budget workshop, it
16      before?                                              16   looks -- strike that.
17             A. Yes.                                       17              This memo says Budget Workshop -
18             Q. It's dated March 15, 2011; correct?        18   Urban Logic Consultants Contract Review. During
19             A. Yes.                                       19   budget workshops would the members who
20             Q. And it states that it's to the             20   participated in that workshop discuss Urban Logic
21      mayor and council members and from the city          21   Consultants' contracts?
22      manager; correct?                                    22          A. Yes.
23             A. Yes.                                       23          Q. Did you -- strike that.
24             Q. You were on the City Council in            24              Do you have a memory of
25      March of 2011?                                       25   participating in a budget workshop in March of

                                                Page 64                                                   Page 65
 1     2011 regarding Urban Logic Consultants?                1   section of the memo discusses the two contracts
 2            A. Yes.                                         2   that we have just been talking about, Exhibits 1
 3            Q. So you would have been present and           3   and 2; correct?
 4     participated in the workshop that's referenced         4          A. Yes.
 5     here in the subject line?                              5          Q. And I want to focus your attention
 6            A. Yes.                                         6   to the first full paragraph of Exhibit 2 that's
 7            Q. And this memo, Exhibit 24, have you          7   talking about the September 27, 1993. That's the
 8     seen this before today?                                8   agreement for community economic development and
 9            A. Yes.                                         9   Public Works services. Here this paragraph is
10            Q. You would have reviewed this when           10   talking about services that Urban Logic provided
11     you were on City Council?                             11   and it states that:
12            A. Yes.                                        12             "Plan check services covered
13            Q. And it looks like this memo was             13          over 9,000 new lots and over 4
14     prepared at the request of City Council during        14          million square feet of commercial
15     that budget workshop dated March 1, 2011; correct?    15          and industrial land uses."
16            A. Yes.                                        16              Do you see that?
17            Q. And that's the budget workshop you          17          A. Yes.
18     would have attended?                                  18          Q. It says:
19            A. Yes.                                        19             "Plan check services also
20            Q. And I don't want to go through this         20          included work required to
21     in granular detail, but just briefly here, this       21          implement millions of dollars of
22     memo discusses the scope of Urban Logic's             22          privately funded major backbone
23     contracts; correct?                                   23          infrastructure improvements and
24            A. Yes.                                        24          for major Public Works projects."
25            Q. And if we go to Page 2, this                25              Do you see that?


                                                                                 17 (Pages 62 to 65)




                                                                                                 EXHIBIT 22
                                                                                                 PAGE 1455
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                                                Page 66                                                   Page 67
 1            A. Yes.                                         1         by the finance department prior
 2            Q. The plan check services that Urban           2         to making a recommendation for
 3     Logic provided on behalf of the city for these         3         payment."
 4     privately funded major backbone infrastructure         4             Do you see that?
 5     improvements, would that -- would those plan check     5         A. Yes.
 6     services be subject to a four and a half percent       6         Q. After the finance department would
 7     fee cap?                                               7   review, make recommendations for payment, the City
 8            A. No.                                          8   Council would also review contractors' invoices
 9            Q. And that's because it's privately            9   including Urban Logic's; correct?
10     funded work; correct?                                 10         A. Yes.
11            A. Yes.                                        11         Q. And again, ultimately the City
12            Q. And it states in this memo that             12   Council had to approve payment to all contractors
13     those privately funded info structure improvements    13   including Urban Logic?
14     required implementation of millions of dollars;       14         A. Yes.
15     correct?                                              15         Q. The next page Exhibit 3, there is a
16            A. Yes.                                        16   heading:
17            Q. The last full paragraph of                  17            "Evaluation of ULC contract
18     Exhibit 2, it talks about the consistency of ULC's    18         services."
19     billing with its contract services. Do you see        19             Do you see that?
20     that?                                                 20         A. Yes.
21            A. Yes.                                        21         Q. And this next paragraph states
22            Q. And this section of the memo states         22   that:
23     that:                                                 23            "It -- describing every
24              "Billings for all contracts                  24         project that ULC has helped the
25            and all contractors are reviewed               25         city complete over the past 18

                                                Page 68                                                   Page 69
 1             years would require a lengthy                  1   done for other agencies. Let me -- no, you are
 2             narrative."                                    2   correct.
 3                 Do you see that?                           3           Q. You just mentioned other agencies.
 4             A. Yes.                                        4   What are you referring to?
 5             Q. Do you agree with that?                     5           A. We had agreements, interagency
 6             A. Yes, I do.                                  6   agreements, with the school district, the water
 7             Q. Okay. There is a list of, let's             7   district, and the parks and recreation district to
 8      see, 14 different projects on Page 3. Are these       8   do work for them. And so we -- we built
 9      all projects that Urban Logic provided services on    9   facilities for them. Did a lot of work for the
10      on behalf of the city?                               10   water district, we rebuilt all their waterline
11             A. Yes.                                       11   systems, designed a new water storage tank five
12             Q. And the city paid Urban Logic for          12   miles away, elevation height, new water laterals,
13      services that they provided that are listed here?    13   park -- park district got their parks completely
14             A. Yes.                                       14   redone by new fields, all paving and roads and
15             Q. I take it that these 14 projects           15   hooked up to sewer and things like that.
16      are a small subset of all of the projects that       16           Q. In all of the work that was done
17      Urban Logic worked on while you were on City         17   for the water district, the school district and I
18      Council?                                             18   think you mentioned the Parks and Rec district,
19             A. Yes.                                       19   Urban Logic provided services for those projects;
20             Q. And, again, for the projects that          20   correct?
21      are listed here on Page 3, am I correct that only    21           A. Yes.
22      the plan checking, inspection and construction       22           Q. And the plan check/inspection and
23      management services would be subject to that four    23   construction management services that Urban Logic
24      and a half percent fee cap?                          24   would provide on those projects for the water
25             A. On most of them. Some of them were         25   district, school district, and Parks and Rec


                                                                                 18 (Pages 66 to 69)




                                                                                                 EXHIBIT 22
                                                                                                 PAGE 1456
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                                              Page 70                                                  Page 71
 1      district, were those services subject to a four     1          (Exhibit No. 22 was marked for
 2      and a half percent fee cap?                         2          identification and is attached
 3             A. No.                                       3          hereto.)
 4             Q. This might be a silly question, but       4   BY MS. VANDERWEELE:
 5      the water district, parks district, and school      5          Q. And for the record, Exhibit 22
 6      district are not parties to the contract that we    6   says:
 7      were looking at in Exhibit 1 and 2?                 7             "City of Beaumont Report on
 8             A. That is correct.                          8          Municipal Services Privatization
 9             Q. How are we doing on time? We have         9          Planning Economic Development of
10      gone about an hour. Do you need a break or are     10          Public Works Services."
11      you good?                                          11              Bates stamped ULCAIG3410 through
12             A. I am okay.                               12   3419.
13                 MS. VANDERWEELE: Jeff, are you          13              Sir, have you seen this document
14      okay?                                              14   before?
15                 MR. DUNN: I am fine. Thank you          15          A. Yes.
16      for asking.                                        16          Q. It's dated October 1, 2010. It's
17                 MS. VANDERWEELE: Okay. Yep, we          17   stated that it's updated February 2011. Do you
18      will keep plugging along then.                     18   see that?
19      BY MS. VANDERWEELE:                                19          A. Yes.
20             Q. Okay. I am going to now ask you to       20          Q. You would have been on City Council
21      turn to exhibit -- or strike that. Sorry. We've    21   when this report was prepared?
22      got to stay on Exhibit 24. I realized I'm not      22          A. Yes.
23      done.                                              23          Q. Is this -- let me check. Do you
24                 Actually, no, let's -- sorry.           24   have a memory of reviewing this document when you
25      Let's go to Exhibit 22, please.                    25   served on City Council?

                                              Page 72                                                  Page 73
 1            A. Yes.                                       1   expertise -- or strike that, let me back up.
 2            Q. This was prepared by city manager?         2             When you served on City Council, I
 3            A. Yes.                                       3   take it you were continually advised about the
 4            Q. If you go to -- it's Page 3 of             4   work that Urban Logic was doing?
 5     Exhibit 22 where it says Background and Summary.     5          A. Yes.
 6     I think you are there.                               6             MR. DUNN: Objection; vague as to
 7            A. Yes.                                       7   who advised.
 8            Q. Excellent. If you look at the last         8   BY MS. VANDERWEELE:
 9     paragraph, the third paragraph here, it says:        9          Q. Who would advise you about Urban
10               "Urban Logic has performed in             10   Logic's work that they were doing for the city
11            a highly competent and cost                  11   when you served on City Council?
12            effective manner and has formed              12          A. Okay. City manager, city engineer,
13            an excellent technical base and              13   city planner, and the city economic development
14            professional procedures with                 14   director.
15            qualified personnel to deal with             15          Q. And would you from time to time go
16            the growth pressure the city is              16   out and actually look at the construction work
17            currently experiencing and will              17   that was going on within the city?
18            continue to experience over the              18          A. Yes.
19            ensuing years."                              19          Q. You would personally observe the
20                Do you see that?                         20   projects that were being undertaken by Urban
21            A. Yes.                                      21   Logic?
22            Q. Do you agree with what's written          22          A. Yes. Actually, we had some tours
23     there?                                              23   that they scheduled for us. We took a city bus
24            A. Yes.                                      24   out there and looked at the sewage treatment
25            Q. Given your construction management        25   plant. Other work that they were doing up on

                                                                               19 (Pages 70 to 73)




                                                                                              EXHIBIT 22
                                                                                              PAGE 1457
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                                               Page 74                                                   Page 75
 1     roads and projects.                                   1   during your tenure on City Council.
 2            Q. Would you also review any documents         2          A. Yes.
 3     related to the work that Urban Logic was doing?       3          Q. Can you just describe for me based
 4            A. Yes.                                        4   on your observations and what you know about the
 5            Q. What type of documents would you            5   City of Beaumont while you served on City Council
 6     look at?                                              6   how it is that the city grew and expanded while
 7            A. Okay, we would get all the plans            7   you were on City Council?
 8     and specifications and working in construction        8          A. Well, prior to us having the
 9     engineering, I would review those plans and           9   contract with Urban Logic, the city had not too
10     specifications. And sometimes I find minor           10   good a progress on getting new development in.
11     mistakes and I'd let them know about it but they     11   The neighboring cities was taking some of the
12     were -- they were well done.                         12   business away from us. We weren't getting the
13            Q. Based on your review of the                13   projects. And it was because the developers were
14     documents that you just described for me and your    14   not getting the information they needed in a
15     own observations of the work that Urban Logic was    15   timely manner.
16     doing, do you agree that Urban Logic performed in    16             Once we re-did how we did our
17     a highly competent and cost effective manner?        17   business, we came up with a 45-day quick -- I call
18            A. Yes.                                       18   it a quick review or quick -- you know, that you
19            Q. Do you agree that Urban Logic had          19   would yea or nay this project can move forward,
20     qualified personnel to deal with the growth          20   developers started coming in and were willing to
21     pressures that the city was experiencing?            21   work with us because we were willing to work with
22            A. Yes.                                       22   them.
23            Q. And I want to ask you about that.          23          Q. While you served on the City
24     It looks to me in documents that I reviewed that     24   Council, having reviewed the plans and
25     the City of Beaumont experienced a lot of growth     25   specifications for work that Urban Logic provided

                                               Page 76                                                   Page 77
 1     services on, would it be fair to say that you were    1   coordinated and taken up to Hanford, Washington.
 2     generally satisfied with the work performed by        2   They handled all this and got proper permits from
 3     Urban Logic on behalf of the city?                    3   the state.
 4            A. Yes.                                        4          Q. So given the nature and the scope
 5            Q. You told us that as part of your            5   of the work that Urban Logic was providing,
 6     duties and responsibilities on City Council you       6   especially during these periods of rapid growth in
 7     had to review invoices submitted by Urban Logic.      7   the city, the invoices that Urban Logic submitted
 8     Do you believe that Urban Logic was appropriately     8   to the city for payment, that was all for work
 9     billing for services that it performed on behalf      9   that was actually done; correct?
10     of the city?                                         10          A. Yes.
11            A. Yes.                                       11              MR. DUNN: Objection; move to
12            Q. And can you tell me the basis for          12   strike, lacks foundation.
13     that opinion?                                        13   BY MS. VANDERWEELE:
14            A. Because of the -- as I said, it was        14          Q. And you have -- strike that.
15     very -- some of the work was very technical and      15              I understand as you sit here today
16     required specialized people to do the work. You      16   you might not have a memory of all of the invoices
17     were getting permits from the State Water Quality    17   from Urban Logic but I take it given that the City
18     Control Board, U.S. Army Corps of Engineers. We      18   Council was responsible for reviewing those
19     had permits to cross the railroad tracks. We had     19   invoices, you understood the work that the city
20     roads and bridges that had not been done in 40       20   was paying Urban Logic to perform?
21     years. There was just a lot of things that had to    21          A. Yes.
22     be done in order to -- we had one in particular,     22          Q. And certainly if you felt that
23     we had a sewage line that had hazardous waste in     23   Urban Logic was submitting invoices for payment
24     it. There was radioactive material from a            24   for work that they weren't doing, you certainly
25     building we were tearing down. That had to be        25   would not have approved those payments; correct?

                                                                                20 (Pages 74 to 77)




                                                                                                EXHIBIT 22
                                                                                                PAGE 1458
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                                                Page 78                                                   Page 79
 1             A. That's correct.                             1   Consultants as a contractor?
 2             Q. And at any time during your tenure          2           A. Yes.
 3      on City Council did you have any reason to believe    3           Q. The last paragraph on Page 2 of
 4      that Urban Logic was submitting false invoices?       4   this report, which is actually Page 4 of
 5             A. No.                                         5   Exhibit 22, it talks about the completion of the
 6             Q. Did you -- strike that.                     6   wastewater treatment plant. Do you see that?
 7                 During your time on City Council           7           A. Yes.
 8      did you have any reason to believe that Urban         8           Q. And here this paragraph states
 9      Logic was submitting grossly inflated invoices?       9   that:
10             A. No.                                        10              "The city requested that
11             Q. And I take it given that you knew          11           Urban Logic provide personnel to
12      what Urban Logic was doing for the city, the work    12           assume the operation of the new
13      they were providing, and the projects that were      13           wastewater reclamation facility.
14      being undertaken by the City, if you had suspected   14           Urban Logic Services was
15      that Urban Logic was submitting invoices that were   15           subsequently formed and
16      grossly inflated or false, those would not have      16           contracted to operate the
17      been approved under your watch?                      17           wastewater reclamation facility."
18             A. That's correct.                            18               Do you see that?
19             Q. If we turn to the next page of             19           A. Yes.
20      Exhibit 22 -- actually, if we look at Paragraph 2    20           Q. And we were talking about that a
21      this talks about the request for proposal that I     21   little bit earlier in the deposition; correct?
22      was asking you about earlier. Does the history of    22           A. Yes.
23      development services staffing described here on      23           Q. The services that Urban Logic
24      Exhibit 2, is this an accurate summary of kind of    24   performed to operate this facility, those were not
25      what led to the city hiring Urban Logic              25   subject to a four and a half percent fee cap;

                                                Page 80                                                   Page 81
 1      correct?                                              1   Exhibit 6, there is a paragraph that says "In
 2             A. Yes, that's correct.                        2   addition." Do you see that?
 3             Q. If you turn to, it's Page 6 of --           3          A. Yes.
 4      or strike that.                                       4          Q. Okay. So this paragraph states
 5                 If you could please turn to Page 5         5   that:
 6      of this report, which is Page 7 of Exhibit 22, at     6             "In addition to the 16
 7      the top it says Analysis of Current Development       7          full-time equivalent personnel
 8      Services Staffing. Do you see that?                   8          that are reflected above,
 9             A. Yes.                                        9          additional services are provided
10             Q. And there is a description of the          10          on a subcontractural basis as
11      current services being provided by Urban Logic       11          required in the surveying and
12      Consultants; correct?                                12          geotechnical service areas."
13             A. Yes.                                       13              Do you see that?
14             Q. And it looks like here it says:            14          A. Yes.
15                "Urban Logic Consultants has               15          Q. The surveying and geotechnical
16             for over 18 years fulfilled all               16   service areas, I think you were telling me about
17             requested city requirements in                17   this earlier, but those services are not subject
18             the development services area                 18   to a four and a half percent fee cap; correct?
19             with the exception of elements                19          A. That is correct.
20             that were mentioned above."                   20          Q. The next sentence states:
21                 And then this document goes on to         21             "Urban Logic has additional
22      identify the services that Urban Logic was           22          in-house and contracted personnel
23      providing; correct?                                  23          with special expertise in
24             A. Yes.                                       24          mechanical engineering,
25             Q. And if we turn to the next page,           25          sanitary/wastewater engineering,

                                                                                 21 (Pages 78 to 81)




                                                                                                 EXHIBIT 22
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                                               Page 82                                                  Page 83
 1             and electrical engineering to                 1   services are not subject to a four and a half
 2             address specific issues as                    2   percent fee cap; correct?
 3             required."                                    3          A. Yes.
 4                 Do you see that?                          4          Q. The administrative services that
 5             A. Yes.                                       5   Urban Logic -- or strike that.
 6             Q. The services like mechanical               6             MS. VANDERWEELE: I am going to
 7      engineering and electrical engineering, those are    7   take a quick break. We will go off the record.
 8      not subject to a four and a half percent fee cap;    8             VIDEOGRAPHER: Off the record. The
 9      correct?                                             9   time is 10:19 a.m.
10             A. Correct.                                  10          (Whereupon, a recess was held from
11             Q. If you turn to the last page of           11          10:19 a.m. to 10:29 a.m.)
12      this document which is Page 8 of this report, do    12             VIDEOGRAPHER: On the record. The
13      you see the first paragraph, it says that:          13   time is 10:29 a.m.
14                "Additional services provided             14   BY MS. VANDERWEELE:
15             on a consulting basis for which              15          Q. So at the time that -- I guess just
16             costs would accrue similarly as              16   to preface it, I want to talk now about the ULC
17             they apply to the current                    17   principals and their role as city officials. And
18             contractual agreement includes               18   the ULC principals, you understand that to be
19             surveying, subdivision plan                  19   Mr. Moorjani, Mr. Dillon, and Mr. Egger?
20             checking and external                        20          A. Yes.
21             geotechnical engineering."                   21          Q. So if I say ULC principals, I am
22                 Do you see that?                         22   referring to those three individuals, okay?
23             A. Yes.                                      23          A. Okay.
24             Q. The geotechnical engineering and          24          Q. At the time that Mr. Moorjani,
25      the surveying, those are not subject -- those       25   Mr. Dillon, and Mr. Egger were principals of ULC,

                                               Page 84                                                  Page 85
 1     they also served as department heads for the City     1          A. Yes.
 2     of Beaumont. Do I understand that correctly?          2          Q. Based on your interactions and
 3            A. Yes.                                        3   discussions with your fellow City Council members,
 4            Q. And, again, Mr. Moorjani was the            4   did you believe that the other City Council
 5     Public Works director, Mr. Dillon was the economic    5   members for the City of Beaumont before 2011
 6     development director, and Mr. Egger was the           6   understood that the ULC principals had this dual
 7     planning director; is that correct?                   7   role as a city official and owner of an entity
 8            A. Yes.                                        8   that did business with the city?
 9            Q. While you served on the City                9          A. Yes.
10     Council, Urban Logic Consultants, as we talked       10             MR. DUNN: Objection; lacks
11     about earlier, did business for the city as a        11   foundation, calls for legal opinion or conclusion,
12     qualified professional contractor.                   12   violates deliberative process privilege, move to
13            A. Yes.                                       13   strike the witness's response.
14            Q. And like we have talked about for          14   BY MS. VANDERWEELE:
15     the past hour or so, Urban Logic was providing       15          Q. I take it it was no secret on the
16     plan checking, inspection, construction              16   City Council that Urban Logic's principals were
17     management, engineering, and other services for      17   acting as city officials while also owning a
18     the City of Beaumont.                                18   business that did business with the city; correct?
19            A. Yes.                                       19          A. That is correct. And, in fact,
20            Q. While you were on the City Council         20   they were -- new council members were given an
21     and prior to 2011, fair to say that you understood   21   opportunity and were provided with the information
22     that the ULC principals had what I like to call as   22   as to what their role were and staff in a first
23     a dual role. They served as a contracted city        23   meeting when they came on City Council.
24     official and were also owners of Urban Logic, an     24          Q. Just so I understand that
25     entity doing business with the city.                 25   correctly, are you saying that new City Council


                                                                                22 (Pages 82 to 85)




                                                                                                EXHIBIT 22
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 1     members would be given information at the              1          Q. Would the ULC principals in their
 2     beginning of their tenure on City Council that         2   role as city officials participate in discussions
 3     would describe the work that Urban Logic was doing     3   about bids that were submitted in connection with
 4     and the fact that the principals were serving in       4   construction projects that were undertaken by the
 5     official positions?                                    5   City?
 6            A. Yes.                                         6          A. Yes.
 7            Q. Did the ULC principals in their              7          Q. Would the ULC principals make
 8     role as city officials participate in discussions      8   recommendations to City Council regarding those
 9     with City Council about construction projects that     9   bids that were submitted?
10     Urban Logic was providing services on behalf of       10          A. Yes.
11     the city for a fee?                                   11          Q. And if those bids were submitted
12            A. Yes.                                        12   for a Public Works project and were approved and
13            Q. Did the principals also like make           13   authorized by the city, Urban Logic would be
14     recommendations to City Council regarding             14   providing the plan check/inspection, and
15     construction projects on which Urban Logic was        15   construction management services for those
16     providing services on behalf of the city for a        16   projects?
17     fee?                                                  17          A. Yes.
18            A. Yes.                                        18          Q. And they would be charging the city
19            Q. Would the Urban Logic -- and all of         19   a fee for those services; correct?
20     the discussions with the City Council and the         20          A. Yes.
21     recommendations to City Council regarding those       21          Q. And when you were on City Council
22     construction projects that Urban Logic would be       22   you understood how all of that worked I take it?
23     working on and making money off of for a fee, that    23          A. Yes.
24     was all before 2011 and after?                        24          Q. Would the ULC principals in their
25            A. Yes.                                        25   role as city officials recommend that the city

                                                Page 88                                                  Page 89
 1      award contracts to other contractors on projects      1   the City Council members that served with you knew
 2      in which Urban Logic was being paid a fee to          2   about what was going on with the Urban Logic
 3      provide services?                                     3   principals and their role as city officials all
 4             A. Yes.                                        4   before 2011 --
 5             Q. And you knew that; correct?                 5             MR. DUNN: Objection --
 6             A. Yes.                                        6   BY MS. VANDERWEELE:
 7             Q. You knew that before 2011?                  7         Q. -- is that correct?
 8             A. Yes.                                        8             MR. DUNN: Objection; lacks
 9             Q. You knew that after 2011?                   9   foundation, calls for speculation.
10             A. Yes.                                       10             THE WITNESS: Yes.
11             Q. Based on your interaction and              11   BY MS. VANDERWEELE:
12      discussions with the other City Council members      12         Q. And, sir, I take it when you served
13      who served with you, do you believe that they also   13   on City Council for over 20 years that you would
14      understood that the ULC principals were making       14   discuss things with your fellow City Council
15      recommendations to the city to award contracts to    15   members?
16      other contractors for projects on which Urban        16         A. Yes. In the Council meeting.
17      Logic would be providing services and -- for a       17         Q. And would that include discussing
18      fee?                                                 18   the work that Urban Logic did?
19             A. Yes.                                       19         A. Yes.
20                 MR. DUNN: Objection; move to              20         Q. Would your discussions with your
21      strike, lacks foundation, vague as to time, calls    21   fellow City Council members also include
22      for speculation, and invades mental process or       22   discussing the work that Mr. Moorjani, Mr. Dillon,
23      deliberative process privilege.                      23   and Mr. Egger did as city officials for the City
24      BY MS. VANDERWEELE:                                  24   of Beaumont?
25             Q. And is it your understanding that          25             MR. DUNN: Objection; vague as to


                                                                                 23 (Pages 86 to 89)




                                                                                                 EXHIBIT 22
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 1     time.                                                  1   Development Department; correct?
 2               THE WITNESS: Yes.                            2          A. Yes.
 3     BY MS. VANDERWEELE:                                    3          Q. The subject is Beaumont Avenue and
 4            Q. And that would be throughout the             4   Oak Valley Parkway Intersection Street Closure For
 5     entire time that you served on City Council, you       5   Waterline Construction and Authorization to Expend
 6     would have discussions with City Council members       6   Community Facilities, District No. 93-1 Funds For
 7     about the principals' work for the city?               7   Beaumont Cherry Valley Water District Facilities;
 8            A. Yes.                                         8   correct?
 9            Q. And their role as city officials;            9          A. Yes.
10     correct?                                              10          Q. That was a mouthful. So this is a
11            A. Yes.                                        11   staff report that looks like it was signed by
12               MS. VANDERWEELE: Let's go to                12   David Dillon in his role as the economic
13     Exhibit 25, please.                                   13   development director?
14            (Exhibit No. 25 was marked for                 14          A. Yes.
15            identification and is attached                 15          Q. And this was a staff report
16            hereto.)                                       16   prepared by the economic development department?
17     BY MS. VANDERWEELE:                                   17          A. Yes.
18            Q. So Exhibit 25 it's a subset of              18          Q. And this was submitted to the Mayor
19     documents Bates stamped BEAUMONTAIG82496 through      19   and City Council?
20     82499. And I want to first turn your attention to     20          A. Yes.
21     the second page of Exhibit 25. This is a Staff        21          Q. And I take it you would have
22     Report dated February 3, 2004; correct?               22   reviewed this as your role as a City Council
23            A. Yes.                                        23   member in February 2004?
24            Q. And it's to the Mayor and Council           24          A. Yes. We had to approve all street
25     Members from the Community and Economic               25   closures.

                                                Page 92                                                   Page 93
 1             Q. Just generally, the staff reports           1   recommending that the City Council approve and the
 2      that -- I have seen numerous staff reports            2   mayor sign the project report here that's on the
 3      throughout this case, staff reports would be          3   first page of Exhibit 25 dated February 3, 2004;
 4      submitted to City Council for review?                 4   is that correct?
 5             A. Yes.                                        5          A. Yes.
 6             Q. And this particular Staff Report            6          Q. And so it looks like this -- the
 7      includes a recommendation that's being made;          7   first page of Exhibit 22 is signed by the mayor?
 8      correct?                                              8          A. Yes.
 9             A. Yes.                                        9          Q. Do you recognize the signature?
10             Q. And it looks like Mr. Dillon here          10          A. Yes.
11      is recommending -- or strike that.                   11          Q. Whose signature is this?
12                 It looks like the economic                12          A. Larry Dressel.
13      development department is recommending that the      13          Q. And he was mayor in 2004?
14      City Council approve a street closure and a          14          A. Yes.
15      project report and asking that the mayor execute     15          Q. Mr. Dressel served on City Council
16      the project report.                                  16   with you?
17             A. Yes.                                       17          A. Yes.
18             Q. And if we look at the first page of        18          Q. The fact that Mr. Dressel as the
19      Exhibit 25, this is a project progress report. Is    19   mayor signed this document, it looks like this
20      this the project progress report that's being        20   is -- does this mean that the City Council
21      referenced in the Staff Report on the next page of   21   approved authorization of this project report?
22      this exhibit?                                        22              MR. DUNN: Objection; calls for
23             A. Yes.                                       23   legal opinion or conclusion.
24             Q. Okay. So the Staff Report dated            24              THE WITNESS: Yes.
25      February 3, 2004, and signed by Mr. Dillon, is       25


                                                                                 24 (Pages 90 to 93)




                                                                                                 EXHIBIT 22
                                                                                                 PAGE 1462
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                                                Page 94                                                  Page 95
 1     BY MS. VANDERWEELE:                                    1   City Council?
 2            Q. When the staff reports would be              2          A. That's correct.
 3     submitted to City Council for approval, at the top     3          Q. And are project progress reports
 4     here it says Agenda Item 2.f.                          4   that are approved by the City Council, is that
 5            A. Yes.                                         5   done by resolution?
 6            Q. So does that mean that this Staff            6          A. I believe so.
 7     Report was an agenda item for one of the City          7          Q. Okay. And that would be reflected
 8     Council meetings?                                      8   in meeting minutes?
 9            A. Yes.                                         9          A. Yes.
10            Q. And correct me if I'm wrong, I want         10          Q. All right. And so the mayor has
11     to make sure I understand this. A Staff Report        11   signed the project -- progress report here in
12     would be submitted making a retention to City         12   Exhibit 25. That's on the first page. Indicating
13     Council, it would be placed on the agenda for the     13   to you that the City Council voted and approved of
14     City Council during one of its meetings, and then     14   the recommendation made in the Staff Report on the
15     the City Council would have to vote to either         15   second page of this exhibit; correct?
16     approve or to not approve the recommendation being    16          A. That's correct.
17     made here in the Staff Report?                        17          Q. And if we look at the project
18            A. That's --                                   18   progress report, it states in the "Recommendation
19               MR. DUNN: Objection; compound.              19   for City Council Action" section which is the
20               THE WITNESS: That is correct                20   bottom section of this progress report, it states:
21     because it's got the City Council approval date on    21             "The recommendation for City
22     there.                                                22          Council is that it approve and
23     BY MS. VANDERWEELE:                                   23          authorize staff and qualified
24            Q. Okay. So the mayor cannot sign a            24          contractors to complete the
25     project progress report unless it's approved by       25          following work:"

                                                Page 96                                                  Page 97
 1                And then it says:                           1   Council would have to consider that
 2               "Urban Logic: Complete the                   2   recommendation?
 3            inspection and construction                     3         A. Yes.
 4            management of the project."                     4         Q. And would have to vote on that
 5                Do you see that?                            5   recommendation?
 6            A. Yes.                                         6         A. Yes.
 7            Q. So this -- by approving the project          7         Q. And as we can see here that
 8      progress report that we see here, the City Council    8   recommendation was approved; correct?
 9      is approving that Urban Logic complete the            9         A. Yes.
10      inspection and construction management of the        10         Q. Let's go to Exhibit 26, please.
11      project?                                             11         (Exhibit No. 26 was marked for
12            A. Yes.                                        12         identification and is attached
13                MR. DUNN: Objection; legal opinion         13         hereto.)
14      or conclusion. Move to strike.                       14   BY MS. VANDERWEELE:
15      BY MS. VANDERWEELE:                                  15         Q. So Exhibit 26 is another -- it's a
16            Q. And the -- do you see where it says         16   Project Progress Report -- strike that. Let me
17      recommendation for City Council action?              17   back up.
18            A. Yes.                                        18             Exhibit 26, for the record, is
19            Q. Is that referring to the                    19   Bates stamped BEAUMONTAIG82478 through 82479.
20      recommendation that's in the Staff Report signed     20   There is a Project Progress Report and then
21      by Mr. Dillon?                                       21   another Staff Report, both dated June 15, 2004;
22            A. Yes.                                        22   correct?
23            Q. So Mr. Dillon is recommending that          23         A. Yes.
24      Urban Logic complete the inspection and              24         Q. I want to start with the Staff
25      construction management of the project. City         25   Report. The Staff Report is the second page of


                                                                                 25 (Pages 94 to 97)




                                                                                                 EXHIBIT 22
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 1     this exhibit. It says Agenda Item 2.c in the          1           Q. Am I saying that correctly? So
 2     upper right-hand corner. Do you see that on the       2   this is a Staff Report recommending that City
 3     Staff Report?                                         3   Council approve plans and specifications for the
 4            A. Yes.                                        4   San Timoteo sewer and fee credits to Pardee Homes;
 5            Q. Does this indicate to you that the          5   correct?
 6     Staff Report was an agenda item for one of the        6           A. Yes.
 7     City Council meetings?                                7           Q. The fiscal impact section of this
 8            A. Yes.                                        8   Staff Report states that the project -- the fiscal
 9            Q. And so this staff report is to the          9   impact section of this Staff Report states that
10     mayor and council members and from the community     10   the project will be funded entirely from CFD
11     and economic development department; correct?        11   No. 93-1 funds and that the estimated cost of the
12            A. Yes.                                       12   project would be approximately $3.5 million.
13            Q. And it's signed by Mr. Dillon in           13   Correct?
14     his capacity as the economic development director?   14           A. Yes.
15            A. Yes.                                       15           Q. So it looks like -- so Mr. Dillon
16            Q. So it looks like to me -- actually,        16   in his role as economic development director is
17     let me do it this way. If you could take a moment    17   recommending that the City Council approve plans
18     to review this and then let me know when you are     18   and specifications for this project; correct?
19     done.                                                19           A. Yes.
20            A. I am done.                                 20           Q. And then if we turn to the first
21            Q. Okay. So it looks to me that this          21   page of this exhibit, it is signed and dated --
22     is a Staff Report asking the City Council to         22   signed by Mr. Dressel in his role as mayor on
23     approve plans and specifications for the             23   June 15 in 2004; correct?
24     San Timoteo --                                       24           A. Yes.
25            A. Yes.                                       25           Q. Do you recognize the signature

                                             Page 100                                                  Page 101
 1     here?                                                 1   that mean that the City Council voted and approved
 2            A. Yes.                                        2   the recommendation made by Mr. Dillon in his Staff
 3            Q. And whose signature that?                   3   Report dated June 15, 2004?
 4            A. That's Larry Dressel.                       4          A. Yes.
 5            Q. Okay. You've worked with                    5             MR. DUNN: Objection; lacks
 6     Mr. Dressel on City Council for a number of years?    6   foundation, move to strike.
 7            A. Yes.                                        7   BY MS. VANDERWEELE:
 8            Q. At the top here it says -- there is         8          Q. You were on City Council for how
 9     a section for professional services subcontractors    9   many years?
10     and identifies Urban Logic Consultants and Dennis    10          A. 21 years.
11     Janda & Associates and CEG Engineering Geology.      11          Q. I take it you understand if a
12     Do you see that?                                     12   Project Progress Report is signed, that means it
13            A. Yes.                                       13   had to have been voted on and approved by City
14            Q. Does this mean that the                    14   Council?
15     professional services subcontractors identified      15          A. Yes. And I specifically remember
16     here, were these -- that's okay -- these             16   this one.
17     professional services subcontractors identified at   17          Q. Okay. Why is that?
18     the top of this exhibit were subcontractors for      18          A. Because it deals with the
19     the project that's encompassed by this progress      19   San Timoteo road there we were doing. It had a
20     report?                                              20   lot of work to be done on it. It had to be
21            A. Yes.                                       21   matched to the railroad tracks, it had to be
22            Q. And that's the San Timoteo sewer?          22   enlarged -- it was encompassing a lot more work,
23            A. Yes.                                       23   part of a bigger project. This was the first
24            Q. By virtue of the fact that                 24   phase of it.
25     Mr. Dressel signed this on June 15, 2004, does       25          Q. The construction budget is three


                                                                              26 (Pages 98 to 101)




                                                                                                EXHIBIT 22
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 1     and a half million dollars. That leads me to           1   foundation. Move to strike.
 2     believe it was a fairly big project.                   2   BY MS. VANDERWEELE:
 3            A. It was.                                      3          Q. And you have specific memory of the
 4            Q. Okay. And the Project Progress               4   City Council considering the Staff Report and
 5     Report at the bottom there is a recommendation for     5   recommendation made by Mr. Dillon on the second
 6     City Council action. Do you see that?                  6   page of this exhibit and the City Council did, in
 7            A. Yes.                                         7   fact, vote and approve; correct?
 8            Q. And then it says:                            8          A. Yes.
 9               "Urban Logic: Complete the                   9          Q. While you were a member of City
10            inspection and construction                    10   Council, you know, given all of the work that
11            management process."                           11   Urban Logic was doing on behalf of the city, I
12            A. Yes.                                        12   take it you understood that Urban Logic was
13            Q. Do you see that? Okay. So does              13   receiving a financial benefit from the Public
14     this mean, and correct me if I'm wrong, that the      14   Works projects that ULC was providing services on?
15     economic development department led by Mr. Dillon     15          A. Yes.
16     was recommended that the City Council approve         16          Q. And I take it you understood that
17     Urban Logic to complete the inspection and            17   as the owners of Urban Logic, Mr. Egger,
18     construction management process?                      18   Mr. Dillon, and Mr. Moorjani themselves received a
19            A. Yes.                                        19   financial benefit from the services that ULC
20            Q. And as we talked about earlier              20   performed for the city?
21     because this was signed by the mayor, that means      21          A. Yes.
22     it was voted on by City Council and approved;         22          Q. I take it you understood when you
23     correct?                                              23   served on City Council that that financial benefit
24            A. Yes.                                        24   that Mr. Egger, Mr. Dillon, and Mr. Moorjani
25                MR. DUNN: Objection; lacks                 25   received would have certainly exceeded $25,000?

                                              Page 104                                                  Page 105
 1             A. Yes.                                        1   I think a few of them may have been citizens from
 2             Q. And your understanding about the            2   the City of Beaumont, some may not have been --
 3      financial benefit that the ULC principals were        3   but individuals that raised concerns to City
 4      earning from the work that ULC performed on the       4   Council about a potential conflict of interest.
 5      city, you knew all of that before 2011; correct?      5   Do you recall that?
 6             A. Yes.                                        6          A. Yes.
 7             Q. Based on your discussions and               7          Q. Did you attend City Council
 8      interactions with the City Council members about      8   meetings during which members of the public raised
 9      the work that Urban Logic was doing, it would be      9   concerns about a conflict of interest with Urban
10      invoices that Urban Logic was submitting, do you     10   Logic?
11      believe that the other members of City Council       11          A. Yes.
12      understood before 2011 that Mr. Egger, Mr. Dillon,   12          Q. Were you present at City Council
13      and Mr. Moorjani as owners of Urban Logic were       13   meetings before 2011 where those concerns about a
14      receiving a financial benefit from the services      14   conflict of interest were raised?
15      that Urban Logic was performing in excess of         15          A. Yes.
16      $25,000?                                             16          Q. Actually, if you go to Exhibit 24
17                MR. DUNN: Objection; calls for --          17   for me. Page -- so Exhibit 24, again, is this
18      excuse me -- objection; lacks foundation, calls      18   March 15, 2011, Budget Workshop Staff Report. And
19      for speculation.                                     19   on the fourth page, the second half of this page
20                THE WITNESS: Yes.                          20   discusses a claim of conflict of interest. Do you
21      BY MS. VANDERWEELE:                                  21   see that?
22             Q. Now, as I understand it, I have            22          A. Yes.
23      reviewed City Council meeting minutes during         23          Q. And if we look at -- actually, take
24      public comment periods -- I think it was started     24   a moment to read this section and just let me know
25      in the early 2000s. There were a few individuals,    25   when you are done.


                                                                             27 (Pages 102 to 105)




                                                                                                 EXHIBIT 22
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 1             (Document reviewed by witness.)                1   explained what we did and why we had them we
 2                 THE WITNESS: I am done.                    2   didn't feel it was a conflict because it was a
 3      BY MS. VANDERWEELE:                                   3   professional services contract.
 4             Q. Okay. I take it when you were on            4          Q. So you have seen documentation
 5      City Council and prior to 2011 you understood that    5   letters from Nancy Hall in which she expressed a
 6      individuals were raising concerns about a             6   concern about a conflict of interest involving
 7      potential conflict of interest.                       7   Urban Logic; correct?
 8             A. Yes.                                        8          A. Yes.
 9             Q. And based on your discussions with          9          Q. Are you aware that in 2004 time
10      the other City Council members, do you believe       10   period Mrs. Hall was claiming that Urban Logic was
11      that your fellow City Council members also           11   violating Section 1090, which is a conflict of
12      understood that there were concerns being raised     12   interest law in California?
13      about a potential conflict of interest with Urban    13          A. Yes.
14      Logic?                                               14          Q. And was the fact, this concern
15             A. Yes.                                       15   about a potential violation of Section 1090, was
16                 MR. DUNN: Objection; lacks                16   that something that was discussed by the City
17      foundation, calls for speculation.                   17   Council?
18      BY MS. VANDERWEELE:                                  18              MR. DUNN: Objection; vague as to
19             Q. Did you talk with other City               19   time.
20      Council members about a potential conflict of        20              THE WITNESS: Yes, it was and it
21      interest involving Urban Logic?                      21   was discussed in closed session too.
22             A. Yes, we did, because it was brought        22              MR. DUNN: Hold on, counsel.
23      to the public comment from Mrs. Hall. And we         23   Mr. Berg you are advised not to respond to
24      looked into the matter and we actually -- a letter   24   questions that calls for information that was
25      was written by then/later by Mayor Fox that          25   shared in closed session. Are you aware of that?

                                              Page 108                                                  Page 109
 1     That's stated on the record.                           1   Urban Logic and its principals were violating
 2               THE WITNESS: It --                           2   Section 1090?
 3               MR. DUNN: You are not --                     3              MR. DUNN: Mr. Berg, you are
 4               MS. VANDERWEELE: I am not asking             4   instructed not to respond to this question to the
 5     him to --                                              5   extent it calls for information that was shared in
 6               MR. DUNN: Uh-uh. I'm not talking             6   closed session.
 7     to you, I'm talking to him.                            7              MS. VANDERWEELE: Time out,
 8               MS. VANDERWEELE: Excuse me.                  8   counsel, I was asking about -- counsel, I was
 9               MR. DUNN: You are not allowed --             9   asking about if he knows that members of the
10     the city holds a privilege. You are not allowed       10   public were raising that. It's stated in the
11     to talk about matters in closed session. You          11   record on agenda minutes, meeting minutes that's
12     proceed at your own risk.                             12   not a closed session item.
13               MS. VANDERWEELE: Sir --                     13              THE WITNESS: They --
14               MR. DUNN: And, counsel, you do              14              MS. VANDERWEELE: Hold on.
15     too.                                                  15              Can I have my question read back,
16               MS. VANDERWEELE: Understood. I am           16   please.
17     just going to reserve my right. I'm not going to      17          (Record read as follows:
18     ask any questions that would potentially elicit       18          "Question: You understood that
19     testimony from you about what occurred during a       19          individuals within the City of
20     closed session. But I will reserve my right to        20          Beaumont were claiming that Urban
21     redepose the witness to the extent the Court rules    21          Logic and its principals were
22     otherwise. Okay? So I will move on.                   22          violating Section 1090?")
23     BY MS. VANDERWEELE:                                   23              MS. VANDERWEELE: Let me -- I will
24            Q. You understood that individuals             24   withdraw that question and re-ask it.
25     within the City of Beaumont were claiming that        25


                                                                             28 (Pages 106 to 109)




                                                                                                 EXHIBIT 22
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                                              Page 110                                                  Page 111
 1     BY MS. VANDERWEELE:                                    1         A. Yes.
 2            Q. Sir, during the public comment               2         Q. There was also -- I want to show
 3     period during City Council meeting minutes --          3   you -- I will mark this as Exhibit 28.
 4     public comment period is different from a closed       4         (Exhibit No. 28 was marked for
 5     session; correct?                                      5         identification and is attached
 6            A. Yes.                                         6         hereto.)
 7            Q. And when the public would raise              7   BY MS. VANDERWEELE:
 8     concerns during a public comment period, I take it     8         Q. The court reporter has just handed
 9     when you were present for those meetings you would     9   you what we've marked as Exhibit 28. This is
10     hear what those individuals had to say?               10   Bates stamped BEAUAIG8399 through 8408. And if
11            A. Yes.                                        11   you look, sir, at the second to last page, it
12            Q. Do you recall in the early 2000s            12   looks like this -- this is an unsigned document;
13     that Nancy Hall during a public comment period        13   correct?
14     claimed that the ULC principals were violating        14         A. Yes.
15     Section 1090?                                         15         Q. But it has your name Roger Berg,
16            A. Yes.                                        16   Mayor; correct?
17            Q. I don't want to know what was               17         A. Yes.
18     discussed during a closed session, although I do      18         Q. Is this a document that you
19     reserve my right to re-question the witness on        19   drafted?
20     that topic, the City Council ultimately decided to    20         A. I believe Mr. Sheppard drafted it
21     continue retaining Urban Logic; correct?              21   for my signature.
22            A. Yes.                                        22         Q. So Mr. -- if you look at the first
23            Q. And that was despite claims of              23   page, it says Mr. -- it looks like this letter is
24     conflict of interest that were being raised by        24   being sent to Mr. Sheppard.
25     members of the public; correct?                       25         A. Uh-huh.

                                              Page 112                                                  Page 113
 1              Q. Yes?                                       1   understand how -- so there was a draft audit
 2              A. Yes.                                       2   report and it looks like this was an audit report
 3              Q. Sorry, I just got to make sure we          3   that was done from the U.S. Department of Commerce
 4      have got a clear answer.                              4   Office of Inspector General?
 5                So is this a letter that you                5          A. Yes.
 6      prepared to send to Mr. Sheppard?                     6          Q. And it -- based on the subject line
 7              A. I believe so, yes.                         7   of this letter, did that audit report have to deal
 8              Q. And it's regarding a draft audit           8   with -- or I guess why don't you tell me. What
 9      report.                                               9   did the audit report --
10              A. Yes.                                      10          A. Mr. Sheppard had a lot of
11              Q. Okay. So it looks to me -- you            11   questions. As an auditor, that's good. He wanted
12      state here in the first sentence that you are        12   to meet with me. I explained to him that normally
13      responding to Mr. Sheppard's letter of July two      13   it's handled by the City. I am just a part-time
14      thousand -- strike that.                             14   member on the meetings. I met with him for
15                It says here that you are                  15   several hours and went over things with him on the
16      responding to Mr. Sheppard's letter of July 25,      16   project which it was the team track and such that
17      2001. Do you see that?                               17   we had that was built to -- for development for
18              A. Yes.                                      18   such as the warehouse, the Lowe's facility there
19              Q. So please take your time reviewing        19   and then other people would use it.
20      this. What I want to know is if this is a            20          Q. So the audit report had to deal
21      document that you yourself drafted responding to a   21   with a team track project that was being done?
22      letter from Mr. Sheppard?                            22          A. Yes.
23              A. Yes, it was, based on the meeting I       23          Q. And you had an opportunity to
24      had with Mr. Sheppard.                               24   review the draft audit report and then it sounds
25              Q. Okay. So I want to make sure I            25   like you met with David Sheppard who was the


                                                                              29 (Pages 110 to 113)




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                                       #:6051
                                              Page 114                                                  Page 115
 1      Acting Regional Inspector General for audits?         1          A. Yes.
 2              A. Yes.                                       2          Q. Was that a finding and
 3              Q. And then was it following that             3   recommendation that -- that the city had a
 4      meeting that you then prepared this letter?           4   conflict of interest in managing the project, was
 5              A. Yes.                                       5   that a finding that was made in the audit -- draft
 6              Q. And if we look at Page 2 of this           6   audit report that you had reviewed?
 7      letter, the Factual Summary, and you talk about in    7          A. I believe it was.
 8      the middle part of Paragraph 2 about the City         8          Q. And this is you in the letter on
 9      Council's contract with Urban Logic Consultants.      9   Page 7 responding to that finding?
10      Do you see that?                                     10          A. Yes.
11              A. Yes.                                      11          Q. Okay. So this letter is dated
12              Q. And you talk about the work that          12   August 20th, 2001; correct?
13      Mr. Egger, Mr. Moorjani, and Mr. Dillon do for the   13          A. Yes.
14      city as city officials in the following paragraph;   14          Q. And in looking at Page 7, it looks
15      correct?                                             15   to me that the audit report had identified a
16              A. Yes.                                      16   potential conflict of interest involving Urban
17              Q. Okay. And then if you can turn to         17   Logic; correct?
18      Page 7 of this letter, so it looks like this         18          A. Yes.
19      section -- so we are on Page 7 and at the top of     19          Q. And in your letter you are
20      this page it says Finding and Recommendation         20   responding to that claim?
21      No. 2:                                               21          A. Yes.
22                 "City staff have a conflict               22          Q. Fair to say that in August of 2001,
23              of interest in managing the                  23   you understood that the Office of Inspector
24              project."                                    24   General for the U.S. Department of Commerce was
25                  Do you see that?                         25   claiming that Urban Logic had a conflict of

                                              Page 116                                                  Page 117
 1     interest?                                              1   draft audit report addressed the conflict of
 2            A. Yes.                                         2   interest?
 3            Q. And you responded to that with your          3          A. It did. I think the only thing
 4     explanation as to why there wasn't a conflict;         4   that happened was a small amount of money was
 5     correct?                                               5   given back to the federal government for the
 6            A. Yes. And also in the meeting I had           6   things that he didn't think qualified.
 7     with them I explained to them how we operated, we      7          Q. Okay. So in the final audit report
 8     were a small city, we operated different than a        8   that was issued by the Office of Inspector General
 9     larger one that they may have dealt with, that we      9   from the U.S. Department of Commerce, they found
10     don't have staff on -- on-site. We don't have         10   that Urban Logic had a conflict of interest?
11     city employees. We utilize contract employees the     11          A. No.
12     same as, you know, the federal government do at       12          Q. They did not?
13     some times that he worked for. They would use,        13          A. They did not.
14     you know, there to take care of some of the things    14          Q. But you knew in August of 2001 that
15     they have to have done. They don't have the           15   there was a concern being raised from the Office
16     people there to do it.                                16   of Inspector General from the U.S. Department of
17            Q. Was a final audit report issued by          17   Commerce of a potential conflict of interest?
18     the Office of Inspector General for the U.S.          18          A. They were only doing their job.
19     Department of Commerce that --                        19          Q. Of course. Okay. I want to talk
20            A. Yeah --                                     20   about capital improvement plans.
21            Q. -- for the project that's                   21             Actually, let me back up. So the
22     encompassed here in this letter?                      22   final audit report as you recall did not find a
23            A. Yes.                                        23   conflict of interest?
24            Q. I have not had the opportunity to           24          A. As I recall, yes.
25     see that, but I am wondering if you know if that      25          Q. Okay. And that was in -- the draft


                                                                             30 (Pages 114 to 117)




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 1      audit report we know was in 2001 based on your        1   of facilities, streets, wastewater treatment
 2      letter. Do you know when the final audit report       2   plant, the wastewater facilities, curbs and
 3      came out?                                             3   gutters, just about anything the city would have.
 4             A. No, I don't.                                4   Roads and bridges.
 5             Q. I take it it would have been in             5          Q. Would you agree that a capital
 6      2001 or early 2002?                                   6   improvement plan is an integral component of the
 7             A. Yes.                                        7   City of Beaumont's budget process?
 8             Q. And then we know from the Staff             8          A. Yes.
 9      Report that discusses a conflict of interest, that    9          Q. Would you agree that a capital
10      it was in 2004-ish time period, 2004/2005 that       10   improvement plan is an ongoing implementation of
11      Nancy Hall and others were raising concerns about    11   the comprehensive public facilities financing
12      a conflict of interest.                              12   program?
13             A. Yes.                                       13          A. Yes.
14             Q. So that would have been after the          14          Q. Do the city's capital improvement
15      audit report that we were just talking about.        15   plans on an annual basis identify the capital
16             A. Yes.                                       16   improvement projects that would be undertaken by
17             Q. Okay. Capital improvement plans.           17   the city for that fiscal year?
18      I take it during your two plus decades on City       18          A. Yes.
19      Council, you would have reviewed capital             19          Q. And do those capital improvement
20      improvement plans as part of your duties and         20   plans identify the Public Works projects that the
21      responsibilities?                                    21   Public Works Department is recommending that the
22             A. Yes.                                       22   City Council approve?
23             Q. What is a capital improvement plan?        23          A. Yes.
24             A. Capital improvement plan is                24          Q. Which department in the city
25      consistent with a variety of things. It consisted    25   prepared capital improvement plans?

                                              Page 120                                                  Page 121
 1            A. That would have been the -- there            1          A. Yes.
 2     actually could be several departments, but it was      2          Q. And this is dated March 16, 2010.
 3     mainly Public Works.                                   3          A. Yes.
 4            Q. Okay. And the Public Works                   4          Q. I take it you would have approved
 5     department, the director was Dee Moorjani?             5   this capital improvement plan in your role as a
 6            A. Dee Moorjani, yes.                           6   City Council member?
 7            Q. And if we look at -- if you                  7          A. Yes.
 8     actually want to turn to Exhibit 17, that's a good     8          Q. And I guess, tell me what is your
 9     example of the capital improvement plan.               9   role as a City Council member with respect to the
10            (Exhibit No. 17 was marked for                 10   city's capital improvement plans?
11            identification and is attached                 11          A. This is an integral part of the
12            hereto.)                                       12   city budget. It's something we are going to use
13     BY MS. VANDERWEELE:                                   13   as a tool to help us decide what work we are going
14            Q. So Exhibit 17 is an amended capital         14   to do that year or out in the future.
15     improvement plan for fiscal year 2010/2011; is        15          Q. Would the Public Works Department
16     that correct?                                         16   prepare the capital improvement plans to be
17            A. Yes.                                        17   reviewed and approved by City Council?
18            Q. Okay. And it says on the first              18          A. Yes.
19     page that it's prepared by the Public Works           19          Q. Would draft reports -- or strike
20     Department.                                           20   that.
21            A. Yes.                                        21              Would draft capital improvement
22            Q. And it's prepared for the Mayor             22   plans be submitted to the City Council to allow
23     Brian DeForge, Roger Berg, yourself, as Mayor Pro     23   them to make any revisions or amendments as
24     Tem, and then Larry Dressel, Jeff Fox, and Nancy      24   needed?
25     Gall as council members; correct?                     25          A. Yes.

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                                                                                                 EXHIBIT 22
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 1            Q. Okay. And ultimately did the City            1           Q. And on the next couple pages in
 2      Council have to vote and approve the capital          2   this Capital Improvement Plan, it identifies the
 3      improvement plans for each fiscal year?               3   Public Works projects that the city wanted to
 4            A. Yes.                                         4   undertake that year; correct?
 5            Q. And would the vote of approval be            5           A. Yes.
 6      done by resolution?                                   6           Q. And then there's exhibits attached
 7            A. Yes.                                         7   to the Capital Improvement Plan; right?
 8            Q. And would that be reflected in the           8           A. Yes.
 9      City Council meeting minutes?                         9           Q. Exhibit 1 is a map of Capital
10            A. Yes.                                        10   Improvement Plan projects. Do you see that?
11            Q. When you were on City Council and           11           A. Yes.
12      would be given a Capital Improvement Plan to         12           Q. And is this map here showing --
13      review, given your construction management           13   it's kind of difficult to see, but does this show
14      expertise, what kinds of things were you looking     14   the projects that were identified in the -- in the
15      for when you reviewed these plans?                   15   plan?
16            A. I was looking for the total cost,           16           A. Yes.
17      what was involved, what expertise was needed,        17           Q. Exhibit 2 is titled Sources and
18      where the funding was going to come from.            18   Uses of Funds. And so would this document
19            Q. And let's go through Exhibit 17             19   identify, as it states, the sources and uses of
20      here. You know, the introduction section talks       20   funds for the Public Works projects identified in
21      about the purpose of a Capital Improvement Plan.     21   the Capital Improvement Plan?
22      And as you have already stated, these plans are an   22           A. Yes.
23      integral component of the city budget process;       23           Q. Exhibit 3 is the Preliminary
24      correct?                                             24   Improvement Cost Estimates. And let me know when
25            A. Yes.                                        25   you get there.

                                              Page 124                                                  Page 125
 1             A. Okay. I am there.                           1   had to deal with -- the women's club, that's
 2             Q. So it looks to me, and correct me           2   Pomona Park District, so they would tell us what
 3      if I'm wrong, that these preliminary engineering      3   they would like to have done there. We are going
 4      estimates, are estimates that are made by an          4   to do that under work for others but with the
 5      engineer for each of the projects that are            5   money that was due them. The monitoring wells,
 6      identified in the Public Works -- or in the           6   that's an environmental thing. So we were working
 7      Capital Improvement Plan.                             7   with the state to make sure we were going to be
 8             A. That's correct.                             8   doing what was needed.
 9             Q. And who -- and would the exhibits           9          Q. So would it be fair to say that
10      that are attached to this Capital Improvement Plan   10   although the Public Works Department was primarily
11      be prepared by the Public Works Department?          11   responsible for drafting and preparing this
12             A. Public Works and in conjunction            12   Capital Improvement Plan, they would take input
13      with other engineers and such they may have.         13   from other agencies and entities regarding the
14             Q. Would those engineers that are             14   projects identified in the plan?
15      providing input for these preliminary engineering    15          A. Yes.
16      estimates include Urban Logic?                       16          Q. There is -- Exhibit 4 to this
17             A. Yes.                                       17   Capital Improvement Plan is titled Change Orders
18             Q. You said that primarily it was the         18   and Additional Authorizations. Can you tell me
19      Public Works Department that prepared these          19   what is contained here in Exhibit 4?
20      capital improvement plans. And it sounds like        20          A. Yeah. This is a change order
21      there would be input from some other agencies.       21   recommended by the director of Public Works for
22             A. Yes.                                       22   work to be done.
23             Q. Who else would provide input for a         23          Q. Okay. And then moving right along,
24      Capital Improvement Plan?                            24   Exhibit B is project fund budgets. So I guess --
25             A. Well, I mean, we have -- if they           25   like what is being described here on Exhibit B1?


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                                                                                                 EXHIBIT 22
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 1             A. It's the funding. We have the              1   services, plan check/inspection, survey/GIS
 2     redevelopment agency funds, we have -- which is       2   services, construction management services, and
 3     has special funds. We have city-wide mitigation       3   construction contractor services. Do I understand
 4     fees which were paid by homeowners and developers.    4   that correctly?
 5     We have gas tax funds. We have Rule 20, which is      5          A. Yes.
 6     from the power company. We have -- and we have        6          Q. What is PE and PM services?
 7     the community development CFD funding. And we         7          A. Project engineer -- project
 8     have other ones and we have some enterprise funds,    8   engineering/project management.
 9     wastewater treatment plant bond funds, lots of        9          Q. What is -- it says survey/GIS. I
10     different funding mechanisms.                        10   think you told me earlier what that meant?
11             Q. Okay. And then Exhibit B2 looks to        11          A. Yeah. Survey work had to be done
12     be a summary of the -- of the project funds;         12   and then global information system where we are
13     correct?                                             13   putting the actual new facilities into our
14             A. Yes.                                      14   database.
15             Q. I want to now turn to Exhibit B-4,        15          Q. And this Exhibit B-4, this Budget
16     which is a Budget Summary.                           16   Summary, it's an exhibit to the Capital
17             A. Okay.                                     17   Improvement Plan, so would this be something that
18             Q. So it looks to me like Exhibit B-4        18   was submitted to the City Council for approval
19     is a -- it contains the budget for each of the       19   from the Public Works Department?
20     Public Works projects identified in this Capital     20          A. Yes.
21     Improvement Plan.                                    21          Q. And I think you told me earlier
22             A. Yes.                                      22   when you would review a Capital Improvement Plan,
23             Q. And so for each of these projects,        23   you looked at, you know, the projects and the
24     there is a budget and it's for six categories of     24   budgets. I take it you would review these budgets
25     services. PE and PM services, engineering            25   before you would vote to approve a Capital

                                             Page 128                                                 Page 129
 1      Improvement Plan?                                    1   and divide it by the total project budget of
 2             A. Yes.                                       2   $30,937,314, that comes out to roughly 5 percent.
 3             Q. The plan check/inspection services,        3          A. Yes.
 4      those were provided by Urban Logic?                  4          Q. Okay. So here the construction
 5             A. Yes.                                       5   management and plan check/inspection service
 6             Q. The construction management                6   budget exceeded four and a half percent; correct?
 7      services identified on this budget summary, those    7          A. Yes. This is a planning document.
 8      were also provided by Urban Logic; correct?          8          Q. Sure.
 9             A. Yes.                                       9          A. And listed in there we had other --
10             Q. And as we talked about earlier,           10   other people could have bid on it. And we may not
11      pursuant to the contracts between Urban Logic and   11   have ULC do the work. So this is a planning
12      the city, those services, plan check/inspection     12   document. Not necessarily what it's going to
13      and construction management were subject to a fee   13   actually cost or whether the work was actually
14      cap; correct?                                       14   going to be done.
15             A. Yes.                                      15          Q. Understood. But this budget is
16             Q. Okay. So if we take the total of          16   disclosing to the City Council that the
17      the plan check/inspection budget, which is          17   anticipated budget for the plan check/inspection
18      $659,646.                                           18   and the construction management services is going
19             A. Okay.                                     19   to exceed four and a half percent of the total
20             Q. And we add that with the budget for       20   project budget; correct?
21      the construction management services, which was     21          A. Yes.
22      $906,356, I will represent to you that the total    22          Q. And this was something that the
23      is $1,566,002. Okay?                                23   City Council would have the opportunity to review
24             A. Okay.                                     24   and approve -- or strike that.
25             Q. And if we take that total amount          25             This budget summary was given to

                                                                            33 (Pages 126 to 129)




                                                                                               EXHIBIT 22
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 1      City Council with the opportunity to review prior     1   listed as a qualified professional services
 2      to approving it; correct?                             2   contractor?
 3             A. That's correct.                             3          A. Yes.
 4             Q. Going to Exhibit C of this Capital          4          Q. And so ULC, would it be fair to say
 5      Improvement Plan, it has a list of qualified          5   that the principals were making recommendations to
 6      professional services contractors; correct?           6   City Council about Public Works projects in the
 7             A. Yes.                                        7   capital improvement plans that Urban Logic would
 8             Q. And as we have been talking about           8   be providing services on for a fee?
 9      all along, Urban Logic Consultants is listed on       9          A. Yes.
10      here as one of the professional services             10          Q. Separate and apart from the --
11      contractors; right?                                  11   strike that.
12             A. Yes.                                       12              Let me -- I am going to flip around
13             Q. Mr. Moorjani, given his role as the        13   here. Let me figure out where I want to go. If
14      director of the Public Works Department, would it    14   you can turn to Exhibit 11 for me.
15      be fair to say that he had an integral role in       15          (Exhibit No. 11 was marked for
16      preparing these plans?                               16          identification and is attached
17             A. Yes.                                       17          hereto.)
18             Q. Would the ULC principals in their          18   BY MS. VANDERWEELE:
19      role as city officials make recommendations to the   19          Q. Is Exhibit 11 a Capital Improvement
20      City Council about capital improvement plans?        20   Plan for fiscal year 2002 to 2003?
21             A. Yes.                                       21          A. Yes.
22             Q. Did the ULC principals in their            22          Q. Your name is listed on here as one
23      role as city officials recommend that the city       23   of the City Council members; correct?
24      adopt resolutions approving these plans that would   24          A. Yes.
25      provide funding for projects on which ULC was        25          Q. The document is dated July 16,

                                              Page 132                                                  Page 133
 1     2002?                                                  1   BY MS. VANDERWEELE:
 2             A. Yes.                                        2          Q. Okay. At the top here it says,
 3             Q. And this is a Capital Improvement           3   "Community Facilities District 93-1, 2000
 4     Plan that you would have reviewed when you served      4   Series A, Construction Fund Vendor Control." Do
 5     on City Council?                                       5   you see that?
 6             A. Yes.                                        6          A. Yes.
 7            Q. I want to turn to -- unfortunately           7          Q. Do you recognize this document?
 8     this is not a fully numbered exhibit, but it's --      8          A. Yes.
 9     the Bates stamp paging is in the bottom right-hand     9          Q. And actually, if we turn to the
10     corner and I want to focus your attention, it's       10   previous page, 281807 it looks like this is
11     about in the middle of this exhibit. It's             11   actually -- that's the first page of this.
12     Page 281808. It's a construction fund vendor          12          A. Yes.
13     control document.                                     13          Q. Okay. What is a construction fund
14               MR. DUNN: And, I'm sorry, counsel,          14   vendor control document?
15     what exhibit number is that?                          15          A. That would control who the money is
16               MS. VANDERWEELE: It's Exhibit 11.           16   going to be paid to.
17               MR. DUNN: Thank you.                        17          Q. And if we see on certain projects,
18               MS. VANDERWEELE: Yep.                       18   sticking to the first page of this vendor control
19               THE WITNESS: What is that again?            19   document, do you see Urban Logic Consultants is
20               MS. VANDERWEELE: It's a                     20   identified for looks like the first one is a Noble
21     construction fund vendor control number.              21   Creek sewer project?
22               THE WITNESS: And the number?                22          A. Yes.
23               MS. VANDERWEELE: It's 281808.               23          Q. And there is a variety of projects
24               THE WITNESS: 808. Okay. I am                24   in this construction fund vendor control document
25     almost there. Okay.                                   25   that identifies Urban Logic; correct?

                                                                             34 (Pages 130 to 133)




                                                                                                 EXHIBIT 22
                                                                                                 PAGE 1472
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                                              Page 134                                                  Page 135
 1             A. Yes.                                        1   BY MS. VANDERWEELE:
 2             Q. And so this document would disclose         2         Q. And how is it that City Council
 3      what the budget was for the work that Urban Logic     3   would learn of the budgets for the work that Urban
 4      was doing on these projects. Do I understand that     4   Logic did for the city?
 5      correctly?                                            5         A. Through these documents that was
 6             A. Yes.                                        6   presented to City Council at the Council meeting.
 7             Q. And would a construction fund               7         Q. Okay. And these documents are the
 8      vendor control document, were these provided to       8   budget summaries that are in the capital
 9      City Council for review?                              9   improvement plans; right?
10             A. Yes.                                       10         A. Yes.
11             Q. And so City Council would have the         11         Q. As well as these construction fund
12      opportunity to review these and to see the budgets   12   vendor control documents?
13      for the various contractors on these projects?       13         A. Yes.
14             A. Yes.                                       14         Q. Would there be other budgetary
15             Q. To the extent that the budgets             15   documents that would be provided to City Council
16      allotted to Urban Logic Consultants -- strike        16   that would show the budgets for the work that
17      that.                                                17   Urban Logic was doing?
18                I guess generally speaking, the            18         A. Not unless they are in this report.
19      City Council was fully apprised of the budgets       19         Q. Okay. I just wanted to ask.
20      that were put in place for work that Urban Logic     20   Generally speaking, sir, given that City Council
21      did.                                                 21   was provided documents setting forth Urban Logic's
22             A. Yes.                                       22   budget for the projects it worked on, all of the
23                MR. DUNN: Objection; calls for             23   budgeted amounts for the work was fully disclosed
24      speculation, lacks foundation. Move to strike.       24   to City Council while you were on the Council;
25                                                           25   correct?

                                              Page 136                                                  Page 137
 1            A. Yes.                                         1   project Urban Logic worked on had to be adjusted,
 2               MR. DUNN: Objection; lacks                   2   that would have to be approved by City Council?
 3     foundation.                                            3         A. Yes.
 4     BY MS. VANDERWEELE:                                    4         Q. Was there ever a time when you
 5            Q. And that again is based on the               5   served on City Council that the City Council was
 6     documents that we just talked about that you have      6   not made aware of the budgets for the work that
 7     said you reviewed while you were on City Council?      7   Urban Logic did for Public Works projects?
 8            A. Yes.                                         8            MR. DUNN: Objection; lacks
 9            Q. And I take it you would also have            9   foundation, calls for speculation.
10     discussions during City Council meetings about the    10            THE WITNESS: No.
11     work that Urban Logic did; correct?                   11   BY MS. VANDERWEELE:
12            A. Yes.                                        12         Q. Given over time we have talked
13            Q. And would that include adjustments          13   about how the city was expanding, I take it, as
14     to the budgets for the work that Urban Logic did?     14   time went on, the city was undertaking more and
15            A. There would be if some of the work          15   more Public Works projects?
16     didn't go forward or some of it may have been --      16         A. Yes.
17     had to cost more money.                               17         Q. And so the construction management,
18            Q. Okay. And if an increased                   18   plan checking and inspection work that Urban Logic
19     budget -- strike that.                                19   was providing, as more projects were being done,
20               If a budget for work that Urban             20   they had to necessarily provide more services for
21     Logic did had to be increased or potentially          21   plan check/inspection, and construction
22     decreased, would that have to be approved by the      22   management?
23     City Council?                                         23         A. And they had to provide more staff.
24            A. It would come back for review, yes.         24         Q. Okay. There is a four and a half
25            Q. Okay. So if the budget for a                25   percent fee cap in the contracts that we have


                                                                             35 (Pages 134 to 137)




                                                                                                 EXHIBIT 22
                                                                                                 PAGE 1473
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                                             Page 138                                                  Page 139
 1     looked at. And if we look at kind of what we did      1          A. Yes.
 2     with the Capital Improvement Plan Budget Summary      2              MR. DUNN: Objection; calls for
 3     in Exhibit 17 -- and we will go through some of       3   speculation, lacks foundation. Move to strike.
 4     these -- but there are times when the budget for      4   BY MS. VANDERWEELE:
 5     the plan check/inspection and construction            5          Q. And how do you know that?
 6     management exceeds four and a half percent of the     6          A. I know that because some of the
 7     total project cost.                                   7   projects were more difficult to do than what was
 8            A. Yes.                                        8   originally anticipated when the document was
 9            Q. That fact that the budget for               9   originally put in and they required specialized
10     plan check/inspection, and construction              10   services.
11     management, the fact that those services would       11          Q. Okay. And let's start with --
12     necessarily have to exceed the four and a half       12   let's go to Exhibit 3.
13     percent fee cap, was that something that was fully   13          (Exhibit No. 3 was marked for
14     disclosed to the City Council?                       14          identification and is attached
15               MR. DUNN: Objection; lacks                 15          hereto.)
16     foundation, calls for speculation.                   16              THE WITNESS: Which one is that?
17               THE WITNESS: The amount that was           17              MS. VANDERWEELE: I'm sorry.
18     recommended and the actual cost was always           18   Exhibit 3. It should be at the beginning. Oops,
19     provided to the City Council.                        19   sorry, it's the tab.
20     BY MS. VANDERWEELE:                                  20              THE WITNESS: Oh.
21            Q. I take it the City Council                 21              MS. VANDERWEELE: No, you are fine.
22     understood that given the nature and scope of the    22   I should have caught you on that.
23     work that Urban Logic was providing for these        23   BY MS. VANDERWEELE:
24     projects necessarily had to exceed four and a half   24          Q. So we are at Exhibit 3. Am I
25     percent of the total project costs?                  25   correct that this is a Capital Improvement Plan

                                             Page 140                                                  Page 141
 1      for fiscal years 1994 to 1995 and 1995 to 1996?      1           which will utilize the following
 2             A. Yes.                                       2           funding sources and budgets."
 3             Q. Your name is listed down here at           3              Do you see that?
 4      the bottom as a member of City Council?              4           A. Yes.
 5             A. Yes.                                       5           Q. Okay. And so the Capital
 6             Q. This report -- strike that.                6   Improvement Plan, like the one that we looked at
 7                 This Capital Improvement Plan is          7   earlier, identifies and discusses the Public Works
 8      dated September 12, 1994?                            8   projects that the city wants to undertake for
 9             A. Yes.                                       9   these fiscal years; correct?
10             Q. And I take it since you were on           10           A. Yes.
11      City Council you would have reviewed this Capital   11           Q. And then if we flip to the Budget
12      Improvement Plan; is that correct?                  12   Summary page which I think is -- might be tabbed
13             A. Yes.                                      13   with a blue tab.
14             Q. And we can just quickly go through        14           A. Okay, yeah.
15      this here. There is an executive summary that       15           Q. And just for ease for the witness
16      states that:                                        16   we went ahead and tabbed the budget summaries that
17                "This Capital Improvement                 17   I am going to have you look at to make this go a
18             Plan for these fiscal years is               18   little bit more quickly. So if you flip to the
19             including 21 separate projects               19   tab -- okay.
20             which will utilize the following             20           A. Okay.
21             funds and sources" -- or strike              21           Q. So we are looking at table No. 7
22             that. I'm sorry.                             22   which is a detailed Budget Summary for this
23                 The executive summary states that:       23   Capital Improvement Plan in 1994 to 1995 and 1995
24                "The Capital Improvement Plan             24   to 1996; correct?
25             includes 21 separate projects                25           A. Yes.


                                                                            36 (Pages 138 to 141)




                                                                                                EXHIBIT 22
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                                             Page 142                                                  Page 143
 1            Q. And if you actually look at the             1          A. Yes.
 2     bottom right-hand corner, do you see where it says    2          Q. And I went ahead and added the
 3     Urban Logic Consultants?                              3   total amount -- budgeted amount for the
 4            A. Yes.                                        4   plan check/inspection and construction management
 5            Q. Does this mean that Urban Logic             5   services and it totals $835,003. And I am going
 6     Consultants prepared this Budget Summary?             6   to ask that you trust me that my math is correct.
 7            A. Yes.                                        7   Okay?
 8            Q. Okay. Again, we have these --               8          A. Okay.
 9     actually, we have nine I think -- hold on. We         9          Q. So if we take that amount which is
10     have nine different categories of services that      10   the total of the plan check/inspection and
11     correlate to the categories of services we saw in    11   construction management services, and then divide
12     Exhibit 17; right?                                   12   that by the total budgeted amount for all these
13            A. Yes.                                       13   projects which is $11,299,216, it comes out to 7.4
14            Q. Okay. The plan check/inspection            14   percent. And I am going to ask that you trust me
15     and construction management categories, do you see   15   on the math. Okay?
16     those?                                               16          A. Okay.
17            A. Yes.                                       17          Q. So here we see in this Budget
18            Q. And, again, the Urban Logic                18   Summary that the plan check/inspection and
19     contract with the city provided that Urban Logic     19   construction management services, it was
20     would provide those services for all Public Works    20   contemplated that those services would have to be
21     projects?                                            21   approximately 7.4 percent of the total project
22            A. Yes.                                       22   cost to all these Public Works. Does that make
23            Q. Does this Budget Summary identify          23   sense?
24     all those Public Works projects that the city        24          A. Okay. All right.
25     wanted to undertake that year; correct?              25          Q. And the fact that these services

                                             Page 144                                                  Page 145
 1     were going to exceed 4.5 percent is fully             1          Q. Based on your discussions with City
 2     disclosed here in this Budget Summary; right?         2   Council members about the budgets in these capital
 3            A. Yes.                                        3   improvement plans, was it discussed amongst City
 4            Q. And again, this budget summary is           4   Council members that the plan check/inspection and
 5     part of the Capital Improvement Plan that the city    5   construction management services if identified in
 6     would have to review?                                 6   the Budget Summary as exceeding four and a half
 7            A. Yes.                                        7   percent, that that would be the case for that
 8            Q. And given the nature and scope of           8   year?
 9     the projects that are identified here did the City    9          A. Yes.
10     Council understand -- or strike that.                10              MR. DUNN: Objection; move to
11               Given the nature and scope of              11   strike, lacks foundation, calls for speculation.
12     Public Works projects identified here, when you      12   The question is vague.
13     were on City Council, did you understand that        13   BY MS. VANDERWEELE:
14     these services, plan check/inspection and            14          Q. And I guess putting aside these
15     construction management, would necessarily exceed    15   budget summaries, sir, just based on what your
16     four and a half percent of the total project cost?   16   interactions and discussions with City Council
17            A. Yes.                                       17   members, did -- did you guys talk about the fact
18            Q. Based on your discussions and              18   that Urban Logic would need to provide services
19     interactions -- or strike that.                      19   for plan check/inspection and construction
20               Did you discuss capital improvement        20   management that would exceed four and a half
21     plans with other City Council members?               21   percent?
22            A. Yes.                                       22              MR. DUNN: Objection; vague as to
23            Q. Would you also discuss the budgets         23   time, lacks foundation.
24     for those plans?                                     24              THE WITNESS: We had discussions
25            A. Yes.                                       25   around cost. And I would like to point out one of


                                                                            37 (Pages 142 to 145)




                                                                                                EXHIBIT 22
                                                                                                PAGE 1475
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 1     the individuals on here --                             1   and a half percent fee cap in its contracts?
 2               MS. VANDERWEELE: Absolutely.                 2              MR. DUNN: Objection; vague as to
 3               THE WITNESS: -- who is since                 3   time.
 4     deceased, Mr. Frank Parrott, was a registered          4              THE WITNESS: Yes.
 5     civil engineer many years and he had a lot of          5   BY MS. VANDERWEELE:
 6     experience. And he -- he would review those            6          Q. And would those discussions take
 7     things.                                                7   place during the time that both you and
 8     BY MS. VANDERWEELE:                                    8   Mr. Parrott both served on City Council?
 9            Q. So Frank Parrott, the individual             9          A. Yes.
10     you just mentioned, he was mayor pro tem.             10          Q. Turn to Exhibit 4, please.
11            A. Yes.                                        11          A. Can we take a break, please?
12            Q. As identified on this Capital               12              MS. VANDERWEELE: Sure. We will
13     Improvement Plan?                                     13   take a quick break and go off the record.
14            A. Yes.                                        14              VIDEOGRAPHER: Off the record. The
15            Q. Would you discuss capital                   15   time is 11:35 a.m.
16     improvement plans and budgets with Mr. Parrott?       16          (Whereupon, a recess was held from
17            A. Yes.                                        17          11:35 a.m. to 11:43 a.m.)
18            Q. How long did Mr. Parrott serve on           18              VIDEOGRAPHER: We are back on the
19     Council, if you know?                                 19   record. The time is 11:43 a.m.
20            A. I think about 12 years.                     20          (Exhibit No. 4 was marked for
21            Q. Okay. And would you and                     21          identification and is attached
22     Mr. Parrott discuss the fact that Urban Logic         22          hereto.)
23     would have to provide plan check/inspection and       23   BY MS. VANDERWEELE:
24     construction management services for Public Works     24          Q. Sir, just before the break we had
25     projects that would necessarily exceed the four       25   just started talking about Exhibit 4. And am I

                                              Page 148                                                 Page 149
 1      correct that Exhibit 4 is a Capital Improvement       1           A. Right.
 2      Plan for fiscal year 1995 to 1996?                    2           Q. And if we look at the Budget
 3            A. Yes.                                         3   Summary which is tabbed in your binder, this
 4            Q. And you were on City Council then;           4   breaks down the budget for each of those projects
 5      correct?                                              5   that's contemplated in this Capital Improvement
 6            A. Yes.                                         6   Plan; right?
 7            Q. Would you have reviewed this                 7           A. Yes.
 8      Capital Improvement Plan?                             8           Q. And the projects, these are all --
 9            A. Yes.                                         9   all of the projects listed here are Public Works
10            Q. And if we get to the Executive              10   projects?
11      Summary just like the other capital improvement      11           A. Yes.
12      plans that we have looked at, this plan talks        12           Q. Okay. And the plan check and
13      about 23 separate projects that the city wanted to   13   inspection work and the construction management
14      undertake for that fiscal year; right?               14   work that was going to be done on these Public
15            A. Okay. Yes.                                  15   Works projects would have been provided by Urban
16            Q. And it looks like the estimated             16   Logic pursuant to those contracts we had talked
17      construction costs for those projects was going to   17   about earlier today; right?
18      be 4 million 653 -- wait, strike that.               18           A. Yes.
19                The estimated cost for the                 19           Q. And if I take the sum of the budget
20      construction of these Public Works projects was      20   for the plan check and inspection and the
21      going to be $4,653,500; correct?                     21   construction management services for this fiscal
22            A. Yes.                                        22   year, the total is $238,346. I am going to ask
23            Q. And the number that I just                  23   that you trust me on the math. Okay?
24      referenced I am just taking it from the Executive    24           A. Okay.
25      Summary.                                             25           Q. And if we take that total and


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                                                                                                EXHIBIT 22
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 1      divide it by the total project cost, that comes     1   foundation.
 2      out to about 5 percent. All right?                  2   BY MS. VANDERWEELE:
 3             A. Okay.                                     3          Q. And that was for 20 plus years?
 4             Q. 5 percent exceeds four and a half         4          A. Yes.
 5      percent; right?                                     5          Q. And here we see that for the Budget
 6             A. Yes.                                      6   Summary for the projects for the
 7             Q. And this Budget Summary would have        7   plan check/inspection and construction management
 8      been provided to City Council as part of the        8   services that was going to exceed the four and a
 9      Capital Improvement Plan; right?                    9   half percent fee cap; right?
10             A. Yes.                                     10          A. Yes.
11                MR. DUNN: Objection; lacks               11          Q. And that's fully disclosed here in
12      foundation. Move to strike.                        12   this Budget Summary provided to City Council;
13      BY MS. VANDERWEELE:                                13   true?
14             Q. Does every Capital Improvement Plan      14          A. Yes.
15      contain a Budget Summary?                          15             MR. DUNN: Objection; calls for
16             A. Yes.                                     16   legal opinion and conclusion. Move to strike.
17                MR. DUNN: Objection; same                17   BY MS. VANDERWEELE:
18      objection, lacks foundation.                       18          Q. All right. Let's go to Exhibit 5,
19      BY MS. VANDERWEELE:                                19   please -- actually, we are going to skip
20             Q. How do you know that? How do you         20   Exhibit 5. We are going to go to -- we are going
21      know --                                            21   to skip around because some of these budget
22             A. I know that because as I reviewed        22   summaries are very difficult to read. We are
23      it on the City Council everyone I had we had the   23   going to skip ahead to Exhibit 11, which is fiscal
24      same documents all the time.                       24   year 2002 to 2003. And let me know when you are
25                MR. DUNN: Same objection, lacks          25   there?

                                             Page 152                                                 Page 153
 1            A. I am there.                                1   I didn't tab yours. I apologize.
 2            Q. Am I correct this is a Capital             2              MR. DUNN: It's only because the
 3     Improvement Plan for fiscal year 2002 to 2003?       3   exhibit is so hard to see.
 4            A. Yes.                                       4              MS. VANDERWEELE: Nope, I
 5            Q. It's dated July 16, 2002?                  5   understand. It's on Page 281819.
 6            A. Yes.                                       6              MR. DUNN: Thank you.
 7            Q. You were on City Council and your          7              MS. VANDERWEELE: Sorry, I will
 8     name is listed here on the first page?               8   wait until you get there.
 9            A. Yes.                                       9              MR. DUNN: No worries. I am there,
10            Q. I take it you would have reviewed         10   thank you.
11     this document when you served on City Council?      11   BY MS. VANDERWEELE:
12            A. Yes.                                      12          Q. Okay. So this Budget Summary
13            Q. And I want to turn your attention         13   identifies the budget for each of the Public Works
14     to the Budget Summary which I think should be       14   projects identified in this plan; right?
15     tabbed there in your binder.                        15          A. Yes.
16            A. Okay.                                     16          Q. And the -- again, the
17            Q. This is a little difficult to read        17   plan check/inspection and construction management
18     so I am going to ask you to bear with me. So this   18   services for these Public Works projects would be
19     is a budget summary for all these projects that     19   provided by Urban Logic?
20     are contemplated in the Capital Improvement Plan;   20          A. Yes.
21     correct?                                            21          Q. And the total budget summary for
22            A. Yes.                                      22   plan check/inspection work, I zoomed in on the pdf
23               MR. DUNN: And, counsel, could you         23   of this document and as best as I can tell the
24     identify the Bates numbers?                         24   budget was $508,917. Okay?
25               MS. VANDERWEELE: Oh, I'm so sorry,        25          A. Okay.


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                                                                                               EXHIBIT 22
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                                              Page 154                                                   Page 155
 1              Q. Looking at this, and I understand          1          Q. And it's fully disclosed here in
 2      it's difficult to read, but does that look about      2   this budget summary.
 3      right to you?                                         3          A. Yes.
 4              A. Yes.                                       4          Q. I am going to have you go to
 5              Q. Okay. The total budgeted amount            5   Exhibit 12, please.
 6      for construction management services for all of       6          (Exhibit No. 12 was marked for
 7      these Public Works projects based on my review of     7          identification and is attached
 8      this, I believe this is $564,465 is the budgeted      8          hereto.)
 9      amount for all of the construction management         9   BY MS. VANDERWEELE:
10      work. Okay?                                          10          Q. Am I correct that Exhibit 12 is a
11              A. Okay.                                     11   Capital Improvement Plan for fiscal year
12              Q. When I add the total budgeted             12   2003/2004?
13      amount for plan check/inspection and construction    13          A. Yes.
14      management, the total budgeted amount for the        14          Q. It's dated June 3, 2003?
15      combination of those services is $1,073,382. And     15          A. Yes.
16      again I am going to have to ask you that you trust   16          Q. And you were on City Council and
17      me on the math. Okay?                                17   would have reviewed this as a member of City
18              A. Okay.                                     18   Council; correct?
19              Q. And when we take that amount and          19          A. Yes.
20      divide it by the total project cost budget, that     20          Q. And, again, I am going to ask that
21      comes out to 7.6 percent. Okay?                      21   you turn to the budget summary which is tabbed in
22              A. Okay.                                     22   your binder and for the record is Page
23              Q. That exceeds four and a half              23   BEAUMONTAIG281848. So I have asked you to look at
24      percent; correct?                                    24   the Budget Summary. This is something that is
25              A. Yes.                                      25   included in the Capital Improvement Plan; correct?


                                              Page 156                                                   Page 157
 1            A. Yes.                                         1             When I add those two amounts
 2            Q. And like the other budget summaries          2   together, the total is $1,707,277. And I will
 3     we have looked at, this is part of the Capital         3   again ask that you trust me on the math. Okay?
 4     Improvement Plan and given to City Council to          4          A. Yes.
 5     review prior to voting to approve it or not;           5          Q. And then when I take that amount
 6     right?                                                 6   and divide it by the total project cost of 22
 7            A. Yes.                                         7   million 632 dollars -- strike that.
 8            Q. The projects that are listed here            8             The total project cost you see this
 9     on this budget summary are all Public Works            9   here is $22,632,708. Did I read that correctly?
10     projects?                                             10          A. Yes.
11            A. Yes.                                        11          Q. And so when we take the -- when I
12            Q. So the plan check/inspection and            12   take the combined budgeted amount for
13     construction management services that would be        13   plan check/inspection and construction management
14     provided for these projects would be done by Urban    14   and divide it by the total project cost that comes
15     Logic; correct?                                       15   out to seven and a half percent. Okay?
16            A. Yes.                                        16          A. Yes.
17            Q. The total budget for plan                   17          Q. Seven and a half percent is more
18     check/inspection work for this year was $808,710.     18   than four and a half percent; correct?
19     Do you see that?                                      19          A. Yes.
20            A. Yes.                                        20          Q. So as set forth in this Budget
21            Q. And then the total budgeted amount          21   Summary, the budgeted amount for the work that
22     for the construction management services was          22   Urban Logic was going to be doing on
23     $898,567. Do you see that?                            23   plan check/inspection and construction management
24            A. Yes.                                        24   services exceeded the four and a half percent fee
25            Q. And when I total -- strike that.            25   cap; correct?


                                                                              40 (Pages 154 to 157)




                                                                                                 EXHIBIT 22
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                                             Page 158                                                  Page 159
 1            A. Yes.                                        1          Q. I am going to ask that you turn to
 2            Q. And based on the nature and scope           2   the Budget Summary, which is tabbed in your binder
 3     of the projects that are listed here, does that       3   and for the record is ULCAIG15082. This is a
 4     make sense to you?                                    4   budget summary that's included in the Capital
 5            A. Yes.                                        5   Improvement Plan for fiscal year 2004 to 2005;
 6            Q. And would that have made sense to           6   right?
 7     you back when you would have reviewed this when       7          A. Yes.
 8     you were on City Council?                             8          Q. And would this budget summary have
 9            A. Yes.                                        9   been part of the plan that would have been given
10            Q. Okay. Let's go to Exhibit 13,              10   to City Council to review and vote on whether it
11     please.                                              11   would approve or not?
12            (Exhibit No. 13 was marked for                12          A. Yes.
13            identification and is attached                13          Q. And when you were on City Council I
14            hereto.)                                      14   take it you would have reviewed the budget
15     BY MS. VANDERWEELE:                                  15   summary?
16            Q. Is Exhibit 13, it looks like it's          16          A. Yes.
17     an amended Capital Improvement Plan for fiscal       17          Q. And if we look at all the projects
18     year 2004 to 2005?                                   18   that are listed here, again, all Public Works
19            A. Yes.                                       19   projects?
20            Q. It's dated March 2, 2004; right?           20          A. Yes.
21            A. Yes.                                       21          Q. Okay. So for the
22            Q. And you were on City Council and I         22   plan check/inspection and construction management
23     take it you would have reviewed this Capital         23   services, those would all be services done by
24     Improvement Plan; correct?                           24   Urban Logic?
25            A. Yes.                                       25          A. Yes.

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 1            Q. And if we add the total budgeted            1           Q. And looking at these projects that
 2     amount for plan check/inspection and construction     2   are listed here, does that make sense to you given
 3     management services for this fiscal year, I am        3   the nature and scope of these projects?
 4     going to ask that you trust me on the math, and it    4           A. Yes.
 5     comes out to $1,287,841. Okay?                        5           Q. Let's look at Exhibit 14, please.
 6            A. Yes.                                        6           (Exhibit No. 14 was marked for
 7            Q. The total budgeted amount for all           7           identification and is attached
 8     of these projects is $17,070,481. Do you see          8           hereto.)
 9     that?                                                 9   BY MS. VANDERWEELE:
10            A. Yes.                                       10           Q. Exhibit 14, is this an amended
11            Q. And so if we take the total amount         11   Capital Improvement Plan for fiscal year 2005 to
12     for plan check/inspection and construction           12   2006?
13     management and divide it by the total project        13           A. Yes.
14     amount, that comes out to 7.5 percent. Okay?         14           Q. And you were on City Council and
15            A. Okay.                                      15   would have reviewed this document?
16            Q. 7.5 percent is more than four and a        16           A. Yes.
17     half percent; right?                                 17           Q. And I am going to again ask that
18            A. Yes.                                       18   you turn to the Budget Summary, which is tabbed
19            Q. So here in this Budget Summary it's        19   and for the record is BEAUMONTAIG123098. The
20     disclosed that Urban Logic was going to be           20   budget summary that I have asked you to look at,
21     providing plan check/inspection and construction     21   this is part of the Capital Improvement Plan?
22     management services that would necessarily exceed    22           A. Yes.
23     four and a half percent of the total project cost;   23           Q. And would this budget summary have
24     right?                                               24   been part of the plan that would have been given
25            A. Yes.                                       25   to the City Council to review prior to voting on


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 1     and approving the plan?                               1   $72,413,623, that comes out to approximately 7.6
 2            A. Yes.                                        2   percent. All right?
 3            Q. When you were on City Council is            3          A. Okay.
 4     the budget summary for this fiscal year a document    4          Q. 7.6 percent exceeds four and a half
 5     that you yourself would have reviewed?                5   percent; right?
 6            A. Yes.                                        6          A. Yes.
 7            Q. The projects that are listed on             7          Q. Given the nature and scope of the
 8     this budget summary are all Public Works projects?    8   projects that are listed here on this budget
 9            A. Yes.                                        9   summary, does it make sense to you that Urban
10            Q. The plan check/inspection, and             10   Logic would need to provide plan check/inspection,
11     construction management services that are budgeted   11   and construction management services that would
12     here were services that would be provided by Urban   12   exceed four and a half percent of the total
13     Logic?                                               13   budgeted amount?
14            A. Yes.                                       14          A. Yes.
15            Q. And just like the other budget             15          Q. Okay. And is there any examples
16     summaries we have gone through, if we add the        16   here that you could point to that would -- that
17     budgeted amount for the plan check/inspection and    17   would demonstrate work that Urban Logic would have
18     the construction management services, that total     18   to provide that would exceed the four and a half
19     amount comes out to $5,525,308. Okay?                19   percent fee cap?
20            A. Okay.                                      20          A. The Beaumont Utility Authority
21            Q. And, again, on all my math here I          21   projects, they have sewer collection system, trunk
22     am going to ask that you trust me. All right?        22   main, there is a lot of work involved with working
23            A. Okay.                                      23   in active streets and such. Same with the sewer
24            Q. And if we take that amount and             24   pipeline repair, you are working within an active
25     divide it by the total project budgeted amount of    25   street. Repair projects, Valley Parkway and Noble

                                             Page 164                                                   Page 165
 1     Creek Bridge, you are working in an active creek      1   that time; right?
 2     bed where additional permits and such from A to Zs    2          A. Yes.
 3     and additional things you have to deal with.          3          Q. This report is dated February 6,
 4            Q. And so given the work that would be         4   2007?
 5     required for these projects that are listed here,     5          A. Yes.
 6     does it make sense to you that Urban Logic would      6          Q. And you would have reviewed this
 7     have to provide these plan check/inspection and       7   Capital Improvement Plan prior to voting to
 8     construction management services and charge a fee     8   approve it or not; right?
 9     for those services that would exceed four and a       9          A. Yes.
10     half percent of the total project cost?              10          Q. I am going to ask that you turn to
11            A. Yes.                                       11   the Budget Summary which is tabbed and for the
12            Q. And that's something that you would        12   record is BEAUMONTAIG571868. All of the projects
13     have known when you reviewed this Budget Summary     13   that are listed here are Public Works projects.
14     back in 2004; right?                                 14   Is that true?
15            A. Yes.                                       15          A. Yes.
16            Q. All right. Let's move on to                16          Q. So all of the plan check/inspection
17     Exhibit 15, please.                                  17   and construction management services that are
18            (Exhibit No. 15 was marked for                18   budgeted on this summary would be worked on by
19            identification and is attached                19   Urban Logic?
20            hereto.)                                      20          A. Yes.
21     BY MS. VANDERWEELE:                                  21          Q. And if we again like we have been
22            Q. Is Exhibit 15 an amended Capital           22   doing take the sum of the budgeted amount for
23     Improvement Plan for fiscal year 2007 to 2008?       23   plan check/inspection and construction management,
24            A. Yes.                                       24   I will represent to you that that total is
25            Q. And you were on City Council at            25   $10,979,123. All right?


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 1            A. Okay.                                        1              MR. DUNN: Objection; lacks
 2            Q. And then if we divide that amount            2   foundation. Move to strike.
 3     by the total project budget of $152,517,415, that      3   BY MS. VANDERWEELE:
 4     comes out to 7.2 percent. All right?                   4           Q. And that was disclosed to you
 5            A. Okay.                                        5   through the Budget Summary?
 6            Q. 7.2 exceeds 4.5; correct?                    6           A. Yes.
 7            A. Yes.                                         7           Q. All right. Let's go to No. 16.
 8            Q. Looking at the projects that are             8           (Exhibit No. 16 was marked for
 9     listed here, are you familiar with these projects?     9           identification and is attached
10            A. Yes.                                        10           hereto.)
11            Q. Given the nature and scope of the           11   BY MS. VANDERWEELE:
12     projects that are identified, does it make sense      12           Q. Exhibit 16 is an amended Capital
13     to you that the plan check/inspection and             13   Improvement Plan for fiscal year 2008 to 2009?
14     construction management services that Urban Logic     14           A. Yes.
15     would be providing on these projects would have to    15           Q. Dated September 16, 2008; right?
16     exceed four and a half percent of the total           16           A. Yes.
17     project cost?                                         17           Q. And you were on City Council and
18            A. Yes.                                        18   would have reviewed this Capital Improvement Plan
19            Q. And the fact that Urban Logic would         19   prior to voting to approve it or not?
20     be charging fees for services like                    20           A. Yes.
21     plan check/inspection and construction management     21           Q. And I am going to ask that you turn
22     that would exceed the four and a half percent fee     22   to the Budget Summary, which is tabbed in your
23     cap, was that disclosed to you and City Council       23   binder, and for the record is LOC4-076882. This
24     before Urban Logic provided those services?           24   Budget Summary that I have asked you to look at,
25            A. Yes.                                        25   this is part of the Capital Improvement Plan;

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 1      right?                                                1          Q. Looking at these projects are you
 2            A. Yes.                                         2   familiar with the projects that are identified
 3            Q. And this is part of the plan as              3   here?
 4      provided to City Council to review prior to voting    4          A. Yes.
 5      on whether to approve it or not; correct?             5          Q. Would you have looked at like the
 6            A. Yes.                                         6   plans and specifications for some of these
 7            Q. Are all of the projects listed here          7   projects?
 8      Public Works projects?                                8          A. Yes.
 9            A. Yes.                                         9          Q. Would you have done that when you
10            Q. And so the plan check/inspection            10   were on City Council?
11      and construction management services for these       11          A. Yes.
12      projects would be done by Urban Logic?               12          Q. And given the nature and scope of
13            A. Yes.                                        13   these projects -- or strike that. Let me back up.
14            Q. And if we take the sum of the               14             All of the projects that are
15      budgeted amount for the plan check/inspection and    15   identified not only in this budget summary but in
16      construction management services, that total is      16   the other budget summaries that we have looked at,
17      $11,848,852. Okay?                                   17   would you have looked at the plans and
18            A. Okay.                                       18   specifications for those projects as well?
19            Q. And if we take that amount and              19          A. Yes.
20      divide it by the total project budget of             20          Q. Okay. Given the nature and scope
21      $165,586,491, that comes out to roughly 7.2          21   of the projects that are identified on this budget
22      percent. All right?                                  22   summary for fiscal year 2008 to 2009, does it make
23            A. Yes.                                        23   sense to you that Urban Logic would have to
24            Q. 7.2 is greater than 4.5?                    24   provide plan check/inspection and construction
25            A. Yes.                                        25   management services that would exceed 4.5 percent

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 1      of the total project cost?                           1          Q. You were on City Council and would
 2             A. Yes.                                       2   have reviewed this prior to voting to approve it?
 3             Q. And the fact that Urban Logic would        3          A. Yes.
 4      be providing those services in excess of the four    4          Q. I want to turn your attention to
 5      and a half percent fee cap, that was disclosed to    5   the Budget Summary that's included in this plan
 6      you and City Council; correct?                       6   and for the record is BAUAIG4417. This Budget
 7             A. Yes.                                       7   Summary, this is part of the Capital Improvement
 8             Q. Let's go to Exhibit 17, please.            8   Plan that's given to the City Council to review
 9      And I promise you we are almost done with capital    9   prior to voting to approve the plan?
10      improvement plans. All right. Exhibit -- oh,        10          A. Yes.
11      wait, we have already gone through Exhibit 17.      11          Q. Would you have reviewed this Budget
12      I'm sorry. That was one of the first ones we did;   12   Summary prior to voting on whether to approve the
13      right?                                              13   plan?
14             A. Yeah.                                     14          A. Yes.
15             Q. Is that on there? Okay. So let's          15          Q. All of these projects are Public
16      go to Exhibit 18, please. I apologize.              16   Works projects?
17             (Exhibit No. 18 was marked for               17          A. Yes.
18             identification and is attached               18          Q. And because of that then, like the
19             hereto.)                                     19   other budgets we have looked at, the
20      BY MS. VANDERWEELE:                                 20   plan check/inspection and construction management
21             Q. So is Exhibit 18 an amended capital       21   services for these projects would be done by Urban
22      improvement plan for fiscal year 2011 to 2012?      22   Logic; right?
23             A. Yes.                                      23          A. Yes.
24             Q. And it's dated June 21, 2011?             24          Q. And if we take the total budget
25             A. Yes.                                      25   amount for the plan check/inspection and

                                             Page 172                                                  Page 173
 1     construction management services, that comes out      1   exceed four and a half percent was fully disclosed
 2     to $2,125,065. All right?                             2   to you and City Council; correct?
 3            A. Okay.                                       3          A. Yes.
 4            Q. And if we divide that by the total          4          Q. All right. Let's go to 19, which I
 5     project budget of $33,101,287, that comes out to      5   think is our last Capital Improvement Plan.
 6     6.4 percent. All right?                               6          (Exhibit No. 19 was marked for
 7            A. Okay.                                       7          identification and is attached
 8            Q. 6.4 is more than 4.5; correct?              8          hereto.)
 9            A. Yes.                                        9   BY MS. VANDERWEELE:
10            Q. Given the nature and scope -- or           10          Q. And unfortunately we don't have all
11     strike that.                                         11   the capital improvement plans but we do have a
12               Are you familiar with the projects         12   Budget Summary and so I am going to ask you to
13     that are identified here?                            13   look at this page and tell me if this looks like a
14            A. Yes.                                       14   Budget Summary that would have been included in
15            Q. Would you have reviewed plans and          15   the Capital Improvement Plan for fiscal year 2012
16     specifications for those projects?                   16   to 2013?
17            A. Yes.                                       17          A. Yes.
18            Q. And given the nature and scope of          18          Q. Are all of the projects identified
19     these projects, does it make sense to you that the   19   here Public Works projects?
20     fees that Urban Logic charged for                    20          A. Yes.
21     plan check/inspection and construction management    21          Q. So the plan check/inspection and
22     would have to exceed four and a half percent of      22   construction management services, those would be
23     the total project amount?                            23   performed by Urban Logic?
24            A. Yes.                                       24          A. Yes.
25            Q. And the fact that those fees would         25          Q. And like we have been doing, if I

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 1     take the sum of the budgeted amounts for plan         1         A. Yes.
 2     check/inspection and construction management, that    2         Q. Okay. I think that's the last
 3     total is $914,674. All right?                         3   budget.
 4            A. Okay.                                       4             Okay. I am going to now ask that
 5            Q. And if I divide that amount by the          5   you turn to exhibit -- oh, one second. Oh, thank
 6     total project cost of $17,519,009, that comes out     6   you. Can we actually go back to Exhibit 17. This
 7     to 5.2 percent. Okay?                                 7   is one of the first capital improvement plans we
 8            A. Okay.                                       8   looked at and if you could go to the Budget
 9            Q. 5.2 is greater than 4.5?                    9   Summary.
10            A. Yes.                                       10             So we have talked about how the
11            Q. And the fact that Urban Logic was          11   plan check/inspection and construction management
12     going to have to charge -- I will let you get some   12   services provided by ULC pursuant to those
13     water.                                               13   contracts we looked at at the beginning of the
14            A. Excuse me.                                 14   deposition, those services are subject to a four
15            Q. You are fine. Take your time.              15   and a half percent fee cap; right?
16            A. Okay. Go ahead.                            16         A. Yes.
17            Q. Okay. Thank you. The fact that             17         Q. The PE and PM services, those are
18     Urban Logic was going to be charging fees for        18   not subject -- or let me ask it this way. Are
19     plan check/inspection and construction management    19   those subject to a four and a half percent fee
20     services that would necessarily exceed four and a    20   cap?
21     half percent is set forth here right in this         21         A. No.
22     budget; correct?                                     22         Q. Engineering services?
23            A. Yes.                                       23         A. No.
24            Q. Fully disclosed to you and City            24         Q. The survey/GIS services?
25     Council?                                             25         A. No.

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 1            Q. Construction contractor services?           1          Q. And would it make any sense to you
 2            A. No.                                         2   given your construction management experience to
 3            Q. So in these budget summaries the            3   cap contractor services at four and a half percent
 4     only category of services that are subject to the     4   of the project's total cost?
 5     four and a half percent fee cap for Urban Logic       5          A. No.
 6     are the plan check/inspection and construction        6          Q. And why is that?
 7     management; correct?                                  7          A. Because we don't know exactly
 8            A. Yes.                                        8   what's going to happen till we get the project
 9            Q. Would it make any sense to you              9   designed. It could be less than that. Or more.
10     given your construction management experience and    10          Q. And for some of the projects that
11     expertise to cap engineering services for a Public   11   were undertaken in the City of Beaumont, the
12     Works project at four and a half percent?            12   more -- the more costly projects, would it make
13            A. No.                                        13   any sense to cap the engineering and other
14            Q. Can you explain that for me?               14   services such as design and surveying at four and
15            A. Because you don't know what the            15   a half percent?
16     work is going to involve till you get into it.       16          A. No.
17     They could have a lot of things that come up.        17          Q. All right. Now let's go to
18     Some of these can be really easy, some can be        18   Exhibit 20.
19     really tough to deal with. Because they have to      19          (Exhibit No. 20 was marked for
20     go in there and do their due diligence to make       20          identification and is attached
21     sure they have got the work done correctly.          21          hereto.)
22            Q. And same for the construction              22   BY MS. VANDERWEELE:
23     contractor services. Those are not subject to the    23          Q. So Exhibit 20 is a report of
24     four and a half percent fee cap; right?              24   findings on the investigation of Urban Logic
25            A. No.                                        25   Consulting, David Dillon, Ernst Egger, Deepak

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 1     Moorjani, GGMS, Inc., and Alan Kapanicas. And          1          Mr. Moorjani materially
 2     it's prepared by Hemming Morse LLP and it looks        2          participated in the approval
 3     like Daniel W. Ray is the individual that authored     3          process regarding capital
 4     this. Do you see this?                                 4          improvement projects funded by
 5             A. Yes.                                        5          bonds sold to investors."
 6             Q. Have you reviewed this document             6             I take it you agree with that?
 7     before?                                                7          A. Yes.
 8             A. Yes.                                        8          Q. And then the next two bullet points
 9             Q. So this is a report prepared by an          9   discuss Urban Logic's fees and their contracts.
10     accountant Dan Ray. And do you understand based       10   Okay? And here Mr. Ray is stating that pursuant
11     on your review of this document that the report       11   to the September 1993 agreement Mr. Ray states:
12     attempts to conclude that the ULC principals          12            "For the capital improvement
13     perpetrated a fraud scheme that enabled them to       13          consulting services, ULC was to
14     receive overpayment.                                  14          be paid on a time and material
15             A. Yes.                                       15          basis not exceeding four and
16             Q. And, actually, if we look at --            16          one-half percent of the confirmed
17                Okay. Sorry, I am trying to find           17          construction costs of the public
18     my place here. So I want to focus your attention      18          improvements to be constructed."
19     to Page 2 of this report. You are there?              19             Do you see that?
20             A. Yes.                                       20          A. Yes.
21             Q. So there is the Executive Summary          21          Q. Mr. Ray fails to identify which
22     here. And bullet point 1 says that:                   22   specific services were subject to that four and a
23               "While serving and being                    23   half percent fee cap; correct?
24             compensated as city officials,                24          A. Yes.
25             Mr. Dillon, Mr. Egger, and                    25          Q. And we can look back at Exhibit 1

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 1      if you want, but do you remember that the four and    1   April '94 contract:
 2      a half percent fee cap only applies to plan check     2             "Compensation shall be on a
 3      and inspection?                                       3          time and material basis not
 4             A. That's correct.                             4          exceeding four and one-half
 5             Q. All right. And here Mr. Ray is not          5          percent of the bid price awarded
 6      identifying which services are actually subject to    6          by the City for each project."
 7      the cap; correct?                                     7              Do you see that?
 8             A. That's correct.                             8          A. Yes.
 9             Q. He is saying that all of ULC                9          Q. Does Mr. Ray identify which
10      services are subject to a four and a half percent    10   services in that '94 agreement are subject to the
11      fee cap, and that's not true. Correct?               11   four and a half percent fee cap?
12             A. That's correct.                            12          A. No.
13                MR. DUNN: Objection; move to               13          Q. And we know looking at Exhibit 2
14      strike, calls for a legal opinion or conclusion.     14   that that four and a half percent fee cap only
15      BY MS. VANDERWEELE:                                  15   applies to construction management services as set
16             Q. And that's based simply on what the        16   forth in that contract; correct?
17      contract says.                                       17          A. Yes.
18             A. That's correct.                            18              MR. DUNN: Objection; move to
19                MR. DUNN: Same objection.                  19   strike, calls for a legal opinion or conclusion.
20      BY MS. VANDERWEELE:                                  20   BY MS. VANDERWEELE:
21             Q. All right. He also talks about the         21          Q. Again, based on the plain language
22      April '94 contract. Do you see that in the --        22   of that document we looked at; true?
23             A. Yes.                                       23          A. Yes.
24             Q. -- the bottom?                             24              MR. DUNN: Move to strike. Same
25                Mr. Ray says that pursuant to the          25   objection.

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                                                                                                 EXHIBIT 22
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 1      BY MS. VANDERWEELE:                                   1          certain services that were not
 2             Q. So here based -- you have reviewed          2          limited to the four and a half
 3      Mr. Ray's report?                                     3          percent cap described above for
 4             A. Yes.                                        4          the capital improvement work."
 5             Q. Anywhere in Mr. Ray's report, does          5              Do you see that?
 6      he distinguish which services provided by Urban       6          A. Yes.
 7      Logic are subject to a four and a half percent fee    7          Q. Does Mr. Ray say which services are
 8      cap?                                                  8   not subject to the cap?
 9             A. No.                                         9          A. No.
10             Q. And do you believe based on your           10              MR. DUNN: Objection; the document
11      review of this document that Mr. Ray's failure to    11   speaks for itself. Move to strike.
12      take into account that only specific services were   12   BY MS. VANDERWEELE:
13      subject to a fee cap affects the calculations that   13          Q. And the next sentence reads:
14      he makes here?                                       14             "For purposes of a damage
15             A. Yes, I do.                                 15          calculation, Hemming is
16                 MR. DUNN: Objection; move to              16          estimating that approximately 25
17      strike, lacks foundation.                            17          percent of the funds paid to ULC
18      BY MS. VANDERWEELE:                                  18          from the City of Beaumont were
19             Q. So if we look to Page 3, second            19          not subject to the four and a
20      bullet point.                                        20          half percent cap."
21             A. Okay.                                      21              Do you see that?
22             Q. I am going to read it into the             22          A. Yes.
23      record. It says:                                     23          Q. So Mr. Ray and Hemming Morse, his
24                "It is noted that ULC and its              24   firm, is estimating that approximately 75 percent
25             owners were compensated for                   25   of the work done by ULC was subject to a four and

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 1     a half percent fee cap. Do you understand that?        1           A. Not really.
 2            A. Yes.                                         2           Q. The top bullet point on this
 3            Q. Do you agree based on your                   3   Page 3, it talks about payments from both the City
 4     knowledge of all of the work that Urban Logic did      4   of Beaumont and the Bond Trustee that were made to
 5     that 75 percent of the work that they provided for     5   Urban Logic. Do you see that?
 6     the City of Beaumont was work that was subject to      6           A. Yes.
 7     a four and a half percent fee cap?                     7           Q. The Bond Trustee, is that
 8            A. No.                                          8   Union Bank?
 9            Q. And why do you say that?                     9           A. Yes.
10            A. Because there was different                 10           Q. And so money that was paid to Urban
11     categories of work. There was work for others.        11   Logic from the Bond Trustee, is that money paid by
12     We did a lot of work for the water district. Not      12   Beaumont Financing Authority?
13     we, but the city did, through Urban Logic and that    13           A. Yes.
14     wasn't subject to it. There was work for the park     14           Q. Okay. Beaumont Financing
15     district that wasn't subject to it. There was         15   Authority, is that a separate entity from the City
16     work done for the library district that wasn't        16   of Beaumont?
17     subject to. There was work done for the school        17           A. Yes.
18     district that wasn't subject to it. There was         18           Q. So anywhere where it states that
19     work done for private individuals that wasn't         19   it's -- Urban Logic was receiving Bond Trustee
20     subject to it that was part of Public Works.          20   funds or payment from the Bond Trustee, that would
21            Q. And you've reviewed this report,            21   be referring to money paid by Beaumont Financing
22     and anywhere do you see where Mr. Ray provides an     22   Authority?
23     explanation for his assumption that 75 percent of     23           A. Yes.
24     Urban Logic's work was subject to a four and a        24           Q. And that's different from the
25     half percent cap?                                     25   moneys paid to Urban Logic by the City of


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                                                                                                 EXHIBIT 22
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 1     Beaumont. Do I understand that correctly?             1   Logic contract section.
 2             A. Yes.                                       2              MR. DUNN: I found it. Thank you.
 3             Q. If you could turn to Page 6,               3   BY MS. VANDERWEELE:
 4     please. I am going to direct your attention to        4          Q. Yep. So Mr. Ray states:
 5     the second paragraph under the heading Urban Logic    5             "In addition ULC was to
 6     Contracts with Beaumont.                              6          provide Public Works and
 7             A. Okay.                                      7          Engineering Services as detailed
 8             Q. And in the second paragraph in the         8          in the agreement. For these
 9     middle there is a sentence that starts "In            9          services ULC was to be paid on a
10     addition."                                           10          time and materials basis not
11             A. Okay.                                     11          exceeding four and one-half
12             Q. Are you with me? It says "In              12          percent of the confirmed
13     addition ULC was to provide Public Works." You       13          construction cost of the public
14     are almost there.                                    14          improvements to be constructed."
15             A. Yeah, I think so. Hold on.                15              Do you see that?
16             Q. Okay.                                     16          A. Yes.
17             A. Got it.                                   17          Q. All right. Is Mr. Ray correct that
18             Q. So I am going to read what Mr. Ray        18   engineering services were subject to a four and a
19     says in his report and then I am going to have a     19   half percent fee cap?
20     question for you.                                    20          A. No.
21               MR. DUNN: And, I'm sorry, counsel,         21          Q. So he has got this wrong?
22     this is Bates 3969?                                  22              MR. DUNN: Objection; move to
23               MS. VANDERWEELE: Correct. And I            23   strike, calls for a legal opinion or conclusion.
24     am looking at the -- essentially the second          24   BY MS. VANDERWEELE:
25     paragraph of the second paragraph in the Urban       25          Q. And actually, let's talk about

                                             Page 188                                                 Page 189
 1      this. Anywhere in those, Exhibit 1 and 2, those      1          A. Yes.
 2      are the two contracts that we -- that we were        2          Q. And would you discuss the contents
 3      talking about at the beginning of the deposition,    3   of those contracts?
 4      those contracts set forth the four and a half        4          A. Yes.
 5      percent fee cap for certain services provided by     5          Q. And based on your discussion with
 6      ULC.                                                 6   your fellow City Council members about the Urban
 7             A. Yes.                                       7   Logic contracts, do you believe that everyone on
 8             Q. Anywhere in those contracts did you        8   City Council understood that only
 9      see anything that stated that the engineering        9   plan check/inspection and construction management
10      services that Urban Logic was providing were        10   services provided by Urban Logic would be subject
11      capped at four and a half percent of the total      11   to that four and a half percent fee cap?
12      project cost?                                       12          A. Yes.
13             A. No.                                       13              MR. DUNN: Objection; move to
14                MR. DUNN: Objection; move to              14   strike, calls for speculation, lacks foundation.
15      strike, calls for a legal opinion or conclusion.    15   BY MS. VANDERWEELE:
16      BY MS. VANDERWEELE:                                 16          Q. Okay. If you can turn to Page 16,
17             Q. And when you were on City Council,        17   please. At the bottom of Page 16 and going on to
18      did you understand that the engineering services    18   Page 17 this part of the report talks about the
19      and those other highly technical services that      19   amount received by ULC. And Mr. Ray states that:
20      Urban Logic was providing were not subject to the   20             "The amount received by ULC
21      four and a half percent fee cap?                    21          far exceeds the required four and
22             A. Yes.                                      22          a half percent fee cap."
23             Q. During the annual reviews of the          23              Do you see that at the bottom of
24      city's contracts with its contractors, the City     24   Page 16?
25      Council would review Urban Logic's contract?        25          A. Yes.


                                                                            48 (Pages 186 to 189)




                                                                                               EXHIBIT 22
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 1            Q. Okay. If we now then turn to                1          A. Because in my personal experience
 2     the -- his discussion on Page 17, am I correct        2   doing construction management and all the projects
 3     that Mr. Ray's calculation fails to distinguish       3   that had to be done, they provided a good product
 4     between services such as project -- strike that.      4   for a reasonable price. And that's why the
 5                Does Mr. Ray's calculation here            5   Council approved it.
 6     fail to distinguish between the                       6          Q. If -- we will get there.
 7     plan check/inspection and construction management     7               We also looked at -- let's see. So
 8     services that were subject to the four and a half     8   you had an opportunity to review this report and I
 9     percent fee cap?                                      9   have pointed your attention to a few things. Is
10            A. Yes.                                       10   there anything else in this report done by Mr. Ray
11            Q. Anywhere does he parse out those           11   that -- that you disagree with?
12     specific services as being subject to the fee cap?   12          A. He made a lot of assumptions on how
13            A. No.                                        13   much income they made during years and he put a
14            Q. Fair to say based on your review of        14   lot of amounts in there that basically was during
15     this report that Mr. Ray fails to appreciate the     15   the economic downturn after 2007, 2008 to 2009 and
16     substantial amount of work that was done by Urban    16   didn't take into factor all the other work they
17     Logic in which they provided services that were      17   did or had done for other agencies. They were
18     not subject to a fee cap?                            18   working for other cities after and doing work and
19                MR. DUNN: Objection.                      19   stuff so...
20                THE WITNESS: Yes.                         20          Q. And so if we look at Page 9, this
21                MR. DUNN: Move to strike, it's            21   is the part where Mr. Ray has a chart that
22     argumentative, lacks foundation, it calls for        22   discusses reported wages on federal returns and
23     speculation.                                         23   certain amounts were imputed by Mr. Ray. And
24     BY MS. VANDERWEELE:                                  24   those amounts are red. Unfortunately they don't
25            Q. And why do you say that?                   25   show up as red on this document. But have you had

                                             Page 192                                                  Page 193
 1      the chance to review an actual color copy of this    1              MR. DUNN: Counsel, you have to
 2      report?                                              2   show it to all counsel. You have to show it to
 3             A. Yes.                                       3   me.
 4             Q. And I am going to have -- Angela           4              Thank you.
 5      has pulled this up on her laptop. And I am going     5              MS. VANDERWEELE: Of course.
 6      to show you a pdf of Page 9 of Mr. Ray's report      6              MR. DUNN: Okay. Thank you. I am
 7      that's colored.                                      7   going to hand your laptop back to you.
 8                MR. DUNN: Counsel, you are going           8   BY MS. VANDERWEELE:
 9      to have to put this in the record.                   9          Q. So I am going to show you this
10                MS. VANDERWEELE: Sure, I am going         10   again and just so we've got a clear transcript I'm
11      to send the color copy to the court reporter.       11   showing you what we've marked as Exhibit 29 which
12                MR. DUNN: Okay. You are going to          12   is a color version of Page 9 of Mr. Ray's report.
13      have to identify it as an exhibit now.              13              MR. DUNN: Well, let's just be
14                MS. VANDERWEELE: Okay. So I am            14   clear for the record. You don't have an exhibit
15      going to identify Page 9 of Mr. Ray's report as     15   to mark as Exhibit 29. So you are just going to
16      Exhibit --                                          16   have to refer to this. It's not an exhibit.
17                MS. LEWOSZ: 29.                           17              MS. VANDERWEELE: Understood.
18                MS. VANDERWEELE: -- 29.                   18   BY MS. VANDERWEELE:
19             (Exhibit No. 29 was marked for               19          Q. So I am going to refer to the color
20             identification and is attached               20   copy Page 9 of Mr. Ray's report that's in front of
21             hereto.)                                     21   you; correct?
22      BY MS. VANDERWEELE:                                 22          A. Yes.
23             Q. So looking at this, is what I have        23          Q. You have seen this before.
24      shown you as Exhibit 29 a color copy version of     24          A. Yes.
25      Page 9 of Mr. Ray's report?                         25          Q. You have reviewed it; correct?


                                                                            49 (Pages 190 to 193)




                                                                                                EXHIBIT 22
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 1            A. Yes.                                        1   with are the amounts in red?
 2            Q. And tell me -- you were starting to         2          A. Yes.
 3     describe for us what you disagreed with in terms      3          Q. Okay. I think we are done here.
 4     of what Mr. Ray has done here. And if you could       4              Fair to say based on your review of
 5     just explain that for us.                             5   Mr. Ray's report, you disagree with his
 6            A. Well, he made assumptions to how            6   calculations here?
 7     much income people made. And we were going            7          A. Yes.
 8     through an economic downturn during a couple or       8          Q. Do you believe that they are based
 9     several of those years and some of them there he      9   on faulty assumptions?
10     made assumptions, you know, earlier that they made   10          A. Yes.
11     a lot of money, that -- well, 2003, he said that     11              MR. DUNN: Objection; move to
12     the -- Dillon and Egger made the same amount that    12   strike, lacks foundation.
13     Dee Moorjani did. We don't know. I mean we don't     13   BY MS. VANDERWEELE:
14     have assumption here and a lot of them is just       14          Q. And why do you believe that?
15     it's based on -- on speculation. There are three     15          A. Because in my own -- in my
16     different individuals and they earn money            16   professional opinion, I have the same education as
17     differently.                                         17   Mr. Ray, I have done some of the same work, same
18               MR. DUNN: Objection; move to               18   accounting class elective in college, and I use to
19     strike for lack of foundation, calls for             19   do the same work and I have a construction
20     speculation as to what Mr. Ray was thinking or       20   experience on here that Mr. Ray doesn't -- doesn't
21     knew.                                                21   show any of that that he has ever actually audited
22     BY MS. VANDERWEELE:                                  22   or looked through construction contracts and
23            Q. And the years that you take issue          23   engineering contract to see what the costs were
24     with, are those -- or strike that.                   24   and how you apply them. So I think there is some
25               The amounts that you take issue            25   fault there. He should have got more information,

                                             Page 196                                                  Page 197
 1     maybe spoke to some other individuals, maybe the      1   document before?
 2     Council members that worked on it. But there was      2           A. Yes.
 3     no indication from that in this report. It's          3           Q. This, for the record, is a -- dated
 4     basically based on numbers that he got from a         4   November 3, 2016. I guess I should back up. It's
 5     different source.                                     5   Bates stamped BEAUAIG3737 through 3751. And this
 6            Q. Okay.                                       6   is a letter on the Stradling Law Firm letterhead
 7                MR. DUNN: Objection; move to               7   directed to Judith D. Blake at AIG dated
 8     strike, improper layperson opinion, certainly         8   November 3, 2016. Do you see that?
 9     lacks foundation, speculation.                        9           A. Yes.
10     BY MS. VANDERWEELE:                                  10           Q. And as stated in the first two
11            Q. And your basis for the opinion             11   pages of this document, this is documentation
12     that -- that you disagree with Mr. Ray's report,     12   that's being submitted by the lawyers on behalf of
13     that's based on your decades of experience in        13   the City of Beaumont to AIG for an insurance claim
14     construction management and reviewing all the work   14   that the city is making; correct?
15     that Urban Logic did; correct?                       15           A. Yes.
16            A. Yes.                                       16           Q. The city is claiming that it
17                MR. DUNN: Objection; calls for            17   suffered a loss that it believes is recoverable
18     improper layperson opinion.                          18   under certain policies.
19                MS. VANDERWEELE: All right. We            19              MR. DUNN: Objection.
20     are going to move to Exhibit 21, please.             20   BY MS. VANDERWEELE:
21            (Exhibit No. 21 was marked for                21           Q. Do you see that stated here in the
22            identification and is attached                22   first paragraph?
23            hereto.)                                      23           A. Yes.
24     BY MS. VANDERWEELE:                                  24              MR. DUNN: Objection; move to
25            Q. All right. Have you seen this              25   strike. Lacks foundation.


                                                                             50 (Pages 194 to 197)




                                                                                                EXHIBIT 22
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                                              Page 198                                                Page 199
 1      BY MS. VANDERWEELE:                                  1          Q. Okay. And then when you review
 2             Q. Okay. And that's simply what's             2   this document, these documents go on to explain
 3      stated here in the document; correct?                3   what the city is claiming as loss; right?
 4             A. Yes.                                       4          A. Yes.
 5                 MR. DUNN: Same objection.                 5              MR. DUNN: Objection; move to
 6      BY MS. VANDERWEELE:                                  6   strike, lacks foundation.
 7             Q. And you understand that after              7   BY MS. VANDERWEELE:
 8      reviewing these; correct?                            8          Q. I want to direct your attention to
 9             A. Yes.                                       9   Page 10, please.
10                 MR. DUNN: Objection; move to             10          A. Okay.
11      strike, lacks foundation.                           11          Q. This section is titled The City's
12      BY MS. VANDERWEELE:                                 12   Losses. And if we look at the second paragraph
13             Q. The document says in the second           13   where it starts "The city," do you see that?
14      sentence:                                           14          A. Yes.
15                "Beaumont provides the                    15          Q. I am going to read what it says and
16             enclosed Proof of Loss and                   16   then I have questions for you. So here it says:
17             Addendum A, collectively the                 17             "The city has at least
18             Proof of Loss, encompassing                  18          $42,994,879 plus interest in
19             losses that the insured has                  19          losses related to the former
20             suffered as a result of unlawful             20          employee scheme to evade the
21             activities of at least seven                 21          city's obligations to pay fees to
22             former employees of Beaumont."               22          the Western Riverside Council of
23                 And I am referring to what's here        23          Governments, WRCOG, as part of
24      on the first page. Do you see that?                 24          the transportation uniform
25             A. Okay. Yes.                                25          mitigation fee, TUMF, program,

                                              Page 200                                                Page 201
 1             period."                                      1          A. Yes.
 2                 Well, there is a colon but I am           2          Q. And even before 2009 when you were
 3      going to end the quote there. Do you see that?       3   on City Council, did you understand that Western
 4             A. Yes.                                       4   Riverside Council of Governments through various
 5             Q. Do you understand that Western             5   letters and communications between WRCOG and the
 6      Riverside Council of Governments filed an action     6   city was claiming that the city had unremitted
 7      against the City of Beaumont to recover what they    7   TUMF fees?
 8      claimed were unremitted TUMF fees?                   8          A. Yes.
 9             A. Yes.                                       9          Q. Did the city have unremitted TUMF
10             Q. And it's my understanding that in         10   fees?
11      2009 is when that action was filed by WRCOG.        11          A. No.
12      Correct? And you --                                 12          Q. Can you explain that for me?
13             A. Yes.                                      13          A. Because when they started --
14                 MR. DUNN: Objection; move to             14              MR. DUNN: I'm sorry. Move to
15      strike, lacks foundation.                           15   strike, lacks foundation, calls for a legal
16      BY MS. VANDERWEELE:                                 16   opinion or conclusion. But I am interested in
17             Q. You were on City Council in 2009?         17   hearing the answer to this one.
18             A. Yes.                                      18              MS. VANDERWEELE: Me too.
19             Q. I take it the City Council was            19              MR. DUNN: Go ahead.
20      apprised of litigation against the city?            20              THE WITNESS: All right. Prior to
21             A. Yes.                                      21   Beaumont entering into agreeing to the -- and
22             Q. And you understood that Western           22   modifying the ordinance for the TUMPF ordinance,
23      Riverside Council of Governments had filed an       23   we had several discussions at WRCOG and in fact
24      action against the City of Beaumont to recover      24   some of those discussions were road and bridge
25      what it claimed were unremitted TUMF fees?          25   benefit districts and prior permits -- or prior


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 1     project agreements we had with developers. This       1          A. From WRCOG. Our ordinance stated,
 2     is down in the City of Temecula, Murrieta, Corona.    2   you know, we had the facility. Because we cannot
 3     And, in fact, Steve DeBaun who was the counsel for    3   take the money outside the City of Beaumont, these
 4     WRCOG was there and I asked him pointblank, I says    4   developers through the CFD93, that money was a
 5     well, Beaumont has, you know, transferred -- our      5   direct Nexus study -- had to stay within the city
 6     CFD93-1, it is comprehensive throughout the whole     6   of money (sic) to build the facilities there. It
 7     city. And they agreed that, yes, we can work with     7   couldn't be sent to Corona, to Temecula, other
 8     you on that and make it work in the TUMF. We were     8   places. So we had to work with what was there.
 9     the last city to join the TUMF program.               9             We did send money that was not part
10                Until we got a guarantee that this        10   of CFD93 to be collected from developers or
11     was going to work, they were going to work with      11   homebuilders to WRCOG. I sent -- I paid money
12     us, we got the county supervisor, Aaron Ashley       12   that went into WRCOG for the home I built. And we
13     (verbatim), agreed it was going to work with us on   13   had no problem with that. And I know we -- we
14     it. After we were in the program, TUMF was coming    14   constantly had meetings and we come out and give
15     out and putting their sign up on all the road        15   presentations trying to work with WRCOG to come up
16     projects we had done, calling up the parties         16   with a solution. Several times there were some
17     saying -- and praising to the TUMF communicator      17   discussions on settling this and making it work.
18     how Beaumont has built all these TUMF facilities     18   But it never, never went to attrition.
19     and they are moving along and getting them done,     19          Q. And the WRCOG's claim that the city
20     the first ones to get them done.                     20   owed TUMF fees, any money that was collected by
21                We had no problems really, minor          21   the City of Beaumont that WRCOG characterizes as
22     things, until the economy fell out in 2007. Then     22   unremitted TUMF fees, was that money spent on
23     all of a sudden here comes request for money.        23   TUMF-related facilities?
24     BY MS. VANDERWEELE:                                  24          A. Yes.
25            Q. From WRCOG?                                25          Q. There is no missing $43 million

                                             Page 204                                                  Page 205
 1     somewhere?                                            1   just before the election. It was about October I
 2             A. No. The facilities were built, the         2   think or something like that.
 3     facilities are being used and, in fact, like I        3          Q. And then that judgment was appealed
 4     said, they were praising them, Valley Parkway,        4   by the city?
 5     Supervisor Ashley came down. He was so excited        5          A. Yes. The city immediately appealed
 6     that we built these bike lanes, he said the county    6   it and the new City Council continued the appeal
 7     should finish them up and go along with it.           7   when they came on. I don't know why they dropped
 8     Everyone there was excited about the facilities we    8   the appeal.
 9     built.                                                9          Q. Okay. That --
10             Q. When you say everyone was excited,        10          A. It was appealed.
11     are you referring to WRCOG?                          11          Q. And there was ultimately a
12             A. The WRCOG. The director and               12   settlement.
13     Ruthann Burger Taylor (sic) was there, yeah.         13          A. Yeah.
14             Q. Were any TUMF funds collected -- or       14          Q. And how do you know that?
15     strike that.                                         15          A. It was in the paper and they
16                Okay. And now I want to turn --           16   actually made a press release about it. Their
17     or, actually, sorry, sticking on the same topic,     17   settlement, yeah.
18     the lawsuit, the action that was filed by WRCOG      18          Q. So in this Proof of -- or strike
19     against the city, it's my understanding that there   19   that.
20     was a judgment entered in favor of WRCOG in 2014?    20             In this document here that is
21             A. Yes.                                      21   Exhibit 21 where it says that:
22             Q. And I believe that was in I want to       22            "The city has at least --"
23     say June of 2014. Does that sound about right to     23             And I am going to round this up to
24     you?                                                 24   43 million. It says (as read):
25             A. June or right -- just -- it was           25            "The city has at least $43


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                                                                                                EXHIBIT 22
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 1            million plus interest in losses                1   We wanted all the facilities built ahead of time
 2            related to the former employee                 2   so when the new homeowners came in and the new
 3            scheme to evade the city's                     3   businesses came in, they had the roads and the
 4            obligation to pay fees to WRCOG                4   services to meet their needs and they wouldn't
 5            as part of the TUMF program."                  5   have to be waiting for a refund from some other
 6                Do you agree with that?                    6   agency or somebody to build it. We wanted it done
 7            A. No.                                         7   ahead of time. It was an entirely different way
 8            Q. And why is that?                            8   of doing things. We were thinking outbox.
 9            A. Because it wasn't a scheme. We              9          Q. I want to now direct your attention
10     hired -- I started working on this back in 1985.     10   to Page 11, please. And focusing on the first
11     I was on the City Council with Robert Bowser. He     11   paragraph, I am going to read what is written and
12     was the first city manager that hired them and       12   then I am going to have some questions for you.
13     then I got off and I got back on the Council         13   So in this first paragraph it states:
14     because they were doing this CFD93-1. We wanted      14             "The city believes these
15     to build the facilities. It was the City Council     15          payments were -- strike that.
16     that made the decision to hire them. It was the      16          Let me actually back up.
17     City Council that made the decision to enter into    17              So the top of this page in bold,
18     CFD93-1 to build the facilities that were needed     18   the section says that the:
19     in the City of Beaumont so we could manage the       19             "Kapanicas administration
20     growth.                                              20          self-dealing resulted in payment
21                The problem we had as in the past         21          to Urban Logic and others of
22     you would have half streets built, sewer plants      22          exorbitant sums related to major
23     not completed, parks -- we get to the forty-ninth    23          city projects."
24     house and then the developers were supposed to put   24              Kapanicas was the city manager?
25     the park and they don't build it, they walk away.    25          A. During part of this time.

                                             Page 208                                                  Page 209
 1            Q. Okay. All right. And the                    1   City of Beaumont money?
 2      paragraph that is stated here states that:           2          A. Yes.
 3               "Urban Logic functioned as                  3          Q. And then this paragraph goes on to
 4            the city's long-term planning                  4   state that:
 5            engineer and economic development              5             "The city believes these
 6            consultant and its principals                  6          payments were grossly inflated
 7            also served as city officials."                7          and made pursuant to a fraudulent
 8                And we kind of talked about that           8          embezzlement scheme beyond the
 9      already today; right?                                9          TUMF scheme outlined above
10            A. Yes.                                       10          including whereby Urban Logic
11            Q. This paragraph goes on to state            11          routinely submitted false
12      that:                                               12          invoices that were approved by
13               "The city has identified                   13          the Kapanicas administration."
14            approximately $86 million paid                14              Did I read that correctly?
15            directly to Urban Logic                       15          A. Yes.
16            reportedly for professional                   16          Q. Do you agree with that?
17            services from both the city's                 17          A. No.
18            bond proceeds and the city's                  18          Q. And why is that?
19            general fund."                                19          A. Well, first of all, there were four
20                Do you see that?                          20   different city managers that worked under this
21            A. Yes.                                       21   CFD93-1. Bob Bounds, Dale Keller, Patrick Smith,
22            Q. The bond proceeds, that's Beaumont         22   acting city manager, used to be -- was a chief of
23      Financing Authority's money?                        23   police, and then finally Alan Kapanicas. And once
24            A. Yes.                                       24   again, it was the City Council, many City
25            Q. And the city's general fund, that's        25   Councils -- over 20 people on the City Council I


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                                                                                               EXHIBIT 22
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 1     can remember -- decided this was the best path for    1         Q. Do you believe based on all of that
 2     the City of Beaumont to go forward to deal with       2   that Urban Logic was submitting grossly inflated
 3     this development and to get it done in a timely       3   invoices?
 4     fashion.                                              4         A. No.
 5            Q. When you were on the City Council           5         Q. Do you believe that Urban Logic was
 6     and reviewing the invoices and the work that was      6   submitting false invoices that were approved by
 7     done by Urban Logic -- well, strike that.             7   the City Council while you were on the City
 8               Everything that we -- we have               8   Council?
 9     talked about how you reviewed invoicing from Urban    9         A. No.
10     Logic while you were on City Council; correct?       10         Q. And if we turn to the next page,
11            A. Yes.                                       11   Page 12, it states:
12            Q. And given your review of the plans         12            "The city believes that Urban
13     and specifications for work that Urban Logic did,    13         Logic grossly overcharged for its
14     you knew the type of work that Urban Logic would     14         services by inflating the total
15     be providing for the city; correct?                  15         cost of the projects upon which
16            A. Yes.                                       16         they provided services."
17            Q. And did you also have knowledge            17             Do you see that?
18     based on your construction management expertise      18         A. Yes.
19     about the actual work that Urban Logic was doing?    19         Q. And when you were on City Council
20            A. Yes.                                       20   you would review the plans and specifications and
21            Q. And you have told us earlier that          21   budgets for all the Public Works projects that
22     you went out and actually went to some of the        22   were going to be done.
23     construction sites where Urban Logic was providing   23         A. Yes.
24     services for the city; correct?                      24         Q. Do you believe that any of the
25            A. Yes.                                       25   projects, the costs for those projects were

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 1     inflated by Urban Logic?                              1               EXAMINATION
 2            A. No.                                         2   BY MR. DUNN:
 3            Q. So any claim that Urban Logic was           3          Q. Hi, Mr. Berg, my name is Jeffrey
 4     grossly overcharging for its services you would       4   Dunn. I am counsel for Western Riverside Council
 5     disagree with that; correct?                          5   of Governments. It's my opportunity now to ask
 6            A. Yes.                                        6   you some questions. I am going to go back over
 7            Q. And any claim that the city has a           7   some of the exhibits that you have covered today
 8     loss related to former employees' scheme to evade     8   and then I will show you one or more additional
 9     the city's obligations to pay TUMF fees to WRCOG,     9   documents.
10     I take it you would disagree with that as well?      10             But first let me ask you, have you
11            A. Yes.                                       11   ever been deposed before?
12                MS. VANDERWEELE: Okay. We are             12          A. Yes.
13     going to take a quick break.                         13          Q. Okay. How many times?
14                MR. DUNN: Sounds good.                    14          A. Probably three times.
15                VIDEOGRAPHER: Off the record. The         15          Q. Were any of the times that you were
16     time is 12:48 p.m.                                   16   deposed in connection with your involvement with
17            (Whereupon, a recess was held from            17   the city?
18            12:48 p.m. to 12:54 p.m.)                     18          A. I don't believe so.
19                VIDEOGRAPHER: On the record. The          19          Q. Okay. When was the last time you
20     time is 12:54 p.m.                                   20   were deposed?
21                MS. VANDERWEELE: Mr. Berg, I don't        21          A. Probably around 2000.
22     have any more questions for you at this time.        22          Q. So it's been about 20 -- or more
23     Thank you.                                           23   than 20 years ago?
24     ///                                                  24          A. Yeah. Maybe 2005. I am not too
25     ///                                                  25   sure.

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 1             Q. Did it have anything to do with             1          A. I may have had one before that.
 2      either Mr. Dillon, Mr. Egger, Mr. Moorjani, or        2          Q. Okay. And when was that?
 3      Mr. Kapanicas?                                        3          A. I think it was initial phone call,
 4             A. No.                                         4   she was actually looking for someone else and I
 5             Q. Have you ever testified at trial?           5   answered the phone.
 6             A. Yes.                                        6          Q. Who were they looking for?
 7             Q. How many times?                             7          A. Larry Dressel. They got the
 8             A. Once.                                       8   numbers mixed up so...
 9             Q. Was it in connection with your              9          Q. Oh, I see. So they were looking
10      being a member of the City Council?                  10   for Larry Dressel and they found you?
11             A. No. It was in connection with my           11          A. Yeah.
12      employment with the Army Corps of Engineers.         12          Q. And was that counsel here today?
13             Q. The Exhibit 23 in that booklet that        13          A. Yeah.
14      you have before you, could you please turn to        14          Q. And who is that?
15      that? This is the one that's bio information.        15          A. Meagan.
16             A. Okay.                                      16          Q. Okay. And how long did that phone
17             Q. Who asked you to prepare that?             17   call last?
18             A. The defense counsel.                       18          A. 30 minutes maybe. I don't
19             Q. Okay. When did they ask you to do          19   remember.
20      that?                                                20          Q. And how did counsel introduce
21             A. A couple weeks ago.                        21   herself to you?
22             Q. And was it by phone call?                  22          A. She introduced to me as the counsel
23             A. Yes.                                       23   who was defending the insurance claim.
24             Q. Okay. And was that the first               24          Q. Was it represented to you that she
25      contact you have had with defense counsel?           25   was representing the insurance company for the

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 1      city?                                                 1   currently --
 2             A. No. Well, yes. Okay. Yes.                   2          A. No.
 3             Q. Tell me what was said.                      3          Q. -- insuring the city?
 4             A. Just told me there was a claim put          4          A. No.
 5      in and that she wanted to talk to former Council      5          Q. Okay. What else did you discuss in
 6      members and I said sure, I will be glad to talk to    6   that call?
 7      you.                                                  7          A. Just wanted to see if I was willing
 8             Q. Tell me in particular what was said         8   to do a deposition and --
 9      about being the insurance company for the city.       9          Q. What did --
10             A. It was the one that does the --            10          A. Okay.
11      what do they call it? -- amount above and            11          Q. And what did you say?
12      beyond -- I don't know, just --                      12          A. I said yes.
13             Q. Was it -- I'm sorry, I didn't mean         13          Q. And why were you willing to give a
14      to cut you off.                                      14   deposition?
15             A. It's one of the insurance companies        15          A. Because I have no problem telling
16      saying they had a claim put in. Okay?                16   the truth of what I know. So if I am asked
17             Q. Was it represented to you that she         17   something, I am willing to -- I have got time to
18      was representing the insurance company currently     18   do that and I want to help wherever I can.
19      for the city?                                        19          Q. And you said that conversation
20             A. It was represented that the                20   lasted about 30 minutes?
21      insurance -- I don't know, I mean the insurance      21          A. Yes.
22      company that handles the insurance on the claim.     22          Q. And in addition to asking you to
23             Q. Was that your understanding at the         23   prepare the bio, what in particular did she ask
24      time that she was contacting you as a                24   for in the bio?
25      representative or lawyer for the insurance company   25          A. She wanted to know my experience

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 1      and education.                                       1   yesterday, yeah.
 2             Q. Did she tell you why?                      2          Q. So your answer no should be a yes?
 3             A. No. I'd like to know that, please.         3          A. Yes.
 4             Q. Did she tell you anything that she         4          Q. So you met yesterday. Who did you
 5      would be covering in the deposition?                 5   meet with?
 6             A. I was given a copy of this binder          6          A. I met with Meagan and her --
 7      later to review and said these are the documents     7             MS. LEWOSZ: Angela.
 8      that I will be presenting.                           8             THE WITNESS: Angela, yes, I'm
 9             Q. When were you given that binder?           9   sorry.
10             A. Last week.                                10   BY MR. DUNN:
11             Q. Okay. And did you review all those        11          Q. And for how long did you meet?
12      documents at her request?                           12          A. About two and a half hours I think.
13             A. I reviewed them.                          13          Q. And did you go over some of the
14             Q. All of them?                              14   questions that were asked to you today?
15             A. Yes.                                      15          A. No.
16             Q. How many -- how many conversations        16          Q. Did you go over some of the
17      have you had with counsel for the insurance         17   subjects that were asked about today?
18      company leading up till -- leading up to today's    18          A. We went over the exhibits and
19      deposition?                                         19   things just so I'd understand what was going to
20             A. I think three.                            20   be -- what this was about.
21             Q. In addition to those three                21          Q. In other words, in your mind you
22      conversations, have you had any meetings?           22   were being prepared for this deposition today;
23             A. No.                                       23   correct?
24             Q. Did you meet yesterday?                   24          A. I don't know about being
25             A. Yes. I think -- yeah, I had met           25   prepared --

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 1               MS. VANDERWEELE: Object to the              1          A. We just went over the claim.
 2     form of the question.                                 2          Q. Did you go over the claim in your
 3               You can answer.                             3   previous conversations in meetings with counsel
 4     BY MR. DUNN:                                          4   here?
 5           Q. You can go ahead and answer.                 5          A. We went over the fact of the claim,
 6           A. I don't know about being prepared.           6   that's what they're -- what they are going with,
 7     I was given information so I can be well --           7   what they are claiming, yeah.
 8           Q. Prepared?                                    8          Q. And you don't agree with that
 9           A. -- prepared. I mean, I want to be            9   claim, do you?
10     prepared because I want to know ahead of time what   10          A. No.
11     I am doing. This is, you know, 22 years. And I       11          Q. And you communicated that to
12     am like I may have had some questions on things      12   counsel for the insurance company; correct?
13     myself.                                              13          A. And to you, yes.
14           Q. Did you understand that this is a           14          Q. To me now. Just now.
15     lawsuit between -- did you understand the lawsuit?   15          A. In the deposition earlier. In
16           A. Yes.                                        16   discussion -- in our earlier testimony I
17           Q. And how did you have that                   17   reiterated that I did not agree with the claim.
18     understanding?                                       18          Q. I think it's fair to say, Mr. Berg,
19           A. I was given a letter to appear. It          19   there are a lot of things that have happened with
20     was a lawsuit in federal court.                      20   Mr. Kapanicas and Mr. Dillon and Mr. Egger and
21           Q. Okay. And do you understand what            21   Mr. Moorjani that you don't agree with. Is that a
22     the lawsuit is about?                                22   fair statement?
23           A. I assume it's an insurance claim            23             MS. VANDERWEELE: Objection to
24     and they didn't want to pay it.                      24   form.
25           Q. Do you know what the claim is?              25

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 1      BY MR. DUNN:                                          1   facilities were built and I had no problem with
 2             Q. You can go ahead and answer.                2   any of it.
 3             A. Do I agree with what happened? No,          3           Q. And what else?
 4      okay, because I don't think all the information       4           A. That's about it.
 5      was provided, but I am here just -- I am asked        5           Q. Okay. And at that point you were
 6      questions, I am going to tell what I know.            6   willing and still are willing to cooperate with
 7             Q. All right. I still want to go back          7   counsel for the insurance company; correct?
 8      to that 30-minute conversation you first had and      8              MS. VANDERWEELE: Objection to
 9      that was with which counsel, I'm sorry, that's        9   form.
10      here?                                                10              THE WITNESS: I am willing to tell
11             A. Meagan.                                    11   the truth as I know it.
12             Q. What else did you talk about? Did          12   BY MR. DUNN:
13      you talk about the bio? Talked about the lawsuit?    13           Q. Did you notify the city after you
14      Talked about the deposition? What else?              14   were contact by the insurance company?
15             A. My time on the City Council, what          15           A. No.
16      maybe I might have known, you know, how long --      16           Q. Do you think that's --
17      what did I know about the individuals and times      17           A. I am not on the City Council
18      and I said, yeah, I know this, I spent a lot of      18   anymore. It's none of their business as far as I
19      time there.                                          19   am concerned.
20             Q. What did you tell her?                     20           Q. You don't think this case has
21             A. Just basics, I have been on the            21   anything to do with the city?
22      City Council the whole time that they were -- were   22              MS. VANDERWEELE: Objection; form,
23      there and if there was other -- and we hired         23   argumentative.
24      Mr. Kapanicas, we hired ULC, we amended their        24              THE WITNESS: Hey, I am here at a
25      contract and I reviewed their work and a lot of      25   request and subpoena and I am going to try to do

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 1      the best job I can.                                   1   argumentative.
 2      BY MR. DUNN:                                          2             THE WITNESS: The city attorneys
 3             Q. Is it your position, Mr. Berg, that         3   never talked to me. I was never called as a
 4      once you left the Council, you don't have any         4   witness for the original writ of mandate, I was
 5      interest any longer in any of these matters --        5   never talked to by anyone from the other side, I
 6                 MS. VANDERWEELE: Object --                 6   wasn't talked to -- barely -- hardly talked to
 7      BY MR. DUNN:                                          7   when they did the criminal investigation. I
 8             Q. -- involving the city, Mr. Dillon,          8   didn't get a whole lot of information. I had one
 9      Egger, Moorjani, and Mr. Kapanicas?                   9   interview with them and --
10                 MS. VANDERWEELE: Sorry.                   10   BY MR. DUNN:
11      Objection; argumentative.                            11          Q. Which --
12                 THE WITNESS: I have -- I love my          12             MS. VANDERWEELE: Hold on, you have
13      town where I live. I have lived there all my         13   to let him finish.
14      life. I wouldn't do anything to harm it. On the      14             MR. DUNN: I'm sorry. You are
15      same token, if somebody asks me something, I am      15   right, counsel. Thank you.
16      going to give them the truth, the truthful answer    16             THE WITNESS: I had one interview
17      the best I know how based on my experience and       17   and I decided I wasn't going to give them any more
18      what I had seen.                                     18   information after that because they had already
19      BY MR. DUNN:                                         19   talked to a lot of people. So I gave them what
20             Q. Did you decide that the truth would        20   they wanted. You know, they asked for information
21      be better coming out, your version and your          21   and I gave them what I know.
22      thinking of the truth is better -- is better         22   BY MR. DUNN:
23      talking with the insurance company than it is with   23          Q. So when you decided you weren't
24      the city's attorneys?                                24   going to give them any more information, who is
25                 MS. VANDERWEELE: Objection; form,         25   they?


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 1             A. The district attorney. I have               1   been on a jury before. I show up. I do what I am
 2      already given a report to the investigator. I         2   asked to do because that's just the way I was
 3      already gave him everything I knew and I says I am    3   taught and raised, to do the right thing and
 4      not going to talk to you anymore because I have       4   that's what I do.
 5      already given you everything I know.                  5          Q. And did you do that the entire time
 6             Q. But you are willing to talk even            6   that you were on the Beaumont City Council?
 7      before today with the insurance company; is that      7          A. Yes, I did.
 8      correct? About all this?                              8          Q. And it's always been your position,
 9                MS. VANDERWEELE: Form,                      9   has it not, that whatever was determined with
10      argumentative.                                       10   regards to Mr. Kapanicas, to Mr. Dillon, to
11                THE WITNESS: Once again, they              11   Mr. Egger, and Mr. Moorjani, you know, criminally,
12      asked me and I am willing to talk and I was given    12   you disagree with; correct?
13      a subpoena, so I have to honor that subpoena.        13          A. I am entitled to my opinion, yes, I
14      BY MR. DUNN:                                         14   disagree with what happened.
15             Q. What do you mean you have to honor         15          Q. And as you sit here today, that
16      the subpoena? What does that mean to you?            16   belief and that opinion has never changed;
17             A. That means that I believe in               17   correct?
18      obeying the laws of the United States. I worked      18          A. That's true. It hasn't changed
19      over 40 years as a government employee. I had to     19   because it's just how I feel. I think this was
20      raise my right hand and agree to follow and defend   20   more of a civil matter than a criminal matter but
21      the laws of the United States. I was seven years     21   that's beside the point. This is a civil matter
22      in the military, I had to do the same thing.         22   now. I am just giving information out the way I
23                I am a firm believer in doing what         23   know it.
24      I am asked to do. If I get a subpoena to come to     24          Q. Would you sit down and have similar
25      court, I go. If I get called as a jury, I have       25   conversations like you have had with the insurance

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 1      attorneys with the city's attorneys?                  1   hear what you had to say; right?
 2             A. City's attorneys never wanted to            2          A. Because I wanted -- in the law
 3      talk to me.                                           3   there is -- you have the trial and you have the
 4             Q. That's not my question. Would you           4   balance scales there. And I don't think the
 5      do so?                                                5   balance scales are out there and I felt I needed
 6             A. Would I do so?                              6   to give my opinion as a citizen. I am allowed to
 7             Q. Yeah.                                       7   do that. And I did that.
 8             A. Yeah, if you want to talk to me, I          8          Q. Which is why you are here today.
 9      will sit down and talk to you.                        9          A. I am here today because once again
10             Q. You feel pretty strongly about             10   I was subpoenaed and I am doing what was required
11      these matters, don't you, Mr. Berg?                  11   of me.
12             A. Sure.                                      12          Q. But that's not why you talked to
13             Q. In fact, sometimes you feel so             13   the insurance company attorneys early on, is it,
14      strongly about it you submit yourself into legal     14   you weren't required to talk to them, were you?
15      proceedings that are pending in order to have your   15          A. If I want to talk to them, that's
16      view considered; is that true?                       16   my opinion. If I want to talk to you, if you
17             A. No. That's not true.                       17   asked me to come and talk to you, I would probably
18             Q. Did you ever write a letter to the         18   come and talk to you. Anybody that's willing to
19      Superior Court of the County of Riverside to Judge   19   listen, I will talk to them. I am not biased. Is
20      Becky Dugan?                                         20   everybody perfect? No. Do people sometimes make
21             A. Yes, I did.                                21   mistakes? Yes.
22             Q. Let me show you a copy of that             22          Q. Do you think Mr. Dillon, Mr. Egger,
23      letter. You would recognize it; correct?             23   and Moorjani and Mr. Kapanicas made mistakes when
24             A. Oh, yeah, I wrote the letter.              24   they were running the city while you were a City
25             Q. Because you wanted the judge to            25   Council member? And I am talking mistakes here of


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                                                                                                 EXHIBIT 22
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 1     a very serious nature.                                 1   that correct?
 2            A. No. I don't think so.                        2          A. I don't think he ever had a
 3            Q. So there were --                             3   conflict of interest, no.
 4            A. I will say that there is things              4          Q. How about Mr. Dillon, Mr. Egger,
 5     happened with some of the bonds and stuff was made     5   and Moorjani, same question?
 6     and Mr. Kapanicas had to pay some money out on         6          A. No.
 7     that, a fine, but they weren't materially the same     7          Q. Do you think they ever did anything
 8     with the SEC. Everyone makes mistakes. I mean 20       8   illegal or criminal?
 9     plus years being in there, they are not going to       9          A. No.
10     be perfect.                                           10          Q. So as far as you are concerned, you
11            Q. You have always been a defender or          11   never would have had an opportunity to contact
12     supporter of Mr. Kapanicas; is that correct?          12   anybody about illegal conduct because you just
13            A. Not in everything, no. There are            13   didn't think it existed; correct?
14     some things I didn't agree with. But once --          14          A. No. That's totally wrong. I did
15     there was five people on that Council and             15   complain about things that I thought were not
16     sometimes I was the only one that voted against       16   right with Mr. Dillon, but...
17     things and things that happened. I didn't like        17              MS. VANDERWEELE: Are we marking
18     some of the things that went on. I didn't like        18   this as an exhibit?
19     the way it was being done. But as a Council as a      19              MR. DUNN: Yes. If we can mark
20     whole, we all agreed and we voted on it, and the      20   that next in order. Which number is this?
21     vote was -- or the majority voted on it and I went    21              MS. VANDERWEELE: 30.
22     ahead with whatever was done.                         22          (Exhibit No. 30 was marked for
23            Q. For that entire time that you were          23          identification and is attached
24     on the City Council, at no time did you ever think    24          hereto.)
25     that Mr. Kapanicas had a conflict of interest; is     25              THE WITNESS: I would like to say

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 1      something in regards to that letter you are           1          A. Yes.
 2      handing out there.                                    2          Q. Would you please take a moment and
 3                 MR. BERG: Sure.                            3   just review this? I don't want to rush you.
 4                 THE WITNESS: I came to the court           4          A. Now, did I take things from other
 5      several times during the preliminary hearings and     5   people and put it in this letter? Yes. I wrote
 6      everything else and people from the press are         6   the letter though. I might have put stuff in
 7      categorizing me as a character witness. I wasn't      7   there. Did I make it perfect all the way? I
 8      down there -- I was waiting to give testimony         8   don't know. I am not going to read this whole
 9      needed at trial as to what I knew. That's what I      9   thing because it has nothing to do with what I am
10      come down there for. I was on a witness list. I      10   talking about here, I don't think.
11      was on a witness list for the writ of mandate, but   11          Q. No, I just want to ask you if this
12      I was never called as a witness.                     12   is the letter that you wrote.
13      BY MR. DUNN:                                         13          A. Yeah, it's the letter.
14             Q. Do you know why?                           14          Q. Okay.
15             A. I don't know why. None of the              15          A. I went to the presiding judge and
16      elected officials were called. I don't know why.     16   suggested to have the state bar take a look at it.
17             Q. Did Judge Dugan ask you to write           17          Q. Mr. Berg, as you sit here today, is
18      this letter?                                         18   there anything in this letter that you know in
19             A. Nope. I wrote that on my own.              19   retrospect you disagree with?
20             Q. No one helped you, did they?               20          A. I don't think so.
21             A. No.                                        21          Q. You stand by the letter?
22             Q. Just you?                                  22          A. I stand by it.
23             A. Yep.                                       23          Q. Okay. There were exhibits attached
24             Q. You have in front of you                   24   to that letter; correct?
25      Exhibit 30; correct?                                 25          A. Yes.

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                                                                                                 EXHIBIT 22
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 1             Q. Do you remember what the exhibits           1           A. Not at all. This here was -- was
 2      were, just off the top of your head?                  2   basically facilities were built, they were TUMF
 3             A. Not really.                                 3   facilities and the city got the facilities built
 4             Q. Okay. Did you have any court                4   and they were a reasonable price. That's why I
 5      transcripts attached to it? Do you remember?          5   feel there is no basis for it. That's why I state
 6             A. Might have been.                            6   what it is, it's not a loss.
 7             Q. Okay.                                       7           Q. And Mr. Berg, that's -- that's your
 8             A. When you asked me if I had help             8   opinion; correct?
 9      writing the letter, it doesn't mean that I may        9           A. Sure.
10      have gotten stuff from other people to put this      10           Q. Let's go to Exhibit 1. Do you have
11      together. Again, it's my right as a private          11   that in the exhibit book in front of you?
12      citizen to make a complaint where I think there is   12           A. Okay.
13      a wrong.                                             13           Q. Your testimony was this is a copy
14             Q. To write to the judge --                   14   of a contract with the city.
15             A. Yeah.                                      15           A. Yes.
16             Q. -- in a pending criminal case?             16           Q. It's not signed. Do you see that?
17             A. Yes. Because I wasn't allowed to           17   It's not signed by the city.
18      do something and that's -- that's freedom of         18           A. Right.
19      speech.                                              19           Q. Do you know where a signed copy of
20             Q. Did you share that with counsel for        20   this agreement is?
21      the insurance company?                               21           A. I don't. The city has thrown away
22             A. No. Because honestly I don't think         22   a lot of stuff since I left the city. I can't
23      it had anything to do with this.                     23   find half the stuff anymore.
24             Q. You don't think it has anything to         24           Q. Would you agree with me, Mr. Berg,
25      do with this?                                        25   that if it's not signed by the city, if this copy

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 1      isn't signed by the city, that's not a copy of the    1   on there?
 2      contract that the city has; is that right?            2          A. Once again, I see something signed
 3              A. I don't know. I'm not -- I'm not           3   by the City Clerk, Julia White, I remember her.
 4      an attorney.                                          4   And the one on the '93 one, there is a report
 5              Q. Okay. So you don't know whether            5   right there. She signed it and it's what it is.
 6      this is the contract copy that the city signed?       6          Q. And as part of that same exhibit,
 7              A. This is what I had seen when I was         7   Mr. Berg, there appears to be some pages that look
 8      on the City Council. I remember seeing this --        8   like parts or maybe a complete portion of some
 9              Q. You had seen it --                         9   city minutes. Do you see that?
10              A. Yes.                                      10          A. Yeah.
11                 MS. VANDERWEELE: Can you let him          11          Q. Would you agree with me that's not
12      answer the question?                                 12   part of the city contract?
13                 MR. DUNN: Sure.                           13          A. I don't know. I am not an
14                 MS. VANDERWEELE: You keep                 14   attorney. I was there to explain what was going
15      interrupting him.                                    15   on.
16                 THE WITNESS: I have seen it and I         16          Q. When you were on the City Council,
17      have seen the other exhibit which I voted on in      17   tell me who were the city attorneys?
18      '94.                                                 18          A. First time or second time I was on
19                 MR. DUNN: Okay.                           19   the city?
20                 THE WITNESS: I remember them.             20          Q. First time.
21      BY MR. DUNN:                                         21          A. First time. What's his name? I
22              Q. All right. But this isn't a copy          22   don't know if it was -- I can remember the guy's
23      of the signed contract, is it?                       23   face, I don't -- I just honestly I don't remember.
24              A. I don't know.                             24          Q. Okay.
25              Q. Well, do you see a city signature         25          A. There was a couple people they had.

                                                                             60 (Pages 234 to 237)




                                                                                                 EXHIBIT 22
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                                              Page 238                                                 Page 239
 1             Q. How about the second time?                  1   Mr. Hunt ever appeared at a City Council meeting?
 2             A. By then that was Joe Aklufi.                2          A. He might have. I don't remember.
 3             Q. When you left the City Council did          3          Q. Do you have any recollection that
 4      you ever stay in contact with Mr. Aklufi?             4   he appeared in a City Council closed session?
 5             A. Not really. I may have -- no, I             5             MS. VANDERWEELE: I am just going
 6      never really had any contact. I may have tried to     6   to object. If you are going to start asking him
 7      e-mail him once with a question I had or              7   about closed session, then I am absolutely going
 8      something, but, no, I never did talk to him.          8   to be entitled to ask him the same questions if
 9             Q. And when was the last time that you         9   you are waiving the privilege on behalf of the
10      talked to Mr. Aklufi that you can recall?            10   city.
11             A. Probably two thousand -- I left the        11             MR. DUNN: Counsel, there is a
12      council in 2014. I don't remember talking to him     12   fundamental difference between foundational
13      after that.                                          13   questions concerning the privilege and then what
14             Q. Are you familiar with the law firm         14   the substantive privilege issues are. These are
15      Fulbright & Jaworski?                                15   all foundational questions.
16             A. Yes. I heard about them.                   16             MS. VANDERWEELE: Can I have the --
17             Q. Do you know Mr. Don Hunt of that           17             MR. DUNN: People who are there.
18      law firm?                                            18             MS. VANDERWEELE: Can I have the
19             A. Yes.                                       19   question read back, please, Megan?
20             Q. Do you know Mr. Danny Kim?                 20          (Record read as follows:
21             A. I think I have heard of him.               21          "Question: Do you have any
22             Q. Have you ever had any conversation         22          recollection that he appeared in a
23      at any time with Mr. Hunt?                           23          City Council closed session?")
24             A. I don't believe so.                        24             MS. VANDERWEELE: Right. Same
25             Q. Do you have any recollection that          25   objection, and I will again reserve my right to

                                              Page 240                                                 Page 241
 1      redepose the witness about what occurred in closed    1   Exhibit 30? You don't think it has anything to do
 2      session if the Court rules otherwise.                 2   with that?
 3                MR. DUNN: You don't have a right            3          A. No. I don't think so. I don't
 4      to inquire what's occurred in closed session.         4   know.
 5      BY MR. DUNN:                                          5          Q. You are not sure?
 6             Q. How about Mr. Danny Kim. Do you             6          A. I'm not sure. I ran and it was my
 7      have any recollection of Mr. Kim ever appearing in    7   time to leave.
 8      an open or closed session?                            8          Q. Can you please take a look at
 9             A. Once again, I don't know about open         9   Exhibit 28.
10      session. I am not going to talk about closed         10          A. Okay.
11      session.                                             11          Q. How did you get a copy of this
12             Q. Your tenure as a member of the City        12   letter?
13      Council ended in 2014. What happened? Did you        13          A. I just got it just now.
14      not run again?                                       14          Q. Before today have you ever seen it
15             A. Didn't get reelected.                      15   before?
16             Q. So you ran, you just weren't               16          A. Yeah.
17      elected in 2014?                                     17          Q. You got it from counsel for the
18             A. Yes.                                       18   insurance company?
19             Q. Why do you think that is?                  19          A. I got it today. I -- I signed this
20             A. I think people wanted a change. I          20   letter before. Like I said before, I met with
21      don't know. I was on there a long time. I was        21   the -- with the auditor.
22      glad to get off. There were some other things I      22          Q. In any of your conversations with
23      wanted to do. I almost didn't run.                   23   the insurance company's attorneys, did they talk
24             Q. You don't think it had anything to         24   about this letter with you? You are under oath.
25      do with what's referenced in your letter which is    25          A. Which conversations are you talking

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                                                                                                EXHIBIT 22
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 1     about?                                                1          A. Probably a couple weeks ago.
 2            Q. Any conversations you had with any          2          Q. And you got a copy of that from the
 3     of the insurance company's attorneys before today.    3   insurance company's attorneys?
 4            A. Yes.                                        4          A. No.
 5            Q. What did you talk about?                    5          Q. How did you get a copy of it?
 6            A. We talked about this yesterday. I           6          A. Somebody gave me a copy.
 7     brought it up.                                        7          Q. Who?
 8            Q. In your meeting that lasted how             8          A. I don't know.
 9     long?                                                 9          Q. You don't know?
10            A. Two and a half hours, yeah.                10          A. No, I got a copy. Okay?
11            Q. And you went over this letter?             11          Q. Well, who gave it to you?
12            A. Yeah.                                      12          A. A friend.
13            Q. What did you talk about?                   13          Q. Who? You have to answer the
14            A. Just, you know, asked was I -- I           14   question.
15     told them I met with the auditor for about two and   15          A. It's a public document.
16     a half hours, explained to them how the city         16          Q. Please answer the question.
17     operated because we had contract employees because   17          A. Is it a public document?
18     we couldn't afford to hire all city staff to do      18          Q. Please answer the question.
19     this work and they were -- they made money off of    19          A. I ask you again, you can tell me
20     it because they were doing the -- the work for us.   20   that's a public document; right?
21            Q. Have you seen the Dan Ray report,          21          Q. Mr. Berg, you answered every
22     which is Exhibit 20, before today?                   22   question the insurance company's attorneys have
23            A. Yes, I did.                                23   asked. You've met with them in person, you talked
24            Q. When was the first time that you           24   to them on the phone. You are not answering this
25     saw that?                                            25   question, are you?

                                             Page 244                                                  Page 245
 1            A. Yeah, I will answer your question.          1             MS. VANDERWEELE: Oh, the Hemming.
 2            Q. Okay. And the answer is?                    2   Got it. Sorry.
 3            A. Yes, I got it as a public document.         3             THE WITNESS: I take that back. I
 4     I think I -- I believe I got it -- I might have       4   didn't get it from Mr. Kapanicas, I got it from
 5     gotten it from Mr. Kapanicas.                         5   Mr. Dillon.
 6            Q. When?                                       6   BY MR. DUNN:
 7            A. Like I said, about two weeks ago            7          Q. When?
 8     probably.                                             8          A. Probably about two weeks ago.
 9            Q. Did you contact Mr. Kapanicas?              9   Prior to that -- actually I got it before they
10            A. I have been talking -- I have been         10   contacted me.
11     talking to Mr. Kapanicas over the years about        11          Q. Before who contacted you?
12     different things, yes.                               12          A. Meagan.
13            Q. Did you contact him to get a copy          13          Q. Is it your testimony today that
14     of this letter?                                      14   before you had any communication whatsoever with
15            A. I did -- well, this letter?                15   the attorneys for the insurance company that you
16                MS. VANDERWEELE: Sorry, just to be        16   already knew about this Exhibit 20 and you had it
17     clear are we talking about --                        17   in your possession?
18                MR. DUNN: I'm sorry. This                 18          A. Yes.
19     exhibit. This exhibit.                               19          Q. That's your testimony?
20                MS. VANDERWEELE: Which exhibit are        20          A. Yes.
21     we talking about?                                    21          Q. And you got it from Mr. Dillon?
22                MR. DUNN: Exhibit 20.                     22          A. I believe so.
23                MS. VANDERWEELE: The David                23          Q. You are not sure?
24     Sheppard letter?                                     24          A. I swear I remember I got it from
25                MR. DUNN: No, Exhibit 20.                 25   Mr. Dillon. I would have to go back and look but


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                                                                                                EXHIBIT 22
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 1      I think that's who I got it from, Mr. Dillon.         1   The fact they filed a claim is a public document.
 2             Q. And how did you get it? Did you             2   And if I want to take my time and investigate
 3      say -- did you call him up?                           3   what's going on, I am certainly allowed to do
 4             A. I got an e-mail.                            4   that. I am a citizen of Beaumont. I want to know
 5             Q. Do you have a copy of that e-mail?          5   what's going on. And I can go to whatever sources
 6      Is it on your phone?                                  6   I want to see if somebody knows where it's at.
 7             A. I don't think it is. I get rid of           7          Q. In any of the conversations,
 8      a lot of stuff off there because it piles on my       8   including the meeting with you had with the
 9      phone too much.                                       9   insurance company's attorneys yesterday, did you
10             Q. What did the e-mail from Mr. Dillon        10   tell them you had this document?
11      say?                                                 11          A. I told them when I first talked to
12             A. He said this is the Roy (sic)              12   them I have already seen the Ray report, yeah.
13      report.                                              13          Q. And you told them that because they
14             Q. That's it?                                 14   asked you about it?
15             A. Yeah.                                      15          A. No, I told them ahead of time I
16             Q. He didn't say why he was sending           16   found out about it.
17      it?                                                  17          Q. What did you tell them?
18             A. I asked him if there was any other         18          A. I said I had a report, I looked at
19      stuff that came in. I was interested.                19   it and I had some concerns with it.
20             Q. Interested in what?                        20          Q. And what did you tell them those
21             A. What was going on. I have heard            21   concerns were?
22      about this -- prior to them talking to me I heard    22          A. The cost, the analysis, there were
23      about this. I am interested in what's going on.      23   some things in there that didn't make sense to me.
24      I have a right to be interested in what's going on   24          Q. Essentially everything you have
25      in the city, do I not? This is a public document.    25   testified here today to about that report;

                                              Page 248                                                  Page 249
 1      correct?                                              1   want to tell the truth of what I know. There is
 2             A. Yes.                                        2   nothing wrong with me supporting these individuals
 3             Q. When is the last time you talked            3   and the fact that I think they were wronged.
 4      with Mr. Dillon?                                      4   That's a public -- you know, that's a private
 5             A. Oh, I don't know, maybe a week and          5   right, it's also a public right that we have as a
 6      a half ago.                                           6   citizen of the United States to try and right a
 7             Q. Isn't it true that you talked to            7   wrong that we feel about it.
 8      Mr. Dillon about your conversations with the          8               Whether we --whether I obtained it
 9      insurance company attorneys?                          9   or not, I have every right to do that. I have
10             A. No, I didn't. This is a private            10   every right to look into things and see where they
11      matter. I didn't talk to anybody about that. I       11   are at. And I have every right to talk to anybody
12      talked -- I did tell him I am getting deposed. He    12   that I want to. Now, what I have said about this,
13      wanted to know what I am doing, what are you         13   I have contacted no one. Since I started this
14      doing, got deposed for this thing.                   14   deposition my phone has been turned off.
15             Q. So you did talk to him?                    15   Yesterday I turned my phone off. I did not talk
16             A. Did I talk to him about the                16   to these people after the dep -- after we had our
17      substance? No. Did I talk to someone getting         17   conversation yesterday or nothing. I -- the only
18      deposed? Yes.                                        18   person I talked to yesterday was my wife and I
19             Q. You talked to Mr. Dillon?                  19   went to visit my cousin who knows nothing about it
20             A. Yeah.                                      20   so...
21             Q. Okay. What else did Mr. Dillon --          21          Q. Why did you turn your phone off?
22      what was Mr. Dillon's response to you being          22          A. Why?
23      deposed?                                             23          Q. Why?
24             A. Hey, that's what happens, you know,        24          A. I didn't want to be bothered.
25      go tell the truth. That's all I have ever done, I    25          Q. Who was contacting you on your


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                                                                                                 EXHIBIT 22
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 1     phone that would be bothering you?                     1   other items in there, it says we, Mr. Kapanicas,
 2             A. My kids might call me. Somebody --          2   provided services under contract that he was
 3     junk phone call or something. I wanted to put one      3   contracted to and did. The other folks, the
 4     hundred percent, you know, into what was going on      4   police department, the police chief and stuff,
 5     here. I didn't want to be interrupted and              5   these were things that we gave them as a benefit.
 6     interrupt my chain of thought.                         6   They get barred from their sick leave and it was
 7             Q. How about Exhibit 21, can you take          7   allowed. We didn't -- these are public benefits
 8     a look at that for me?                                 8   the City Council knew about and gave.
 9             A. Sure. Okay.                                 9             Mr. Aylward's thing, he had a form
10             Q. You have seen this document before         10   700 that showed that he had an interest in his
11     today?                                                11   property. We used these people to do work in the
12             A. Yesterday.                                 12   city and fix city cars because they were close by
13             Q. You got it from the insurance              13   to the city. All he did was process the payment.
14     company's attorneys?                                  14   He didn't decide whether they went over there or
15             A. Yes. It was in the documents that          15   not. That would be the police department or
16     were given to me to review.                           16   whoever was driving the vehicles to take it home
17             Q. As part of your preparation for            17   and get it repaired. We didn't have a city
18     this deposition; correct?                             18   maintenance staff anymore, we got rid of them. So
19             A. Yes.                                       19   we went and used the, you know, local vendors in
20             Q. What did you talk about?                   20   the city.
21             A. This is what's claimed and I just          21             I mean, even one of the
22     talked -- I just -- I was going to be asked           22   complainants here, Judy Bingham, was on some of
23     questions about it and I am going to say, well, I     23   the things we talked about. She had a local
24     don't agree with this, mainly the WRCOG. The          24   nursery. We bought nursery supplies from her. I
25     facilities were built. As far as some of the          25   mean, we bought within the city. We didn't care.

                                              Page 252                                                  Page 253
 1      We weren't trying to show favoritism or anything      1           A. No.
 2      else.                                                 2           Q. Do you know what law firm he is
 3             Q. Do you plan to testify at trial?            3   from?
 4             A. If I get called, yes, I will                4          A. He is from BB&K.
 5      testify at trial.                                     5          Q. Did any BB&K lawyers contact you to
 6                 MR. DUNN: Mr. Berg, I don't have           6   talk about this law -- to talk about this
 7      any more questions.                                   7   deposition?
 8                                                            8          A. No.
 9                FURTHER EXAMINATION                         9          Q. Has any law firm or attorney for
10      BY MS. VANDERWEELE:                                  10   the city contacted you to talk to you about this
11             Q. Mr. Berg, I do have a few follow-up        11   lawsuit and this deposition?
12      questions based on counsel's questioning. You and    12          A. No.
13      I in our discussions and in our meeting yesterday,   13          Q. The letter that counsel showed you
14      did I ever tell you what I wanted you to say at      14   that's Exhibit 30 is dated June 15, 2019; correct?
15      this deposition?                                     15          A. Yes.
16             A. No.                                        16          Q. You -- I think counsel is trying to
17             Q. Did I ever tell you not to say             17   insinuate that this letter may have been the
18      something at this deposition?                        18   reason why you weren't reelected to City Council?
19             A. No.                                        19              MR. DUNN: No, that's not true,
20             Q. Did I tell you to tell the truth?          20   counsel.
21             A. Yes.                                       21              THE WITNESS: I'm not sure what it
22             Q. And you have done that here today?         22   is. I just -- I wrote the letter because I didn't
23             A. Yes.                                       23   like what was going on and I wanted the judge to
24             Q. I take it you have not spoken with         24   look into it.
25      Mr. Dunn before this deposition?                     25


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                                                                                                 EXHIBIT 22
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                                       #:6086
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 1      BY MS. VANDERWEELE:                                   1    the same exact version of the signed copy of this
 2             Q. And you prepared this letter five           2    agreement that you would have reviewed every
 3      years after you left City Council; correct?           3    single year for the 20 plus years that you were on
 4             A. Yes.                                        4    City Council?
 5             Q. Exhibit 1 is the contract between           5            A. Yes.
 6      the city and Urban Logic and that is not signed by    6            Q. Sorry, I know I am jumping around.
 7      the city; correct?                                    7    Back to this Exhibit 30, the letter that you
 8             A. Right.                                      8    prepared to Judge Dugan, I believe I read
 9             Q. Signature page is blank; correct?           9    somewhere that you actually gave this letter and
10             A. Right.                                     10    all of the attachments amounting to 243 pages to
11             Q. Now, you under- -- you have                11    City Council at a City Council meeting in July of
12      reviewed the signed version of the contract from     12    2019; is that correct?
13      September of 1993 that was entered into before       13            A. That's correct.
14      Urban -- between Urban Logic and the city;           14            Q. So the city has had this document
15      correct?                                             15    for almost three years now; correct?
16             A. Yes.                                       16            A. Yes.
17             Q. And you reviewed that signed               17            Q. And you understand that you have
18      contract every single year that you were on City     18    been under oath today, sir; correct?
19      Council; correct?                                    19            A. Yes.
20             A. Yes.                                       20            Q. And you swore to tell the whole
21             Q. And that was for 20 plus years;            21    truth and nothing but the truth; correct?
22      correct?                                             22            A. Yes.
23             A. Yes.                                       23            Q. And you have done that today?
24             Q. And the version of the contract            24            A. Yes.
25      here that's in Exhibit 1, does this appear to be     25               MS. VANDERWEELE: All right. I

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 1      have no other questions.                              1           REPORTER'S CERTIFICATION
 2                MR. DUNN: I have no other                   2
 3      questions.                                            3
 4                MS. VANDERWEELE: All right.                 4
 5                VIDEOGRAPHER: Off the record. The           5      I, Megan Grossman-Sinclair, Certified
 6      time is 1:33 p.m.                                     6   Shorthand Reporter, in and for the State of
 7                                                            7   California, do hereby certify:
 8        (Whereupon, at the hour of 1:33 p.m., the           8
 9           proceedings were concluded.)                     9       That the foregoing witness was by me duly
10                  oo0oo                                    10   sworn; that the deposition was then taken before
11                                                           11   me at the time and place herein set forth; that
12                                                           12   said testimony and proceedings were reported
13                                                           13   stenographically by me and later transcribed into
14                                                           14   typewriting under my direction; that the foregoing
15                                                           15   is a true record of the testimony and proceedings
16                                                           16   taken at that time.
17                                                           17
18                                                           18       IN WITNESS WHEREOF, I have subscribed my name
19                                                           19   this 13th day of April 2022.
20                                                           20
21                                                           21
22                                                           22
23                                                           23   Megan Grossman-Sinclair, CSR No. 12586
24                                                           24
25                                                           25


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                                                                                                       EXHIBIT 22
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                                       #:6087
                                                 Page 258                                  Page 259
 1           DEPOSITION ERRATA SHEET                         1           DEPOSITION ERRATA SHEET
 2                                                           2   Page No. Line No. Change to:
 3    WESTERN RIVERSIDE COUNCIL OF GOVERNMENTS, et al.       3   Reason for change:
 4    vs. NATIONAL UNION FIRE INSURANCE COMPANY OF           4   Page No. Line No. Change to:
 5    PITTSBURGH, PA, and DOES 1 through 50, inclusive       5   Reason for change:
 6                                                           6   Page No. Line No. Change to:
 7       DECLARATION UNDER PENALTY OF PERJURY I              7   Reason for change:
 8    declare under penalty of perjury that I have read      8   Page No. Line No. Change to:
 9    the entire transcript of my Deposition taken in        9   Reason for change:
10    the above captioned matter or the same has been       10   Page No. Line No. Change to:
11    read to me, and the same is true and accurate,        11   Reason for change:
12    save and except for changes and/or corrections, if    12   Page No. Line No. Change to:
13    any, as indicated by me on the DEPOSITION ERRATA      13   Reason for change:
14    SHEET hereof, with the understanding that I offer     14   Page No. Line No. Change to:
15    these changes as if still under oath.                 15   Reason for change:
16                                                          16   Page No. Line No. Change to:
17    Signed on the  day of                                 17   Reason for change:
18            , 20 ,                                        18   Page No. Line No. Change to:
19                                                          19   Reason for change:
20                                                          20   Page No. Line No. Change to:
21         ROGER BERG                                       21   Reason for change:
22                                                          22   Page No. Line No. Change to:
23                                                          23   Reason for change:
24                                                          24   SIGNATURE:            DATE
25                                                          25        ROGER BERG

                                                 Page 260
 1              DEPOSITION ERRATA SHEET
 2      Page No. Line No. Change to:
 3      Reason for change:
 4      Page No. Line No. Change to:
 5      Reason for change:
 6      Page No. Line No. Change to:
 7      Reason for change:
 8      Page No. Line No. Change to:
 9      Reason for change:
10      Page No. Line No. Change to:
11      Reason for change:
12      Page No. Line No. Change to:
13      Reason for change:
14      Page No. Line No. Change to:
15      Reason for change:
16      Page No. Line No. Change to:
17      Reason for change:
18      Page No. Line No. Change to:
19      Reason for change:
20      Page No. Line No. Change to:
21      Reason for change:
22      Page No. Line No. Change to:
23      Reason for change:
24      SIGNATURE:            DATE
25           ROGER BERG

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                                                                                      EXHIBIT 22
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                                                                                                Page 1

             A             advisory 17:2               170:21 222:24             appealed 205:3,5,10
a.m 1:19 7:2,10 83:9,11    afford 242:18              amending 4:5 55:12 56:3    appear 220:19 254:25
  83:11,13 147:15,17,17    agencies 69:1,3 124:21      56:10                     appearances 2:1 7:16
  147:19                     125:13 191:17            Amendment 4:15,18,21       appeared 239:1,4,22
Aaron 202:12               agency 17:3 20:12 28:17     5:3,6,9,12                appearing 240:7
able 15:24 29:7              126:2 207:6              amendments 17:25           appears 237:7
absolutely 146:2 239:7     agenda 25:23 26:3,6         121:23                    applies 180:2 181:15
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